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Expert Report
Prepared By

J. Thomas Manger

In

Hispanic National Law Enforcement Assoc. NCR et al.
v.
Prince George’s County et al.,


United States District Court
District of Maryland

Civil Action No.: 8:18-cv-03821-TDC




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                                           EXPERIENCE

        1)     I spent 42 years as a police officer from 1977 to 2019. After being sworn in as a
Fairfax County, Virginia police officer, I rose through the ranks and was appointed the Chief of
Police in 1998. During my career, I worked as a patrol officer, a supervisor, had a variety of
administrative and operational assignments as a Lieutenant, and then commanded two District
Stations as a Captain. As a supervisor, I conducted numerous investigations of complaints, both
those generated internally, as well as complaints from the public involving personnel under my
supervision. As a District Commander, I gained extensive experience reviewing and making
decisions on internal investigations as well as disciplinary decisions. For over three years, I was
assigned as the Night Duty Officer, and was in charge of all police operations from 4 p.m. to 4
a.m. In that role, I managed hundreds of police operations involving violent crimes, hostage-
barricade events, protests, police shootings and other use of deadly force cases, traffic fatalities,
and other high-profile incidents. I also headed the Patrol Bureau for two years. The District
Station Commanders reported directly to me. I oversaw transfers, staffing issues, coordination
of special assignment teams, and reviewed discipline for all cases involving patrol officers,
supervisors and Commanders. Before I was appointed as the Chief of Police, I served as the
Deputy Chief for Administration (“DCA”), then the Deputy Chief for Operations (“DCO”). As the
DCA, I oversaw Training, Human Resources, Technology, Planning, the 9-1-1 Center, Animal
Control and the Budget. In my role as DCO, I supervised Investigations, Special Operations and
Patrol.

        2)     From 1998 to 2004, I served as the Chief of Police for Fairfax County. In that
position, I exercised oversight and final decision-making authority for all aspects of the
Department’s operations, including hiring the right people, investing in their training, and holding
every member of the Department accountable for doing the job the way it should be done. I was
responsible for delivering police service to 1.2 million members of the community and spent a
good deal of my time doing outreach to the community, listening to their concerns, and being
responsive to their issues. I had final decision-making authority over all personnel issues, the
budget, transfers, grievances, internal investigations, promotions, policy development, and
interfacing with elected officials. I ensured that the Department and its members had the
resources they needed to reduce and prevent crime in the County.

        3)      In 2004, after serving six years as the police chief in Fairfax County, I left the
Department to accept the position as the Chief of Police in Montgomery County, Maryland. I
remained in that position for 15 years, until July 2019. As the Chief, I was responsible for an
agency with over 1900 employees and an annual budget of $285 million. My duties included
delivering police services to over 1 million residents. In 2016, Montgomery County Police
Department was the first large police department in the D.C. area to mandate body-worn
cameras for all of our patrol officers. For 21 years, I had direct oversight and responsibility over
the Internal Affairs Division Commander. I was directly involved in serious disciplinary matters
as well as disciplinary appeals, and I worked closely with the Fraternal Order of Police (“FOP”),
the exclusive collective bargaining representative of sworn officers and its elected leadership.
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Upon my retirement, the County Executive issued an executive order naming the Police
Headquarters building, the “Chief J. Thomas Manger Public Safety Headquarters.”

         4)     In my capacities as the Chief of Police for Fairfax County and Montgomery County,
my departments had occasion to become involved in coordinated police operations with other
police departments in the Washington Metropolitan Area. A prime example of such cooperative
activities occurred in October 2002 during the D.C. Beltway Sniper case. As a result of these types
of interactions within other police departments and other shared connections, I gained a general
familiarity with the organizational structure and operations of the other major police
departments in the region, including the Prince George’s County Police Department.

        5)     During my 21 years as a police chief, I was very active in a number of professional
associations. I am now a “lifetime active” member of the International Association of Chiefs of
Police (“IACP”) the Police Executive Research Forum (“PERF”), as well as the Major Cities Chiefs
Association (“MCCA”), an Association of the 70 largest police departments in the United States
and Canada. I served on the IACP’s Highway Safety Committee, Research Committee, and the
Police Explorer Committee. I also served as the Vice-President of the PERF Board for four years
and was the Chair of MCCA’s Legislative Committee for 7 years. In 2014, I was elected by my
peers to be the President of MCCA. I was re-elected in 2016 and served as President for a second
(two-year) term until 2018. As the MCCA President, I presided over a closed session roundtable
comprised of Police Chiefs only, where we discussed our most serious challenges facing our
agencies and our profession. Race, accountability, community outreach, and internal problems
were all regular topics at these all-day roundtables. They were held three to four times each
year. Prince George’s County Police Department was a member of MCCA and had regular
participation. I participated in MCCA meetings from 2001-2019.

        6)     In my role on the Board of MCCA, I was invited to testify in front of various
Congressional Committees on several topics impacting policing. I was also invited to several
meetings with members of the Senate to brief them on current issues in policing. In addition, I
participated in several meetings, alongside other law enforcement leaders, with President Bush,
President Obama, President Trump, and Vice-President Biden. I also sat down with the Attorney
General of the United States and the Secretary of Homeland Security more than a dozen times.
Each of these meetings during the Bush and Obama Administrations focused on current issues
with regard to policing, including, but not limited to, use of force, race, violent crime, guns,
immigration, and gangs.

        7)      Upon my retirement in 2019, I began doing consulting work. Among other
contracts, I am a Strategic Site Leader for the Department of Justice’s Public Safety Partnership
program where I am working with the Davenport, Iowa Police Department in its effort to reduce
a rising violent crime rate. A more complete review of my experience and qualifications are
contained in my curriculum vitae, which is attached as Appendix A.




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                                              SCOPE OF ANALYSIS

        8)     I have been retained by Venable LLP, counsel for the Defendants in the matter of
Hispanic National Law Enforcement Officers et al. v. Prince George’s County, Maryland et al.,
United States District Court of Maryland Case No. 8:18-cv-03821- TDC.1 Specifically, I have been
asked to review the policies, practices, and procedures of the Prince George’s County Police
Department (the “Department”) with regard to the prohibition of discrimination and the Equal
Employment Opportunity (“EEO”) complaint process, the Internal Affairs Division (“IAD”)
investigation and disciplinary process, transfer processes and procedures, the promotional
process and procedure, and give my assessment of its conformance to what, in my experience,
constitute industry norms for such policies and procedures. I have also been asked to review the
facts and circumstances surrounding various allegations made by Plaintiffs in the Amended
Complaint filed in this case. In addition, I have been asked to present my expert opinions
regarding the expert report of Mr. Michael Graham (“Mr. Graham’s Report”).2

                                             MATERIALS REVIEWED

      9)    In the course of this review and analysis, I conducted interviews with Department
employees and former employees and reviewed extensive documents, which include the
documents generally described as follows:


    •    Pleadings and other case filings, including the Amended Complaint and Answer;
    •    Written discovery responses from both Plaintiffs and Defendants;
    •    Deposition Testimony;
    •    The Department’s General Order Manual;3
    •    IAD policies, procedures, and case files;
    •    Documents produced in discovery in this case; and
    •    Documents, correspondence, and deposition testimony relating to the review and
         investigation by Mr. Graham.




1
  I am charging $350 per hour for my work on this matter.
2
  The scope of my analysis is primarily limited to Plaintiffs’ claims which involve the alleged treatment of Plaintiffs
themselves. I have been advised that Plaintiffs have alleged over 122 acts involving over 150 Prince George’s County
Police Department employees that are not tied to the Plaintiffs themselves and bear no relation to their alleged
treatment. I have also been informed that those alleged acts are the subject of a pending Motion In Limine whereby
Defendants are requesting the Court to limit the number of acts that Plaintiffs may seek to introduce at trial, require
Plaintiffs to identify the acts on which they will rely and grant Defendants the right to conduct discovery in
connection with the acts. I reserve the right to supplement this report with additional analysis of those alleged acts
pending the outcome of that motion.
3
  Prince George’s County Police Department General Order Manual (hereinafter “General Order Manual” or “GOM”),
PG0000944536-945397.

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                                SUMMARY OF CONCLUSIONS

        10)    It is my opinion, held to a reasonable degree of certainty, and based upon my
police operations and management expertise, training and experience, that:

       •   Prince George’s County Police Department’s policies for addressing harassment and
           discrimination complaints are commensurate with best practices and industry
           standards. Mr. Graham failed to take into consideration all of the relevant General
           Orders when rendering his opinion, which severely undermined his conclusions that
           the Department’s policies for handling complaints about racial harassment and
           discrimination are inadequate.
       •   After conducting a full review of all the Department’s relevant harassment and
           discrimination policies and General Orders, and, based on my law enforcement
           background, I found no significant deficiencies.
       •   Mr. Graham’s criticism of the Department’s EEO compliance trainings are equally
           unfounded. The Department conducts routine, in person, harassment and
           discrimination trainings that are generally presented by the County’s Human
           Resources Commission, and as of 2020, by a County Attorney. Mr. Graham’s reliance
           solely on the documents produced in this litigation to establish the number of
           attendees at EEO Compliance trainings and the content of the EEO Compliance
           trainings was improper, inaccurate and further undermines the Graham Report’s
           conclusions.
       •   Prince George’s County Police Department affords members of the community and
           officers multiple complaint avenues, which in turn, are managed by a reasonable
           screening and assignment process that considers the Department’s investigatory
           assets.
       •   The Department’s multi-stage discipline process involves various levels of comment
           and approval from internal and external decision-makers, which fosters a fair and
           equitable process for all complainants and respondents. The demographic makeup of
           the officers involved in the discipline process demonstrates the Department’s
           commitment to prohibiting any racial bias.
       •   The discipline imposed against Plaintiffs Perez, Oatis, Brown, McClam and Crudup was
           warranted based on their actions, which proper and thorough IAD investigations
           revealed were in violation of the Department’s policies to various degrees.
       •   The Department has repeatedly handled circumstances brought to its attention
           reasonably and thoroughly regardless of various challenges by conducting IAD
           investigations where appropriate, disciplining officers when investigations indicated
           such action was necessary, and authorizing review of complaints by multiple units as
           authorized under the Department’s written policies and procedures.
       •   Prince George’s County Police Department’s promotion processes give all officers an
           equitable opportunity to advance within the Department.
       •   Most officers must take and pass a promotional examination in order to be promoted.
           The examination process involves multiple layers of accountability, including the
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         County’s Office of Human Resource Management, an independent third-party
         consultant, and the officers’ union (the Fraternal Order of Police). At the highest ranks,
         the Chief makes promotional decisions with significant input from the Assistant Chief
         and Deputy Chiefs.
     •   Contrary to the assertions in the Graham Report, the Department offers a
         promotional process which is largely transparent and offers all officers an equal
         opportunity to advance in rank.
     •   Plaintiff Mack’s and Perez’s failure to earn a promotion was not discriminatory or
         retaliatory; Mack did not test high enough to be promoted to Lieutenant during the
         2016 promotional cycle and there is no evidence to suggest that Perez’s failure to earn
         a promotion was discriminatory or retaliatory.
     •   Prince George’s County Police Department’s transfer procedures are commensurate
         with best practices in a law enforcement agency of Prince George’s County Police
         Department’s size.
     •   The Department’s practice of using a deliberative process for deciding transfers with
         the participation of the Executive Command Staff is commensurate with best
         practices.
     •   In a police department of Prince George’s County Police Department’s size, multiple
         factors related to the needs of the Department inform the transfer process, and
         regular transfers are a best practice for ensuring officer experience and career
         development.
     •   The transfers of Plaintiffs Perez, Anis, Boone Zollicoffer, Smith, McClam and Torres
         were not discriminatory or retaliatory.
     •   The Graham Report misunderstands the issue of use of force. Contrary to Mr.
         Graham’s assertions, there were not 6,805 instances of force used by Prince George’s
         County Police Department officers in January 2016 through 2019.
     •   Under the Prince George’s County Police Department’s policies, officers must report
         any resisted physical coercion, no matter how minor. Mr. Graham does not explain
         this important context.
     •   The Department’s use of force review matters represent a tiny fraction of its actual
         number of contacts with members of the public.
     •   The Department’s use of force policies are fair and comprehensive, and they reflect
         many of the most progressive trends in the field of policing today. The Department
         has extensive use of force training, which incorporates leading guidance on ethical
         policing, de-escalation, and the duty to intervene.
     •   In reviewing and investigating uses of force, the Department follows its policies.
     •   A high number of “justified” use of force reviews is not a product of “rubber-
         stamping.” This is a product of a well-trained police force—officers who know what
         force is reasonable, who use force appropriately, and who report the force when
         used.
     •   Prince George’s County Police Department has been providing Implicit Bias Training
         as a required part of Department-wide in-service training since 2018. Recruits have


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            been receiving Implicit Bias Training since 2015. The Department’s provision of this
            training is consistent with current best practices in the field of law enforcement.
       •    Department leadership has supported Implicit Bias Training from the onset and
            continues to support it today. Chief Stawinski, himself requested a subject matter
            expert to institute the training. Chief Velez and Department leadership also support
            implicit bias training, which is ongoing.
       •    Officers did not “walk out” of Implicit Bias training on June 12, 2018. Concerns with
            how the class was conducted in a prior training session had been raised with the
            trainers the previous week by the Department but were ignored by the team
            conducting the training on June 12, 2018. After receiving notification that the
            Department’s expressed concerns had not been addressed, authorized
            representatives of the Department excused the officers in attendance that day from
            completion of the class and those excused officers completed the training on a later
            day.
       •    Contrary to the assertions in the Graham Report, there were not “complaints to the
            County” regarding this incident that Department leadership ignored, and, based upon
            my law enforcement experience, no IAD or disciplinary action was warranted.

           LANDSCAPE OF POLICING IN THE WASHINGTON D.C. METROPOLITAN AREA

        11)    The population of the Washington D.C. metropolitan area is just over 6.2 million.4
There are over 20 police departments, Federal, State and Local, that operate within the metro
area, and of those, there are four large police departments that provide police service to the vast
majority of the residents. Those 4 agencies are: the Metropolitan Police Department of
Washington D.C. (over 3,000 Officers and 650 civilians), the Prince George’s County Police
Department (over 1700 Officers and 326 civilians), the Fairfax County VA Police Department
(approximately 1400 Officers and over 500 civilians), and the Montgomery County MD Police
Department (approximately 1300 Officers and over 500 civilians).

         12)     In an effort to coordinate law enforcement efforts among the more than two
dozen police departments within the D.C. region, to include Federal partners, the Metropolitan
Washington Council of Governments created a Police Chiefs Committee (the “Committee”). The
Committee meets monthly to exchange information, learn about the latest trends and data,
share best practices, and develop solutions to the region’s major challenges.5 I attended these
meetings for over 20 years. These meetings were an opportunity for police chiefs to discuss
critical topics that impacted our Departments, including racial profiling, bias training, and other
troubling trends we were seeing across the nation.



4
  Census Reporter, “Census profile: Washington-Arlington-Alexandria, DC-VA-MD-WV Metro Area,” retrieved
September 20, 2020, available at https://censusreporter.org/profiles/31000US47900-washington-arlington-
alexandria-dc-va-md-wv-metro-area.
5
   Metropolitan Washington Council of Governments, “About Us, Committees & Members,” available at
https://www.mwcog.org/about-us/committees-and-members/.

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       13)       The Census Reporter breaks down the race and ethnicity of the D.C. area as
follows:6

         •       White – 45%
         •       Black – 25%
         •       Hispanic – 16%
         •       Asian – 10%
         •       All others – 4%

    A.       Recruitment

        14)   Most police departments endeavor to recruit a diverse workforce that reflects the
diversity of the communities they serve. The Maryland Police Training and Standards
Commission (the “Commission”) sets the hiring standards for all police officers in the State of
Maryland, which includes Prince George’s County Police Department.7 As one of its duties, the
Commission provides for the development of strategies for recruiting women, Black, Hispanic,
and other minority candidates.8

        15)    The Commission advances that “[d]iversity is not only determined by race and
gender, but also by religion, sexual orientation, gender identity, language ability, background,
and experience. True diversity within an agency serves as a critically important tool in building
trust with communities.” The Commissions also highlights that “[m]inority applicants often deal
with negativity from their own community when it is revealed that they desire to enter the
profession of law enforcement.”9

        16)     Using race as a sole diversity measure is not consistent with ‘true diversity’ as
described by the Maryland Police Training and Standards Commission. And, in fact, as the police
chief of two of large jurisdictions in the region, my recruiting efforts to identify diverse candidates
was always a challenge, first and foremost, because of the competition with Federal Law
Enforcement Agencies. Unfortunately, it is very difficult to compete with the salary, benefits and
prestige of working for the Federal Bureau of Investigation and other federal agencies. Our
applicant pool was further limited by the requirements to become a police officer in the State of
Maryland. Two of the Maryland prerequisites are a high school diploma and U.S. Citizenship,
which can be far more burdensome for areas like Prince George’s County, which has a significant
immigrant population.



6
  Census Reporter, “Census profile: Washington-Arlington-Alexandria, DC-VA-MD-WV Metro Area,” retrieved
September 20, 2020, available at https://censusreporter.org/profiles/31000US47900-washington-arlington-
alexandria-dc-va-md-wv-metro-area.
7
  Md. Code Ann., Public Safety § 3-207.
8
  Md. Code Ann., Public Safety § 3-207(a)(20).
9
   Maryland Police Training and Standards Commission, “Public Safety and Policing,” available at
https://www.mdle.net/pdf/Recruitment_Document.pdf.


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        17)     The racial and ethnic diversity of Prince George’s County (the “County”) has grown
steadily for the past 40 years, or more. The diversity of the Prince George’s Police Department
has also increased within its ranks over the past 40 years. As with any police department, there
is always a lag time to match the diversity of the community. Mr. Graham’s Report is critical of
the diversity of the Department.10 While diversity should be measured by more than just race
and ethnicity, the Department has demonstrated a history of increasing the diversity of its
personnel in recent years. This analysis should include sworn and civilian members of the
organization, not just officers as in Mr. Graham’s Report. It is always a work in progress, for
nearly every police department in the Nation. Mr. Graham uses the Prince George’s County
population demographics for his comparative analysis.11 But, this is flawed, as the reality is that
not everyone in the County can meet the minimum standards to become a police officer in the
State of Maryland.

     B.   Background on Prince George’s County Police Department

       18)    Prince George’s County, like Washington, D.C. and Montgomery County, is a
majority-minority community. Montgomery County has the most residents with a population of
more than one million, and Prince George’s County is the second most populous jurisdiction in
the State of Maryland, with just over 900,000 residents.

        19)     Mr. Graham’s Report points out that although the County’s population is 64
percent Black, the Sworn members of the Department are only 43 percent Black.12 To be precise,
that does not include the 326 Civilian employees of the Department, many of whom have daily
contact with the public and play critical roles, such as 9-1-1 operators, within the organization.
The civilian police employees are 58.5 percent Black.

       20)     Mr. Graham also describes the rank of Lieutenant and Captain as the “primary
command-level staff.”13 In fact, within the Department, the rank of Lieutenant is the entry level
rank to the executive staff. Even Captains are considered a mid-level executive rank within the
Department’s structure. Most often, it is the rank of Major that is in charge of a “Command.”
They command District Stations and Divisions. Lieutenants and Captains report directly to
Majors. They are the assistants or deputies to the rank of Major. There are 25 Majors, and that
is the primary rank in terms of decision making and running the daily operations of the
Department. Of the 25 Majors, according to Interim Chief Hector Velez’s PowerPoint14 used by
Mr. Graham, 12 are of a minority race or ethnicity, 11 are white males, and two are white
females.

        21)    The upper-level command officers in the Prince George’s Police Department are
at the rank of Major, Deputy Chief, Assistant Chief, and Chief. Currently, according to Interim

10
   Graham Report, ¶¶ 13-14, p. 7.
11
   Graham Report, ¶ 13, p. 7.
12
   Graham Report, ¶ 12, p. 7.
13
   Graham Report, ¶ 13, p. 7.
14
   See PG0000986142.

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Chief Velez, of the five individuals occupying the three “Chief” level ranks, two are Black, two are
White, and one is Hispanic. Thus, the five most senior leaders in the Department are majority-
minority.15

        22)    According to Mr. Graham, the Plaintiffs have alleged that, “the fact that the
majority of Prince George’s County Police Department officers and senior officers are white has
caused tension with the community . . . .”16 As noted above, the majority of Prince George’s
County Police Department officers are NOT White. According to Interim Chief Velez, 42.5 percent
of the officers are White. Therefore, the majority of the Department is of minority race or
ethnicity. Respectfully, it is my opinion that neither the Plaintiffs, nor any group of officers can
speak for the entire Community, with regard to their level of “tension”, as Mr. Graham suggests.

       23)     A reference is made in Mr. Graham’s Report about racial tension between the
Department and the community from 20 years ago.17 While it is true that this led to a Consent
Decree and Memorandum of Agreement (“MOA”) with the Department of Justice, Mr. Graham’s
Report refers to these events dating back 10 years despite the fact that the Department
successfully completed the Consent Decree and MOA in 2007 and 2009, respectively, and
incorporated improvements that remain in place today.

        24)     To put the improvements enacted during that period in perspective, the following
quote from Chief Hank Stawinski in 2013 states it clearly: “Our Department was placed under a
memorandum of understanding and consent decree in 2004, and after coming out on the other
end, it was a very positive experience for us. I think the key is understanding, going into the
process, that there are no cut-and-dried answers. As we negotiated with the Justice Department,
DOJ didn’t say, ‘You have to do A, B, and C.’ Rather, they said, ‘You have to live up to certain
Constitutional standards to policing in Prince George’s County while remaining effective. So that’s
how we approached it. Every policy was custom-made and then approved by the independent
monitors. The outcome was a greater degree of policy and practice clarity for our personnel,
which we think is contributing to crime reduction. We fundamentally explain to our officers where
the boundaries are on a variety of issues so they are able to aggressively fight crime while policing
Constitutionally.”18

       25)     This philosophy of focusing on policing constitutionally while working on effective
crime fighting strategies clearly remained with Chief Stawinski as he continued to rise through
the senior ranks. During the years that Chief Stawinski led the department, Prince George’s
County saw a dramatic reduction in crime.



15
   PG0000986142.
16
   Graham Report, ¶ 14, p.7.
17
   Graham Report, ¶ 15, p. 8.
18
   Police Executive Research Forum (PERF), "Critical Issues in Policing Series, Civil Rights Investigations of Local Police:
Lessons                              Learned,”                                  available                                 at
https://www.policeforum.org/assets/docs/Critical_Issues_Series/civil%20rights%20investigations%20of%20local%
20police%20-%20lessons%20learned%202013.pdf.

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         26)    Mr. Graham’s Report also refers to an empirical study released in 2015 that noted
a significant increase in use of force incidents from 2010 to 2014.19 The study, according to Mr.
Graham’s Report, cited “news reports” as evidence of unlawful behavior of police and a
continued absence of respect for the rule of law among certain County officials. News reports
are not an empirical study. What is not mentioned in Mr. Graham’s Report is the fact that the
increase in the numbers of use of force incidents, according to Chief Mark Magaw, were
explained by the increase in the population of the County and the newly expanded definition of
“use of force.” Chief Magaw was quoted, “The way I read these numbers is we’re doing a better
job, we’re holding our Officers more accountable and we’re being more transparent.”20 An
interview with First Sergeant William Gleason, who oversees use of force training at the
Department’s Training and Education Division and trains and testifies as an expert on these issues
nationwide, confirmed that supervisors are trained to complete use of force reviews for even the
most minor uses of force by their personnel. He advised that this also accounted for a lot of the
increase in the number of use of force reports.

                                        ANALYSIS AND OPINIONS

     PART 1.     INTERNAL AND EXTERNAL EEO COMPLAINT PROCEDURES

     A. Prince George’s County Police Department Policies for Addressing Harassment and
        Discrimination Complaints is Consistent with Industry Standards and Incorporates Best
        Practices.

        27)     The Department has a policy on Discrimination and Sexual Harassment that is
generally outlined in General Order Manual, Vol. 1, Chapter 12.21 Chapter 12, however, is not
the only applicable policy related to the Department’s handling of Discrimination and Sexual
Harassment Complaints. In addition, the Department follows the EEO requirements included in
the County’s Personnel Law22 and General Order Manual, Vol. I, Chapters 4, 12, 31, 32
(collectively, with County law, “the EEO Policy”).23 Mr. Graham’s Report fails to take all of the
relevant GOM sections into consideration when rendering his opinion. Mr. Graham’s failure to
review and analyze all applicable general orders undermines his conclusion that the
Department’s policies for handling complaints about racial harassment and discrimination are
inadequate. My detailed review of all the relevant general orders found no deficiencies.




19
   Graham Report, ¶ 17, p. 9.
20
   J. Chanin, “Evaluating Section 14141: An Empirical Review of Pattern or Practice Police Misconduct Reform,”
Ohio State J. of Crim. L., Vol. 14:67, pp. 95-101.
21
   GOM, Vol. I, Ch. 12, PG0000944716-944719.
22
   Samples of the policies and procedures for EEO, harassment, and discrimination were provided to the DOJ,
PG0000000442-496. See PG0000000493-496 (Personnel Law 16-109); PG0000000443-459 (Personnel Procedure
208); PG0000000484-492 (Administrative Procedure 221).
23
   Id.; GOM, Vol. I, Chs. 4, 12, 31, 32.

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       28)      As an initial matter, the EEO Policy outlines equal opportunity in County
              24
employment, the prohibitions on discrimination, sexual harassment and retaliation against
employees, and procedures for handling employee or third-party complaints.25 These concepts
are contained in the General Order Manual and are distributed to all Department employees.
EEO information regarding complaint procedures is also disseminated to all employees quarterly
by the Assistant EEO Coordinator.26 In addition, the EEO Coordinator ensures all Department
stations are outfitted with placards that address EEO compliance.27

        29)     First, Mr. Graham’s Report unjustifiably criticizes the Department’s reporting
requirements because it inaccurately describes the content of the general orders related to the
Complaint Procedures. The Complaint Procedures allow the EEO Coordinator to resolve
Complaints in one of three ways, depending on the circumstances of the complaint: (1) Handle
informally; (2) Refer to the Employees Commander/Manager for mediation; or (3) Assign for
Investigation.28 Referrals to the employee’s Commander/Manager for resolution is not
unreasonable and is not the only option for resolution. Mr. Graham’s Report states that “even if
an employee is uncomfortable with this directive and instead makes a complaint directly to the
EEO Coordinator, the Coordinator is authorized to . . . refer the complaint back to the employee’s
Commander for mediation.”29 This would lead the reader to believe that a victim of harassment
or discrimination has no other avenue, other than his or her chain of command, to make a
complaint. Mr. Graham’s Report goes so far to say that under the EEO Policy, “it is difficult, if not
impossible, to break out of the chain of command.”30 This is not accurate. The General Order
Manual specifically states in Volume I, Chapter 32 (Protocol, Section 19) that employees may go
around the chain of command “[t]o transmit confidential or sensitive information” and “[t]o
directly discuss an equal employment opportunity complaint with an employee designated to
investigate such complaints.”31 Chapter 12 of the General Order Manual also provides that “The
Coordinator and Assistant Coordinator are authorized by the Chief of Police to become directly
involved in issues of this nature [internal complaints] at any level, regardless of command
responsibility.”32

        30)     Contrary to the assertions in Mr. Graham’s Report, the Department’s EEO Policy
is consistent with industry standards and incorporates best practices. One aspect of the EEO
Policy that is considered a best practice, is the ability for employees to make complaints to
external agencies outside of the police department at any point in time. The EEO Policy
specifically delineates all of the external agencies where a complainant may file a report.33

24
   PG0000000493-496.
25
   GOM, Vol. I, Ch. 12, PG0000944716-944719.
26
   PG0000000344; PG0000103651; PG0000145106; PG0000144779; PG0000155489; PG0000145106;
PG0000967037; PG0000432824.
27
   Harvin Tr. 51 (June 18, 2020).
28
   GOM, Vol. I, Ch. 12, PG0000944718.
29
   Graham Report, ¶ 22, p. 11.
30
   Graham Report, ¶ 26, p. 13.
31
   GOM, Vol. I, Ch. 32, PG0000944877.
32
   GOM, Vol. I, Ch. 12, PG0000944717-944718.
33
   E.g., GOM, Vol. I, Chs. 12, 32.

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Specifically, it states that Department personnel may contact any one of the following agencies
to resolve or investigate complaints: County Office of Personnel and Labor Relations, Employee
Services Division, Equal Employment Opportunity Commission (“EEOC”), the Maryland Human
Relations Commission, or their Union representative.34 This is consistent with other model
policies around the nation that understand that victims may be hesitant or fearful to internally
report complaints of this nature.35 The Department’s policy allows the complainant to have some
control in how their complaint is first heard and investigated. This too, is a best practice.

       31)    Mr. Graham’s Report cites guidelines published by the EEOC as evidence that
employees should not have to report complaints through their chain of command.36 First, the
EEOC guidelines are just that, guidelines, and are not the law. Second, as stated above, chain of
command reporting is not the only reporting option. Again, the EEO Policy makes clear that
employees have multiple alternative external reporting methods outside their chain of command
for EEO-related complaints.

       32)     Another best practice, which has been adopted by the Department, is to try to
resolve complaints informally through mediation. This is permitted by Department policy, but
not mandated. The Department’s EEO Coordinator has both the authority and discretion to work
with the complainant on resolving the complaint according to the complainants’ wishes. This
practice allows the complainant to discuss how they would like to see the complaint resolved.37

        33)    Second, Mr. Graham’s Report criticizes how employees can initiate resolution of
a complaint under the EEO Policy. The Report states that in order for a complainant to initiate a
complaint, they are required to complete a form and mail it to the Department’s EEO
Coordinator.38 This is wrong. While the EEO Policy does specify that an employee can complete
a Complaint Form and mail or directly deliver it to the EEO Coordinator, this is not the only
method of initiating a complaint. Employees can also initiate a complaint by emailing, calling, or
directly speaking to the Assistant EEO Coordinator or EEO Coordinator. In fact, many of the
internal complaints the Department has received are initiated in this manner. It is not unusual
for the Assistant EEO Coordinator or EEO Coordinator to follow up with an employee about a
possible complaint that had been verbally communicated to the EEO Office.39 Further, the EEO
Policy states that an employee may contact his or her Supervisor or Commander with
complaints.40 In addition, and as stated above, any complainant may go directly to any of the
external agencies to make their complaint. This would not require any particular format or
require anything to be put in writing.



34
   GOM, Vol. I, Ch. 12, PG0000944718.
35
   Jurisdictions with similar policies include Arlington County and Montgomery County.
36
   Graham Report, ¶ 24, p. 24.
37
   GOM, Vol. 1, Ch. 12 (V.3), PG000034965.
38
   Graham Report, ¶ 24, p. 12.
39
   E.g., PG0000968590; Robert Harvin Jr. Deposition Transcript (“Harvin Tr.”) 134-138 (June 18, 2020); Jewell
Graves Deposition Transcript (“Graves Tr.”) 239-243 (July 1, 2020).
40
   GOM, Vol. I, Ch. 12, PG0000944717.

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        34)    Mr. Graham’s Report states that the Department has no investigative process if a
report is made up the chain of command and is “silent” on what a Commander does upon receipt
of a complaint. This is also inaccurate. Chapter 12 of the General Orders Manual directs
Commanders to ensure their commands are free from harassment and discrimination, and states
“[a]ttempts will be made to settle complaints at the employee supervisory level by dialogue
between the parties concerned.” When resolution at that level cannot be reached, employees
are urged to seek assistance from the EEO Office.41 Contrary to Mr. Graham’s assertions, this
provides clear guidance on the expectations and responsibilities for Commanders on how to
handle a complaint they receive from a subordinate.

        35)     Mr. Graham’s Report also condemns the Department’s investigation and
resolution process. Mr. Graham’s Report states that the methods the Department’s EEO
Coordinator may resolve a complaint does not “contemplate[] a thorough investigation.” This is
not correct. The Department’s EEO Coordinator is a Deputy Chief. The fact that the Department
gives that responsibility to a senior executive of that rank is a clear indication of the importance
that the Department places on these issues. By design, the EEO Policy allows the Deputy Chief
broad authority in handling these complaints. The Deputy Chief has the ability to appropriately
assign a case for the best resolution. This includes initiating a formal investigation, mediation, or
informal resolution.42 The Deputy Chief may also consult with the Internal Affairs Division to
determine whether the EEO Office or IAD should handle the investigation and remediation of an
internal complaint.43

        36)     If the EEO Coordinator or the Chief decides to assign a complaint for formal
investigation, they may either send it to Internal Affairs or refer the complainant to the County
Human Relations Commission or EEOC.44 The best practice for conducting investigations of this
type require that a single investigative process be followed where the complainant is treated as
the central figure of importance. Conducting dual investigations opens the door for conflicting
evidence to be gathered, including statements from victims, witnesses or accused members of
the Department. Collecting contradicting evidence can compromise the investigative process
and can prohibit an appropriate and just conclusion. The fact that IAD would administratively
close an investigation or the EEO Coordinator would cease remediating a complaint once another
external agency received notice of the complaint is a best practice. Mr. Graham’s assertion that
“it makes no sense to stop an investigation merely because the officer indicates they have or
intend to file a charge with the EEOC”45 contemplates a dual investigation that runs the risk of
the issues stated above.

        37)    Mr. Graham’s statement that the Department places a “heavy” emphasis46 on
direct confrontation between complainants and alleged offenders is misleading. The EEO Policy

41
   Id.
42
   GOM, Vol. I, Ch. 12, PG000034963-34966; Harvin Tr. 104-105 (June 18, 2020).
43
   PG0000179481-179482.
44
   PG0000155772 (referral of Plaintiff Perez’s complaint to the Executive Director of HRC).
45
   Graham Report, ¶ 50, p. 34.
46
   Graham Report, ¶ 32, p. 17.

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allows for a complaint to be handled at the lowest level possible through a dialogue between the
concerned parties. This method is only one option described in the General Order Manual, and
the EEO Policy clearly states that employees are urged to seek the assistance of the EEO
Coordinator.47 Again, the complainant can be heard by Department leadership with regard to
how their complaint is handled. When deemed appropriate, the EEO Coordinator can become
directly involved at any time regardless of command responsibility.48

        38)    Third, Mr. Graham’s Report also incorrectly asserts that the Department’s policies
lack appropriate confidentiality protections.49 However, confidentiality is addressed in both
GOM, Vol. 1, Chapter 4 and Chapter 22. Specifically, Chapter 22, states that, “Internal
investigations shall be handled confidentially. Investigative information and evidence shall not
be disclosed unless authorized by law or by the Chief of Police.” In addition, the Department’s
Harassment and Discrimination trainings address the importance of maintaining confidentiality.

         39)    Fourth, Mr. Graham’s Report states that there are no policies in place to protect
complainants from contact with suspected offenders.50 This is not true. General Order Manual
Vol. 1, Chapter 31, states that, “The Chief of Police reserves the right to transfer, permanently or
temporarily, any employee, and may staff on operational necessity.”51 Operational necessity
includes separating complainants and alleged offenders when appropriate. Additionally, General
Order Manual, Chapter 12, Section V places responsibility on commanders and managers to
ensure their commands are free from harassment and discrimination “and that supervisors
strictly enforce the sexual harassment and discrimination policy promptly and appropriately.” In
practice, this can mean adjusting employee work schedules, moving an employee to a sister
squad, or similar assignment modifications.52

        40)     Fifth, Mr. Graham’s Report states that the Department policies don’t prohibit “all
unlawful forms of harassment.” This is also false. Forms of harassment are addressed in several
general orders. Most notably, in Chapters 4 and 12 of the GOM. Chapter 12 specifically defines
“disparaging terms” in the context of negative statements pertaining to one’s age, national
origin, color, race, ethnic group, religion, gender, sexual orientation, or disability.53 Chapters 4
and 12 of the General Order Manual specifically prohibit retaliatory acts, which are unlawful
forms of harassment.54

        41)   At the end of many of the Department’s general orders, “Governing Legislation”
is provided. This is done to ensure that if the general order is not updated, any changes in the

47
   GOM, Vol. I, Ch. 12, PG0000944717.
48
   GOM, Vol. 1, Ch. 12, PG0000944717-944718.
49
   Graham Report, ¶ 34, p. 18.
50
   Id.
51
   GOM, Vol. I, Ch. 31, PG0000944868.
52
   GOM, Vol. I, Ch. 12, PG0000944717; e.g., PG0000968887; PG0000154090-154091 (Major Guixens’ offer to
transfer a complainant so that he may avoid working with his supervisor with whom he had conflict and moving
the complainant to a sister squad as he requested).
53
   GOM, Vol. I, Ch. 12, PG0000944716.
54
   GOM, Vol. I, Ch. 4, PG0000944650; GOM, Vol. I, Ch. 12, PG0000944716.

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law will take precedence. Specifically, in general order, Chapter 12, Discrimination and Sexual
Harassment, the governing legislation listed is the Civil Rights Act of 1964, the Equal Employment
Opportunity Act of 1972, as well as the Prince George’s County Executive Order No. 61-1995. It
has been my experience that police agencies attach the laws that are directly associated with
their policies to ensure any lag time between a law change and a corresponding update in the
General Order. This prevents an Officer from citing to an outdated general order as a defense to
a violation of law. The fact that the Prince George’s County Police Department lists this governing
legislation is a best practice.

        42)     Mr. Graham’s Report is critical of the EEO Coordinator’s efforts to “promote anti-
discrimination or anti-retaliation efforts within the Department.” The criticism is not justified.
The EEO Coordinator’s efforts are appropriate and in line with best practices. Ensuring that
officers are reminded frequently of their obligation to keep a discrimination and harassment-free
workplace is a best practice for police departments. Placing posters within the District Stations,
that are seen daily by all employees, are a great way to give those reminders. The posters are
typically put in the roll call and report rooms, so that all personnel are likely to see them. There
are relatively few authorized posters that are permitted to be displayed on the walls at the
workplace. This is another indication of the importance that the Department places on this issue.
That and the fact that EEO compliance trainings are regularly conducted. In addition, in several
depositions, the Deputy Chiefs assigned as the EEO Coordinator advised that quarterly emails
were sent to all personnel in the Department on how to file an EEO complaint, along with general
information on the EEO.55 As a police chief for two large agencies for more than 21 years, I know
there are very few issues that get this level of attention. The only other issues I’ve seen addressed
with posters and email reminders dealt with: 1) Officer Safety (wear your vest, “arrive alive” for
driving safely, and 2) Employee Assistance Program. The Department’s commitment to placing
EEO issues at that level is a strong statement indicating the importance of having a
discrimination-free environment.

        43)    Finally, the Department’s handling of complaints that have been filed with
external agencies is reasonable. The Deputy Chief (EEO Coordinator) and Assistant EEO
Coordinator (Director of Personnel) (collectively, “EEO Office”) are the point of contact for
receiving external employee complaints filed with agencies such as the EEOC, the Prince George’s
County Human Relations Commission (“HRC”), and the Maryland Commission on Civil Rights.
When a complaint is received from an external agency, the EEO Office investigates the factual
circumstances alleged in the complaint in order to compile relevant documents and draft a
response for the Office of Law to review and submit on behalf of the Department.

       44)     Mr. Graham’s Report criticizes the Department for failing to investigate
complaints that have been filed with external agencies like the EEOC.56 This assertion is without
merit. After the external agency sends the Department a copy of the charge, the agency sends a
Request for Information that the Department must fulfill. In response, the EEO Office gathers

55
   Raphael Grant Deposition Transcript (“Grant Tr.”) 35-37 (March 16, 2020); Melvin Powell Deposition Transcript
(“Powell Tr.”) 25-26 (June 30, 2020); Harvin Tr. 52-53, 152 (June 18, 2020).
56
   E.g., Graham Report, ¶ 61, p. 40.

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extensive documentation related to the allegations in the charge in order to fully respond to the
agency’s request. The EEO Office supplies the Office of Law with a detailed written report
defending the Department’s position and/or supplying the external agency with the requested
information. By way of example, the EEO Office conducted investigations and supplied fulsome
responses to external complaints filed by Plaintiffs.57

     B.    Prince George’s County Police Department Conducts Routine, In Person, Harassment
           and Discrimination Trainings That Are Generally Presented by the County’s
           Commission on Civil Rights.

       45)    The Department conducts routine, in-person, trainings related to EEO compliance.
In accordance with County law, all new Department hires, including new recruits in the Training
Academy, complete Workplace Harassment Avoidance Training (“WHAT”) at the beginning of
their employment.58 The WHAT training presentation was created by the County’s Office of
Human Resources & Management (“OHRM”).59 EEO training presented by the County’s HRC is
generally done annually to Department administrators and supervisors (consisting of ranks Acting
Sergeant and above). In 2017, an EEO presentation titled “Discrimination at the Workplace” was
presented during In-Service training to all rank and file employees.60 More specifically, the in-
person EEO trainings during the relevant period occurred as follows:

     •    On or about June 2015, the HRC presented a training on the HRC generally, discrimination
          in the workplace, and supervisory best practices to supervisors at a Department Crime
          Meeting.61 In or around November and December 2015, the HRC presented two-hour
          trainings titled “EEO/Sexual Harassment” to supervisors and administrators.62

     •    Between June and October 2016 during In-Service Training, the HRC presented an EEO
          training to supervisors.63 On or about November 2016, the HRC presented an EEO-related
          training to supervisors at First Line Supervisor School.64

     •    On or about August 2017, the HRC presented a training titled “EEO/Sexual Harassment”
          to supervisors.65 Between August and December 2017 during In-Service Training, a




57
     PG0000071313-71484 (Perez); PG0000071525-71562 (Torres); PG0000071563-71610 (Zollicoffer);
PG0000071611-71663 (Ingram); PG0000071664-71751 (Anis).
58
   Human Resources Management, “Workplace Harassment Prevention Training,” Prince George’s County, MD,
available at https://www.princegeorgescountymd.gov/3547/Workplace-Harassment-Prevention-Training;
PG0000000370.
59
   PG0000968917-968933; PG0000969101-969118; PG0000969046-969090; PG0000968980-969025.
60
   PG0000969232-969252; PG0000969743-969750; PG0000969751-969761; PG0000969762-969777.
61
   PG0000967249-967290; PG0000907898-907939.
62
   PG0000968914-968916; PG0000969037-969042; PG0000967249-967290; PG0000907898-907939.
63
   PG0000966820-966830; PG0000969165-969175; PG0000969046-969090; PG0000968980-969025.
64
   PG0000969221-969223; PG0000969119-969164.
65
   PG0000969043-969045.

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          Training Academy instructor presented the EEO training titled “Discrimination at the
          Workplace” to rank and file employees.66

     •    On or about July and September 2018, two EEO trainings were presented to supervisors
          by Assistant Commander Daniel Sheffield. Materials were disseminated to attendees by
          the Assistant EEO Coordinator after the training session.67 Between June and December
          2018, rank and file officers received Implicit Bias Training at In-Service Training.68

     •    On or about February 2019, the current Director of HRC, Renee Battle-Brooks, presented
          a training titled “EEO/Sexual Harassment” to supervisors at First Line Supervisor School.69
          On or about March 2019, the HRC presented a training titled “EEOC” to administrators at
          Administrator School.70

     •    Between January and March 2020, Associate County Attorney Annie Koshy presented
          trainings titled “EEO & Grievances” to supervisors at Leadership School.71 In 2020, Deputy
          Chief of the Bureau of Administration and Homeland Security Robert Harvin instituted
          EEO training for all rank and file employees. This new rank and file training has been
          implemented remotely due to COVID-19.72

       46)     Mr. Graham’s Report relies on training session sign-in sheets and concludes that
the officers whose signatures appear on those particular sheets are the only officers who
received EEO training from 2014 to 2020.73 It is improper for Mr. Graham’s Report to rely on the
absence of documents produced in this litigation to establish the number of attendees at EEO
Compliance trainings. The hard copy sign-in sheets which were accessible and produced in the
course of the lawsuit would not necessarily be determinative of the actual number of officers
who attended trainings. A more accurate measure of officer attendance at trainings can be
derived from the fact that all officers must complete In-Service Training in order to remain
Maryland Police and Correctional Training Commission (“MPCTC”) certified.

       47)    In addition to the above trainings, the Department disseminates information to all
Department employees about filing EEO-related complaints and procedures. As discussed
previously, on a quarterly basis, the Assistant EEO Coordinator sends EEO information to all
Department employees via the Police_Only list serve, including a Complaint Pathways chart and
a comprehensive PowerPoint outlining EEO policy and procedure (“Prince George’s County Police




66
   PG0000969743-969750; PG0000969751-969761; PG0000969762-969777; PG0000969232-969252.
67
   PG0000967291; PG0000968934-968964.
68
   E.g., In-Service Implicit Bias Training Classroom Participation Sign-In Sheets (2018).
69
   PG0000969224-969225; PG0000969229-969231.
70
   PG0000969226-969230.
71
   PG0000968965-968979; PG0000969026-969036; PG0000969091-969100.
72
   Harvin Tr. 179, 188 (June 18, 2020).
73
   Graham Report, ¶ 44, p. 28.

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Department EEO PowerPoint”),74 and the EEO Coordinator ensures all Department stations are
outfitted with placards that address EEO compliance.75

        48)     Mr. Graham’s Report asserts that Deputy Chief Harvin testified in his deposition
that new rank and file officers do not receive WHAT training.76 Graham misread or
misunderstood the testimony. Harvin testified that rank and file officers are not given a training
on the Prince George’s County Police Department EEO PowerPoint (Exhibit 7 in the deposition)
but will begin to receive such training as of mid-2020.77 Mr. Graham’s Report confused WHAT
training with EEO training and drew an incorrect conclusion. Mr. Graham’s Report also asserts
that the Department’s EEO PowerPoint “appears to be primarily presented through a DVD
presentation” and cites only the PowerPoint itself as evidence of this speculation.78 However,
one EEO training was recorded and a DVD was made available for officers who were required to
view it as part of a settlement agreement between the Department and the EEOC.79 In fact, Mr.
Graham’s Report references this instance and then leaps to the conclusion that trainings are not
regularly conducted with a live instructor.80 The EEO Coordinator monitored compliance for
those who were required to view the DVD and collected signed acknowledgment forms from the
officers.81

        49)    Mr. Graham’s Report proceeds to critique the substance of the Department’s EEO
PowerPoint and doesn’t account for the fact that the trainings are conducted by a live instructor
who provides additional information to attendees. Mr. Graham’s Report inaccurately asserts the
PowerPoint “ignores key protections . . . including accommodations for pregnant employees and
prohibitions on the basis of sexual orientation, gender identity, and marital status.”82 Yet, there
is reference made to all three of these protected classifications in the PowerPoint.83 Mr.
Graham’s Report also concludes that the EEO training is deficient because it “contains minimal
discussion of retaliation” and cites only one page of the PowerPoint for this assertion.84
Prohibitions on retaliation are referenced on no less than nine different pages of the
PowerPoint.85

      50)     Mr. Graham further concludes that EEO training is deficient because it lacks an
element of “testing” and “[t]he Department does not appear to do anything beyond confirming

74
     PG0000000344; PG0000103651; PG0000145106; PG0000144779; PG0000155489; PG0000145106;
PG0000967037; PG0000432824.
75
   Harvin Tr. 51 (June 18, 2020).
76
   Graham Report, ¶ 44, p. 28.
77
   Harvin Tr. 188 (June 18, 2020).
78
   Graham Report, ¶ 43, p. 24.
79
      PG0000928316-928618; PG0000928319-928620; PG0000783353; PG0000908227; PG0000152721;
PG0000154901-154902.
80
   Graham Report, ¶ 44, p. 28.
81
   PG0000154901-154902; PG0000329248-329249; PG0000329749-329750; PG0000152721; PG0000928400.
82
   Graham Report, ¶ 43, p. 25.
83
    PG0000000397 (pregnancy, gender identity, and sexual orientation); PG0000000399 and PG0000000406
(pregnancy); PG0000000433 (marital status).
84
   Graham Report, ¶ 44, p. 25.
85
   PG0000000399-403; PG0000000406; PG0000000409; PG0000000410; PG0000000433.

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officers signed a sign-in sheet.”86 The PowerPoints used during in-person EEO-related trainings
contain slides with case examples and scenarios that are discussed with class attendees.87 This
practice is consistent with my experience as to how such training sessions are often conducted.

     PART 2.    IAD REASONABLY APPLIES DISCIPLINE AND PERFORMS INVESTIGATIONS IN
                ACCORDANCE WITH BEST PRACTICES

        51)    The stated mission of the Department’s Internal Affairs Division is to investigate
all complaints in any manner and form they are submitted.88 This is designed to ensure that all
complaints are investigated in a complete, fair, and impartial manner and to impose disciplinary
action, if necessary, in a uniform and timely fashion. Based on my review of the IAD policies,
procedures, and practices, and my experience overseeing officer investigations and discipline,
IAD has been achieving that goal.

     A. Prince George’s County Police Department’s Complaint Policies Are Reasonable

       52)    Vol. 1, Chapter 4 of the General Order Manual details the Department’s
Complaints policy. It contains sound guidelines that address the importance of creating and
maintaining a relationship of mutual trust and confidence with the community. The order
recognizes the obligation to notify the public about its complaint filing procedures and
acknowledges each individual’s rights to file a complaint against an employee. It clearly states
that the Department accepts all complaints of employee misconduct at all levels of the
Department.89 The entire policy reflects best practices.

        53)     Mr. Graham’s Report criticizes the internal complaint process by stating that it
restricts employees of any ability to file a complaint out of their chain of command.90 Again, this
is not accurate. In confidential matters, reports may be made directly to the Commander of the
Internal Affairs Division.91 In cases where an employee is complaining about his or her supervisor
or anyone in their chain of command, they are afforded the opportunity to go directly to IAD.

       54)    Mr. Graham’s Report discusses the IACP model policy on Harassment,
Discrimination, and Unprofessional Conduct, which cites as a best practice the ability of an
employee to make a complaint outside of their chain of command.92 Vol. 1, Chapter 4 of the
Department’s General Order Manual does exactly that as noted above.




86
   Graham Report, ¶ 44, pp. 25-31.
87
   E.g., PG0000969238-969239; PG0000969249-969252; PG0000969137; PG0000969158-969164; PG0000968947-
968962; PG0000907926-907939.
88
   See PowerPoint presentation by Major James McCreary, “Internal Affairs Division” (September 16, 2020)
(hereinafter “McCreary IAD PowerPoint”).
89
   GOM, Vol. 1, Ch. 4, PG0000944646.
90
   Graham Report, ¶ 25, p. 13.
91
   GOM, Vol. 1, Ch. 4, PG0000944646.
92
   Graham Report, ¶ 27, p. 13.

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     B.   IAD’s Screening and Assignment Procedures Are Reasonable

       55)     The detectives in the Internal Affairs Division of any police department must be
held to the highest standards of integrity. As such, it is industry standard that the personnel
selected to be assigned to IAD as investigators have a proven reputation and high ethical
standards.

        56)     Internal Affairs cases are not just assigned randomly. The nature of the case will
influence which investigator is assigned to a specific case. That said, it has been my experience
that commanders will assign the most difficult cases to their best detectives. It is also my
experience that often a routine or minor case could be assigned to a less experienced investigator
to build his or her skill set and confidence.

        57)     IAD’s screening and assignment procedures at Prince George’s County Police
Department are reasonable. IAD screens complaints to determine the investigatory
responsibility.93 This is both necessary and appropriate so the investigation can be directed to
the appropriate investigative avenue in accordance with the stated mission above. Without the
screening process, valuable and limited resources can be wasted by needlessly tying up specially
trained IAD investigators with conducting investigations that are better and more appropriately
investigated at lower levels of the department.

        58)     The Prince George’s County Police Department assigns complaints it receives for
investigation after screening the complaint.94 Complaints involving criminal allegations and
administrative investigations that can lead to termination, reduction in rank or significant fines
and suspension are retained by IAD for investigation.95 These types of cases also include
allegations of use of force, abusive language, and harassment.96

       59)      Complaints of minor violations or simpler investigations are assigned to a
supervisor or command officer at the division or district level for investigation. This allows IAD
to focus on the more serious investigations that require more specialized training and experience.
This best practice utilizes limited specialized personnel resources in a more efficient manner. This
also places the investigation into the hands of supervisors and commanders who are well-
situated to understand and resolve day-to-day management or performance issues.

      60)     Graham implies that “inquiries” and “field cases” are improper but ignores or
mischaracterizes the facts of the cases he cites. For example:



93
   Art’z Watkins Deposition Transcript (“Watkins Tr.”) 119-122 (July 10, 2020); IAD Standard Operating Procedures,
PG00000000497-530; GOM, Vol. I, Ch. 4.
94
   McCreary IAD PowerPoint, supra note 87; Watkins Tr. 119-122; GOM, Vol. I, Ch. 4.
95
   Id.
96
   McCreary IAD PowerPoint, supra note 87; GOM, Vol. I, Ch. 4, PG0000944649.

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     •    Plaintiff Chambers: Mr. Graham criticizes IAD for referring Plaintiff Sharon Chambers’
          complaint about her supervisor, Sergeant Norton, to the District as an inquiry. In June
          2018, while under investigation for suspected false statements in connection with her
          loss and recovery of her Department-issued firearm, Plaintiff Chambers first complained
          to IAD that Norton had called her a “Signal 7” a year earlier. The term “Signal 7” is a radio
          signal from the General Order Manual and is used to identify a suspicious individual as
          part of police operations. This radio signal is race-neutral.97 Plaintiff Chambers claimed
          that Norton used the term when issuing her a Department order requiring her to submit
          to a DNA swab requested by the independent police department investigating her missing
          firearm. She also asserted that Norton had only started treating her differently after she
          lost her firearm. She did not indicate to IAD that Norton’s conduct was race-based.98 In
          my opinion, IAD’s referral of this matter to the District Commander for an inquiry was
          appropriate, based upon what IAD knew about Plaintiff Chambers’ allegation at the time
          it was referred.

          Mr. Graham’s criticisms are based upon his misleading and incorrect statements about
          Plaintiff Chambers’ complaint. He suggests that IAD improperly referred that complaint
          in light of information it allegedly had from Plaintiff Chambers’ charge of discrimination
          with the EEOC, but Mr. Graham’s Report is inaccurate regarding both the content and the
          timing of that charge. First, Mr. Graham suggests that the charge (A) stated that Norton
          called Plaintiff Chambers a “Signal 7” and disgrace, and (B) “specifically noted that
          [Plaintiff Chambers’ Commander, Lieutenant Raymond Aure,] and others in the station
          were notified of Sergeant Norton’s conduct, and apparently did nothing.”99 However,
          these allegations are not included anywhere in the EEOC charge itself.100 The charge
          contains no allegations about Aure at all, and no allegations about any comments
          purportedly made by Norton. Nor does it include any allegations of race-based
          discrimination of any kind.101 Second, Mr. Graham states that Plaintiff Chambers first filed
          her EEOC charge, and that her allegations were “subsequently brought to the attention
          of IAD during the course of another investigation.”102 In fact, Plaintiff Chambers reported
          Norton’s alleged race-neutral comments to IAD nearly five months prior to filing a charge
          of discrimination with the EEOC. IAD referred the matter for an inquiry two months prior




97
   GOM, Vol. II, Ch. 49, PG0000945310.
98
   See Transcript of Plaintiff Chambers’ June 18, 2018 Interrogation, PGPD-CHA-0000384; PGPD-CHA 0000385, PGPD-
CHA-0000389.
99
   Graham Report, ¶ 67(g), pp. 54-55.
100
    PGPD-CHA-0000944 (EEOC Charge).
101
    In fact, Plaintiff Chambers asserted in the charge that Norton was engaging in gender-based discrimination, and
she cited two Black officers who she claimed were treated more favorably than she had been. See PGPD-CHA-
0000944.
102
    Graham Report, ¶ 67(g), p. 54 (emphasis added).

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             to this filing.103 These inaccuracies undermine Mr. Graham’s suggestion that IAD failed to
             properly address a claim of race discrimination advanced in any EEOC charge.104

       •     Plaintiff McClam: IAD’s course was also appropriate when it referred (to District III) as an
             inquiry a Sergeant’s complaint that Plaintiff Patrick McClam had responded to an email in
             a way that was disrespectful and inappropriate and that attacked the Sergeant’s character
             and integrity.105 After conducting several witness interviews and reviewing the email
             correspondence, Captain Sunny Mrotek “conclude[d] that Lieutenant McClam did not
             violate any departmental regulation,” but that he had “indicated a repeat pattern of not
             working well with others, taking things personal and responding in an unprofessional
             manner.”106 Captain Mrotek reported that he and Captain Katina Gomez counseled
             Plaintiff McClam on his conduct.107 These types of complaints are appropriately handled
             at the command level.

       61)     Furthermore, the Department trains district and division level supervisors to
conduct investigations.108 It is appropriate for the Department to assign investigations to
supervisors outside of IAD. And, the Department follows the best practice dictating that those
supervisors be trained.

       C.     IAD’s Practices Comply with LEOBR and Have Several Layers of Internal and External
              Review

        62)     Prince George’s County Police Department’s IAD practices comply with the Law
Enforcement Officers’ Bill of Rights (“LEOBR”) and allow for review of discipline inside and outside
of the Department. Prince George’s County Police Department’s disciplinary process has multiple
levels, involving many decision-makers, as established under Prince George’s County Police
Department’s policies, Maryland law, and the union agreement.

      i.     Investigations


103
     See Transcript of Plaintiff Chambers’ June 18, 2018 Interrogation, PGPD-CHA-0000384; PGPD-CHA-0000385;
PGPD-CHA-0000944; PG0000121755.
104
    The Report is also inaccurate regarding IAD’s interaction with Plaintiff Chambers following her allegations about
Norton. While Mr. Graham claims that IAD did not interview her, (Graham Report, ¶ 67(g), p. 55), the IAD
investigator conducting the interrogation in fact asked numerous questions about her account of these events when
she first raised them. See PGPD-CHA-0000384; PGPD-CHA-0000396. Similarly, Mr. Graham also fails to accurately
reflect the nature of the inquiry that Aure conducted. During that inquiry, Plaintiff Chambers indicated that Norton
allegedly made the complained-of comments “because [Chambers] initially refused to provide Charles County
Sheriff’s Department with [the] DNA swab of her mouth,” (PG0000121756 (emphasis added)), undermining any
assertion that Norton’s comments were race-based. While the Report also claims that Aure “did not question Sgt.
Norton,” Aure’s memorandum memorializing the investigation notes that he spoke with Norton about Plaintiff
Chambers’ allegations, and she denied making the alleged comments. PG0000121756.
105
    See PGIAD0000032990.
106
    PGIAD0000032974 (emphasis added).
107
    PGIAD0000032972-32974.
108
    Interview with IAD Commander Major James McCreary.

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        63)    Disciplinary investigations vary depending on the type of case, but certain
principles apply throughout. One of those principles is that investigations are reviewed and
approved through the chain of command. This allows for multiple sets of eyes on a file and
collaboration across multiple decision-makers, which is a best practice.

        64)     Further, IAD investigations draw on various sources for expertise. One example is
use of force investigations. Special Investigative Response Team (“SIRT”) cases involving use of
force, complaints from members of the public on use of force, or non-justified use of force
reviews are often investigated with input from First Sergeant William Gleason, an experienced
use of force expert .109 Another example is allegations of criminal misconduct, which are handled
by SIRT. These investigations are worked in conjunction with the State Attorney’s office. This is
another example of a best practice as the State Attorney’s office can provide expert guidance
and oversight during the investigative process and provides outside eyes to help assure the
integrity of the investigation.

       65)     At the end of an investigation, a finding is made with respect to each allegation
and there are four choices:

      •    Sustained – A preponderance of the evidence proves the allegation violated departmental
           policy or procedure;
      •    Non-sustained—The evidence fails to prove or disprove the alleged act(s) occurred;
      •    Exonerated (Proper Conduct)—The evidence proves that the alleged act(s) occurred,
           however, the act(s) were justified, lawful, or proper; and
      •    Unfounded—The evidence proves the alleged act(s) did not occur or the accused officer
           was not involved.

        66)    By trying to associate “sustained” percentages with certain IAD investigators, Mr.
Graham ignores the process used at Prince George’s County Police Department. For IA and SI
cases, the investigator’s work is reviewed and approved by his or her Lieutenant and Captain in
IAD.110 Though the investigator has input, sustaining a charge is a collective decision. The IAD
Commander generally reviews and signs off on the recommendation from the Lieutenant and
Captain, sometimes consulting with the Assistant Chief.111 This collaborative process is
reasonable and in line with what is seen in other agencies.

  ii.      Recommending Discipline and Like Discipline

       67)     IAD’s steps after completing an investigation also show a fair and balanced
process. If an IA or SI charge is sustained, the AHB Coordinator (not the investigator or
supervising officer) collects a range of potential discipline based on a review of “like discipline”
imposed in other cases.112 This is a best practice in the industry. In Major Kathleen Mills’ tenure

109
    Interview with 1st Sergeant William Gleason.
110
    Interview with IAD Commander Major James McCreary.
111
    Id.
112
    McCreary IAD PowerPoint, supra note 87; Interview with IAD Commander Major James McCreary.

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as IAD Commander, the Commander of the Administrative Investigation Section (“AIS”) or SIRT
generally adopted the Administrative Hearing Board’s (“AHB”) Coordinator’s selection of like
discipline, and in some cases sought the input of Major Mills. And, she sometimes sought input
from the Assistant Chief.113 The Commander of AIS or SIRT would then serve the recommended
discipline on the officer in a Disciplinary Action Recommendation (“DAR”), subject to final review
by the Commander of IAD. In some cases involving more severe proposed discipline, the
Assistant Chief would review and sign the DAR. In addition, when the Commander of AIS or SIRT
was unavailable, the Commander of IAD would execute the DAR. At all times relevant here, this
process of determining and issuing discipline had multiple layers of review.

        68)    Mr. Graham attempts to call into question the fairness of the Department’s
handling of the assessment of “Like Discipline” in a selective group of cases involving disciplinary
actions against Command level employees.114 Graham recounts that Major Mills was tasked with
identifying “like discipline” in connection with the Department’s determination of the
appropriate punishment to impose on Plaintiff Joe Perez for the sustained charges against him
resulting from a complaint from the Mayor of Seat Pleasant, Maryland. Mr. Graham challenges
Major Mills’ conclusion that “like discipline” did not exist for Captain Perez’s infractions because
“a command level employee has not been disciplined for the behavior and unprofessional
conduct Captain Perez has.” Specifically, he faults Major Mills for failing to have considered the
punishments imposed in connection with four separate IAD cases involving command level
employees which resulted in lesser disciplinary punishments.

       69)      To properly assess whether Plaintiff Perez received harsher discipline than the
four command level employees Mr. Graham identifies, I reviewed the category and severity of
the charges which were sustained against Plaintiff Perez as compared to the others. Based on
AIS Commander Captain Art’z Watkins’ investigation in IA2018-002,115 Plaintiff Perez was issued
a DAR116 by Assistant Chief of Police Hector Velez, charging him with two Ethics violations and a
Loyalty violation.117 Assistant Chief Velez recommended the following disciplinary action:

        That you shall receive a Reduction in Rank and Salary to that of Lieutenant, and . . . be
        removed from the Promotional Cycle for Captain for One (1) Year from the date that
        this disciplinary action becomes final. You will be ineligible to participate in the
        promotional process for the rank of Captain until the time in grade requirement is met
        without any previous time and grade being counted.118

Plaintiff Perez disputed his discipline. The Final Disciplinary Action by the Department adopted
the AHB’s disciplinary action of reduction in rank and salary to that of Lieutenant.119


113
    Kathleen Mills Deposition Transcript (“Mills Tr.”) 24, 296 (August 6, 2020).
114
    Graham Report, ¶¶ 136-138, pp. 122-125.
115
    PG0000980426-980432 (IA2018-002) (Report of Investigation).
116
    PG0000984011-980414 (IA2018-002) (Disciplinary Action Recommendation).
117
    The facts of this incident are recounted elsewhere in this report.
118
    PG0000984012-984013 (IA2018-002) (Disciplinary Action Recommendation).
119
    PG0000980339-980341 (IA2018-002).

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        70)     Based on my extensive experience overseeing and evaluating the conduct of the
internal affairs divisions of two large police departments and my familiarity with internal affairs
investigation best practices, it is my opinion held to a reasonable degree of certainty that Major
Mills did not err by not considering the disciplinary penalties imposed in the cases below as “like
discipline” for the charges sustained against Plaintiff Perez. Specifically:

             •   Deputy Chief Christopher             (IA2016-030). In Deputy Chief             case,
                 following a thorough investigation conducted under the authority of the
                 Department’s Office of Inspector General, Deputy Chief            was charged with
                 four counts of failing to adhere to a quarterly reporting requirement120 contained
                 in the Temporary Duty Assignments (“TDY”) provisions of the General Order
                 Manual. 121 The proposed progressive disciplinary penalty for the four identical
                 procedural infractions was a written reprimand and three separate monetary fines
                 totaling $300. Deputy Chief            accepted the proposed disciplinary action.122
                 Mr. Graham’s Report ignores the detailed factual findings of the assigned lead
                 investigator, Major Irene Burks,123 choosing instead to recite allegations from the
                 anonymous complaint which sparked the investigation that were ultimately
                 determined to be without merit. 124 Finally, Mr. Graham’s reference to the CCOP’s
                 disagreement with the findings of the Inspector General’s investigation unfairly
                 fails to acknowledge Chief Stawinski’s stated reason for exercising his right to
                 disagree with the findings of the CCOP. 125 Neither the charges nor the facts
                 resemble Plaintiff Perez’s disciplinary case.

             •   Major                   (PS2019-114) and Captain                 (PS2019-015).
                 Major         and Captain        were charged with a violation of Volume I,
                 Chapter 27 of General Order Manual. 126 The charges resulted from the discovery

120
    PG0000447427-447430 (IA2016-030).
121
    GOM, Vol. I, Ch. 31, PG0000944871 states in relevant part:
          Commanders/Managers may make temporary assignments within their commands. They shall review each
          TDY assignment under their authority every 90 days and report to the Chief of Police on the status of the
          assignment. This written report shall include all of the following:
          - Projected length of the temporary assignment
          - Reason for continuing the assignment
          - Efforts to permanently fill the position when a vacancy exists
122
    PG0000447427-447430 (IA2016-030).
123
    Also, Mr. Graham misleadingly suggests that “the assigned investigator” was promoted and assigned to work for
Deputy Chief           as a reward for initially clearing          of any infraction. However, the individual to whom
Graham refers, Lieutenant Lightner—originally chosen to assist with the investigation of the anonymous complaint
by Plaintiff Perez and continued in that capacity by Major Burks—was promoted to Captain as part of the
Department’s competitive promotional process. Upon his promotion, Lightner was assigned to work in its largest
division, Bureau of Patrol, as one of numerous Captains falling under              command.
124
    PG0000447445-447453; PG0000162691-162711 (IA2016-030).
125
    Henry P. Stawinski III Deposition Transcript (“Stawinski Tr.”) 313 (July 31, 2020).
126
    Officers may earn either pay or compensatory time for hours worked beyond their regular schedule. County
compensatory time is earned when the total hours worked during one pay period exceeds 80 hours.

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                 that while serving as the Commander and Assistant Commander of District II,
                        and           had authorized the award of compensatory time for officers
                 under their command for hours that were not worked in connection with their use
                 of an unauthorized performance incentive program.127 The summary punishment
                 proposed following a PS investigation of their charged violation of a written
                 directive of the Prince George’s County Police Department was a suspension
                 without pay (two days for          and one day for         ). Additionally,        and
                         were removed from their command positions in District II and transferred
                 to other assignments.               and            elected to accept the summary
                 punishment proposed in their respective cases in lieu of a formal investigation and
                 waived their LEOBR right to an AHB. 128 In assessing the severity and comparability
                 of these charges, it is worthy noting that the unauthorized performance incentive
                 program overseen by            and         for six months was determined not to be
                 per se illegal and was not expressly prohibited by then existing Department
                 policies. 129 Neither the charges nor the facts resemble Plaintiff Perez’s disciplinary
                 case.

             •   Major                  (SI2017-064). Contrary to Mr. Graham’s interpretation of
                 Major             testimony as a witness in this matter, she did not admit to
                 directing her subordinate, Lieutenant          , to try to dissuade two officers from
                 cooperating in a criminal investigation of another officer. Major            told IAD
                 that she requested Lieutenant           to speak to one officer about the reported
                 incident, but she did not intend for any intimidation or coercion to occur.130 Major
                           was not a respondent in SI2017-064, nor did the disposition of that case
                 result in a separate set of charges being brought against her. Accordingly, there
                 was no record of sustained charges and disciplinary action against Major
                 for Major Mills to have considered as “like discipline” in her evaluation of the
                 appropriate discipline to impose on Plaintiff Perez.

        71)     Based on my experience evaluating internal affairs investigations, it is my opinion
that the disciplinary charges sustained against Deputy Chief            Major           and Captain
       , and SI2017-064 as well as the resulting punishments imposed in those respective matters
should not have been considered by Major Mills as “like discipline” in an evaluation of the
proposed punishment to recommend in the case of Plaintiff Perez.




127
    See pp. 68-71, infra.
128
    PGIAD0000127802 (PS2019-114); PGIAD0000127822 (PS2019-115).
129
    Prince George’s County Police Deparment, “Chief Hank Stawinski Ends Unauthorized Incentive Program At District
Station” (Aug. 7, 2019), available at https://youtu.be/Pe1LfmB9TuM.
130
    PGIAD0000135380 (SI2017-064).

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 iii.      Recommending Terminations

       72)     Mr. Graham’s Report fails to mention that terminations under Major Mills’ tenure
were brought to the Executive Command Staff for a briefing and a vote on discipline.131 Looking
back to 2016, that Executive Command has included Hank Stawinski or Hector Velez, as Chief;
Hector Velez as Assistant Chief; Carlos Acosta or Donnell Turner as Inspector Generals; and
Melvin Powell, Raphael Grant, Robert Harvin, George Nichols, George Nader, Samir Patel, Genia
Reaves, Anthony Schartner, Chris Murtha, and/or Jacqueline Rafterry as Deputy Chiefs. With
consensus from this group, the Assistant Chief or Chief of Police issued recommendations of
termination.132

        73)     Mr. Graham’s Report misunderstands the IAD process when he ties terminations
to certain investigators. IAD investigators are not involved in selecting discipline. Mr. Graham
improperly blames three investigators who he claims have higher “sustain” rates against Officers
of Color for the terminations of ten Black and Hispanic officers.133 Included among the ten cases
Mr. Graham tries to attribute to biased investigators are:

      •    Former Plaintiff Clarence Rucker: Rucker was investigated by IAD after it was notified
           that Rucker may be involved in an inappropriate romantic relationship with a domestic
           violence victim from one of his assigned cases. The IAD investigation uncovered evidence
           that Rucker had obtained personal information of multiple domestic violence victims
           from his assigned cases and used this information to initiate and/or attempt to initiate
           intimate relationships with three of the domestic violence victims involved in cases
           assigned to Rucker for his investigation.134 Rucker was found to have sent sexually graphic
           messages to domestic violence victims in the cases he was investigating.135 This included
           pictures of his genitals and a video of himself masturbating, which was inadvertently
           opened by one victim’s daughter.136 The Department recommended termination, and
           Rucker resigned pending discipline.137 He then sued in this case, alleging that his
           termination was discriminatory and retaliatory.138 After over a year of pursuing his
           lawsuit, he dropped his case without explanation.139

      •    Juan Hernandez: Hernandez was criminally convicted of second-degree assault in May
           2017 based on dash cam footage of him chasing down and striking with his police cruiser

131
    Under McCreary’s tenure, the Executive Command Staff votes on any termination or demotion. See McCreary
IAD PowerPoint, supra note 87; Interview with IAD Commander Major Kathleen Mills; Interview with IAD
Commander Major James McCreary.
132
    See id.
133
    Graham Report, ¶ 126, p. 112.
134
    Defendants’ Answer to Plaintiffs’ First Amended Complaint, ¶ 212 [ECF 142].
135
    PG0000070896-70902; PG0000070916-70926.
136
    PG0000070916-70926.
137
    PG0000070896-70902; PG0000070894.
138
    Plaintiffs’ First Amended Complaint, ¶¶ 210-21 [ECF 51].
139
    Motion To Vacate Clarence Rucker’s Notice of Fed. R. Civ. P. 41(A) Voluntary Dismissal Without Prejudice And For
Entry of Dismissal With Prejudice (ECF 266).

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           a suspect fleeing on foot in a field.140
                       .141

      •    James Sims: Sims pled guilty to four counts of visual surveillance with prurient interest
           and two counts of misconduct in office.142 The criminal investigation revealed that Sims
           had taken upskirt photos of multiple women while on duty.143 After pleading guilty, an
           internal investigation progressed.
                   .144

      •                    : Judge Albert Northup issued a protective order against      in 2017,
           finding that         put his two-year-old son in serious danger when he took the child
           away from his mother during a visitation and drove off recklessly with the child in his
           arms.145 In 2016,             had been criminally charged and suspended from the
           Department for punching and slapping his son’s mother on a separate occasion while
           trying to take the child without permission.146 The Department recommended
           termination.147

      •    Tempitope Asaya: Asaya was criminally charged for theft.148 Video surveillance showed
           Asaya and a companion stealing a woman’s iPad.149 After the theft, the owner put her
           device on “lost mode” with instructions to call her.150 According to the police reports,
           “[a] man called the owner and told her the tablet was purchased from Craigslist,” and the
           call was traced to Asaya.151 The Department recommended termination for multiple
           charges, one of which was false statement.152


140
    Hernandez v. State, 2018 Md. App. LEXIS 587 (Md. Ct. Spec. App. 2018); Lynh Bui, “Md. police officer convicted
of assault after being caught on video striking man with cruiser,” The Washington Post (May 18, 2017), available at
https://www.washingtonpost.com/local/public-safety/md-police-officer-convicted-of-assault-after-being-caught-
on-video-striking-man-with-cruiser/2017/05/17/64bcf024-3b46-11e7-a058-ddbb23c75d82_story.html.
141
    PG0000852384-852394; PG0000966028-966030.
142
    CBS Baltimore, “Maryland Officer Pleads Guilty To Taking Upskirt Photos of Women” (January 17, 2017), available
at          https://baltimore.cbslocal.com/2017/01/17/maryland-officer-pleads-guilty-to-taking-up-skirt-photos-of-
women/
143
    Id.
144
    PGIAD0000103604-103612.
145
    PGIAD0000072294-72303 (SI2017-039).
146
    See PGIAD0000099627-99643; Jamie Forzato, “Prince George’s Co. officer suspended following domestic-related
arrest,” WTOP News (February 29, 2016), available at https://wtop.com/prince-georges-county/2016/02/prince-
georges-co-officer-suspended-following-domestic-related-arrest/.
147
    PGIAD0000072294-72303 (SI2017-039).
148
    Moriah Balingit, “Police officer from Prince George’s County suspended following theft charge,” The Washington
Post (October 4, 2014), available at https://www.washingtonpost.com/local/crime/police-officer-from-prince-
georges-county-suspended-following-theft-charge/2014/10/04/b9848b4a-4bec-11e4-891d-
713f052086a0_story.html
149
    Id.
150
    Id.
151
    Id.
152
    Interview with Major Katie Mills.

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        74)     None of these officers were worthy of holding the certification of a police officer
and I fully concur with the decisions made by Prince George’s County Police Department to
recommend termination. Mr. Graham’s implication in paragraph 126 of his report that specific
investigators’ racial biases caused these officers to be investigated and terminated is not tied to
the IAD process or the facts of these cases.

 iv.    CCOP Review

        75)    The Prince George’s County Police Department utilizes an independent seven-
member civilian panel appointed by the County Executive’s Office to assist the Department in
achieving its goal of complete, thorough and impartial IAD investigations.153 The panel is called
the Citizens Complaint Oversight Panel (“CCOP”). It reviews disciplinary investigations for
completeness and impartiality. It also submits comments and recommendations to the Chief of
Police. Furthermore, it has the power to conduct its own investigation either independent of or
concurrently with any IAD investigation. The panel has subpoena power, through the Prince
George’s County Council for people to appear before it.154

        76)    In 2018, the CCOP reviewed 109 complete investigations containing 401
allegations. Of those 401 allegations, the CCOP disagreed with IAD findings in 10 instances.155 In
2019, the CCOP reviewed 105 complete investigations containing 495 allegations. Out of those
495 allegations, the CCOP disagreed with IAD findings in 25 instances.156 These numbers appear
normal, indicating that IAD performs quality investigations and that the CCOP is not simply rubber
stamping its work.

        77)    In the          case discussed above, for which Mr. Graham finds investigator bias
to have caused the termination, the CCOP also recommended a discipline: termination.
Chairperson Dale Crowell wrote to the Department: “[T]he Panel recommends that the
Department consider terminating this officer. Our considerations in making this recommendation
include: 1) the Respondent’s combative behavior . . . 2) his repeated false statements and
challenges with the truth; 3) his glaring lack of judgement that endangered him and others
including a minor; and 4) his disregard for the law.”157

        78)    Public oversight is a best practice. The CCOP precludes the Department from
conducting internal investigations in a vacuum and without community oversight. Partnering
with the State Attorney as well as the CCOP allow a level of transparency and accountability that
are also best practices.




153
    PG0000938025 (Citizen Complaint Oversight Panel, Prince George’s County 2018 Annual Report).
154
    Id.
155
    PG0000938031-938042 (Citizen Complaint Oversight Panel, Prince George’s County 2018 Annual Report).
156
    Citizen Complaint Oversight Panel, Prince George’s County 2019 Annual Report, pp. 10-21.
157
    PGIAD0000072311 (SI2017-039).

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  v.    AHB Hearing

        79)     Under LEOBR, officers have the right to dispute the discipline recommended by
the Department for sustained findings. When disputed, the case progresses to an Administrative
Hearing Board. The AHB hearing functions like a legal proceeding—with evidence and witnesses
from both sides, presented by counsel, into an extensive record. If the AHB finds an officer guilty
of any charge, the officer has the right to a Character Hearing. The same board then requests
“like discipline” information before making its own recommendation on discipline for any
sustained/guilty charge. This process is intended to ensure consistency in disciplinary decisions.
A report summarizing the proceedings, how the board arrived at its conclusion and the discipline
recommendation is prepared and sent to the Chief of Police.

        80)    The accused officer has five working days to submit a letter to the Office of the
Chief requesting leniency. By law, the Chief or his designee can accept the proposed discipline
or change it. Only if the discipline is increased does the Chief have to have a formal and recorded
meeting with the accused officer and their legal representative to review the change in
discipline.158 Chief Stawinski had a stated policy never to deviate from the discipline
recommended by an AHB.159

        81)    Pursuant to the CBA with the FOP, the Department’s three-person AHB consists of
an appointed Major as the AHB Chair and an appointed Captain as the AHB Co-Chair, with an
officer of equal rank selected on a rotating basis.160 Based on my experience, this is a reasonable
formation of the AHB.

        82)   Many instances of discipline that Mr. Graham characterizes as retaliatory or
inadequate were reviewed and decided upon by a three-person AHB of the Department—three
officers who take a fresh look at the case to reach their own determination. The AHB
recommended termination for Plaintiff Brown and Plaintiff Oatis, for example.

        83)     To establish additional independence in the hearing board review, Prince George’s
County Police Department outsourced various AHBs, meaning that officers from other Maryland
agencies conducted the hearing, reviewed the investigation, and independently recommended
discipline. In an industry like ours, this is an act that ensures that there is no pre-conceived notion
about the case. Mr. Graham fails to mention this, insisting that the Department and IAD
retaliated even when officers from other jurisdictions reached their own conclusions. This
includes Plaintiff McClam’s discipline (where an AHB of Howard County PD officers unanimously
found him guilty on three charges and recommended 30 hours of suspension without pay,
removal from the promotional cycles for one year, letter of reprimand, and a $250 fine);161
Plaintiff Perez’s discipline (where an AHB of Baltimore County PD officers unanimously found him

158
    Mark Magaw Deposition Transcript (“Magaw Tr.”) 26-27 (August 12, 2020).
159
    See Stawinski Tr. 250 (July 31, 2020).
160
    Agreement between Prince George’s County Maryland and Fraternal Order of Police, Lodge 89, Inc, (“CBA”),
PG0000000580-581; Magaw Tr. 24-26 (August 12, 2020).
161
    PG0000982883-982898.

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guilty on three charges and recommended a reduction in rank and salary and ineligibility for
promotion for one year); and Plaintiff Crudup’s discipline (where an AHB of Baltimore County PD
officers unanimously found him guilty on 13 charges—and, for each of the 13 counts,
recommended termination).

        84)     Without acknowledging the facts or multiple levels of independent review, Mr.
Graham claims that cases like Plaintiff McClam’s, Plaintiff Perez’s and Plaintiff Crudup’s were a
product of a “culture of retaliation.” I disagree, and I have discussed the facts surrounding these
officers’ extensive misconduct below.

 vi.     Circuit Court Review

        85)      An officer has a right to appeal the decision of an AHB to the Prince George’s
County Circuit Court and, again, to the Court of Special Appeals.162 This provides yet another
level of independent oversight into the Department’s system of discipline. Once again, there are
disciplinary actions that Mr. Graham characterizes as discrimination or retaliation—like Plaintiff
Perez,         , and Beale—that were reviewed and upheld by Maryland judges.163

vii.     Diversity in the Disciplinary Process

         86)    The extent to which the Department has consistently placed Black and Hispanic
officers into pivotal positions in the disciplinary process during the period relevant to the
litigation undercuts Mr. Graham’s suggestion that disciplinary investigations are tainted by
discriminatory animus. Demographic diversity within the senior ranks of the Department is a
critically important and effective way to prevent racial discrimination in the disciplinary process
and to improve relationships with the community. The chart below identifies Officers of Color
who have held such positions in the Department’s disciplinary process at different times since
2015.

ASSISTANT CHIEFS AND DEPUTY CHIEFS
 Name                    Race                             Bureau (for Deputy Chiefs)
 Grant, Raphael          B                                Deputy Chief, Bureau of Administration and
                                                          Homeland Security (BOAHS)
 Harvin, Robert                       B                   Deputy Chief, BOAHS
 Howard, Craig                        B                   Assistant Chief
 Nader, George                        W (Lebanese)        Deputy Chief, BOAHS
 Nichols, George                      B/M                 Deputy Chief, Bureau of Forensic Science &
                                                          Intelligence
 Patel, Samir                         A (Indian)          Deputy Chief, Bureau of Investigations
 Powell, Melvin                       B                   Deputy Chief, BOAHS


162
  LEOBR, §3-109.
163
  See, e.g., Joseph Perez v. Prince George’s County Police Department, Civil Action 19-36458, (Circuit Court for Prince
George’s County, Maryland); see also Sullivan DOJ letter dated Nov. 27, 2019 (Request No. 1).

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 Reaves, Genia                B                Deputy Chief, BOAHS
 Velez, Hector                H                Deputy Chief, Bureau of Investigations (before
                                               he was Assistant Chief)
 Velez, Hector                H                Assistant Chief
 Whittington, Genovia         B                Deputy Chief, BOAHS

COMMANDER OF IA
 Name                         Race
 McCreary, James              B
 Grant, Raphael               B

COMMANDER OF AIS
 Name                         Race
 Perez, Joseph                H
 Watkins, Art’z               B
 Watson, Trevel               B

COMMANDER OF SIRT
 Name                         Race
 Sheppard, Terrance           B

AHB CHAIRPERSON
 Name                         Race
 Burks, Irene                 B
 Watkins, Art’z               B


        87)    Moreover, the demographics of the employees assigned to IAD during the period
relevant to the litigation also serve to undercut the suggestion in Mr. Graham’s Report that the
disciplinary process is implemented in a racially discriminatory manner. As the chart below
demonstrates, when reviewing the January and July rosters for each year since Chief Stawinski
assumed leadership of the Division, employees of color have consistently outnumbered White
employees in IAD. That has remained the case through Major Mills’ tenure as well.




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        88)    Building and maintaining the community’s trust is an ongoing pursuit for any
police department. It has been my experience that community members are more likely to come
forward to make complaints against the police when they have confidence that their complaints
will be handled competently. Moreover, my opinion, based on my experience, is that a victim
or complainant often feels more comfortable speaking with someone they believe will
understand their point of view. Placing minority officers in pivotal positions in the disciplinary
process is, therefore, a best practice for building the community’s trust and confidence in the
investigatory and disciplinary process, and for preventing racial discrimination in the process.

       D.    The Individual Plaintiffs Were Reasonably Disciplined

      i.    The investigations into Plaintiff Perez were not retaliatory or harassment

        89)     Contrary to Mr. Graham’s assertion that Plaintiff Perez faced retaliatory or
reciprocal charges for making complaints, it is my opinion that the Department’s treatment of
Plaintiff Perez has been thorough, careful, and fair and not retaliatory.

       90)     Mr. Graham’s Report discusses Plaintiff Perez in the context of “reciprocal
charges,” which indicates a focus on the Department’s IAD investigation into Plaintiff Perez’s
conduct at the Seat Pleasant Police Department.164 Mr. Graham’s Report also mentions Plaintiff
Perez’s transfer in 2016 from the Internal Affairs Division to the Planning and Research Division
and the Department’s failure to promote Plaintiff Perez to the rank of Major, along with other
minor acts which Mr. Graham appears to believe were retaliatory.165

        91)     The facts of the Seat Pleasant incident are as follows: Jose Perez, the son of
Plaintiff Perez, was employed by the Seat Pleasant Police Department as a Corporal.166 During
April 2017, Lieutenant Ploof of the Seat Pleasant Police Department denied Jose Perez’s request
to use leave from April 14-16, 2017.167 After his son’s leave request was denied, on April 10, 2017,


164
    Graham Report, ¶ 143(f), pp. 130-134.
165
    Id.
166
    PG0000980350-980354.
167
    Id.

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while on duty, Plaintiff Perez approached Lieutenant Ploof, identifying himself as a Captain in
Prince George’s County Police Department.168 Plaintiff Perez demanded that Lieutenant Ploof
change his mind and approve the leave that Jose Perez had requested.169 When Lieutenant Ploof
did not immediately agree, Plaintiff Perez left and said he would talk to Lieutenant Ploof’s Chief
about the leave.170 Plaintiff Perez then called Chief Devan Martin of the Seat Pleasant Police
Department and stated, “You heard about the [Department of Justice] complaint I made at the
County” and “You know, got some issues over there [in Seat Pleasant] some unfair practices and
I’d hate to have to come over and make a complaint around there.”171

        92)    A day later, Seat Pleasant Mayor E. Grant texted Chief Stawinski to inform him that
a Prince George’s County Police Department officer was threatening his police chief.172 On April
14, 2017, Seat Pleasant Police Chief Martin also sent a written complaint to Prince George’s
County Police Department.173 Prince George’s County Police Department initiated an
investigation through its Internal Affairs Division, which sustained three charges against Plaintiff
Perez: two charges of Ethics and one charge of Loyalty. Plaintiff Perez challenged the
Department’s actions three times. First, Plaintiff Perez filed a request with the Circuit Court for
Prince George’s County requesting a “Show Cause” hearing to determine whether Prince
George’s County Police Department’s actions in the investigation were retaliatory.174 The court
determined they were not.175 Next, an administrative hearing board composed of officers from
a neighboring jurisdiction was convened under the Maryland Law Enforcement Officers Bill of
Rights law. It found Plaintiff Perez guilty of all three charges.176 Finally, the Circuit Court for
Prince George’s County Maryland upheld the AHB’s findings, stating that there was “substantial
evidence to support the [Administrative Hearing] Board’s finding… and that “any reasoning mind
can find [Plaintiff Perez’s conduct] to be intimidating.”177 The court further found that Plaintiff
Perez “use[d] the prestige of [his] office to gain access and ultimately to gain personal
benefit….”178 As a result of his actions, Plaintiff Perez received a demotion from Captain to
Lieutenant, and was removed from the promotion cycle for one year.179

       93)    Mr. Graham’s Report claims that there were “significant procedural irregularities”
in the Department’s investigation. Notably, as described above, Plaintiff Perez has already
challenged these alleged irregularities before the Circuit Court for Prince George’s County,
Maryland, which specifically found that “[w]here the Department deviated from its standard

168
    Id.
169
    Id.
170
    Id.
171
    Id.
172
    PG0000980347; PG0000990252.
173
    PG0000990252.
174
    PG0000080041.
175
    PG0000161564.
176
    PG0000980342-980358.
177
    Transcript of July 31, 2020 Motions Hearing, Joseph Perez v. Prince George’s County Police Department, Civil
Action 19-36458, (Circuit Court for Prince George’s County, Maryland) (“Perez Circuit Court Hearing”) at 34-35.
178
    Perez Circuit Court Hearing at 35.
179
    PG0000980339-980341.

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operating procedures, it had believable explanations” and noted that “the Department
conducted the investigation with an abundance of caution.”180 It is my opinion that the Circuit
Court was correct, and this investigation was conducted with an abundance of caution and in a
fair and non-retaliatory manner.

         94)    The Department did not commence this investigation “well after” the time of the
initial third-party complaint. The Department received a complaint from the Mayor of Seat
Pleasant on April 11, 2017, and it assigned an investigator – Captain Art’z Watkins – on the same
day.181 There are understandable reasons why the investigation took more time than usual and
why Plaintiff Perez was not notified sooner. For example, Director of Public Safety Mark Magaw
wanted to better understand the timeline of Plaintiff Perez’s complaints to understand if an
investigation could be viewed in a problematic light; the principle witness was involved in a
motorcycle accident with life threatening injuries; and the Department of Justice made an
extensive request for documents that Captain Watkins needed to attend to.182 Further, during
the investigation, the Department of Justice informed Prince George’s County Police Department
that it would be conducting a formal investigation into Plaintiff Perez’s complaint to it, and Prince
George’s County Police Department communicated with the Department of Justice about the
pending allegations against Plaintiff Perez and its concern that a continued investigation would
be viewed as retaliation for his complaint.183 Captain Watkins took great care to make sure the
serious allegations against Plaintiff Perez were kept confidential from other employees in the
Department and were treated appropriately.184

       95)     Mr. Graham’s Report claims that the Department failed to turn over certain
materials during the investigation. Plaintiff Perez was represented by counsel during the entire
process, and never raised such an objection.185

       96)    The Department’s handling of the investigation and subsequent proceedings was
even-handed, non-retaliatory, handled in accordance with the LEOBR law and consistent with
what I would expect when a police department investigates a high-ranking officer for a serious
charge. The Department received a complaint from a third-party and was obligated to investigate
the complaint. As described above, its investigation was fair and non-retaliatory.

        97)    Next, Mr. Graham’s Report implies that Prince George’s County Police
Department retaliated against Plaintiff Perez when the Department did not investigate Deputy
Chief Murtha for filing a complaint against Plaintiff Perez. It is my opinion that Mr. Graham’s
analysis of this event is flawed, as he does not appear to have read Deputy Chief Murtha’s


180
    PG0000161564.
181
    PG0000990252; PG0000095242 (the date of the incident was April 10, 2017); PG0000095245 (first interviews
conducted on April 13, 2017).
182
     PG0000990252; PG0000095250-95251; PG0000095254-95256; PG0000095270-9525278; PG0000095299-
9525301.
183
    PG0000990252; PG0000095157-95159.
184
    PG0000095172; PG0000095198-95202.
185
    See generally PG0000095217; Perez Circuit Court Hearing.

                                                    39
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complaint.186 Mr. Graham claims that the complaint was “ostensibl[e] for reporting [Murtha’s
alleged] misconduct to the State’s Attorney’s office.”187 However, the complaint itself, as well as
Deputy Chief Murtha’s testimony, make clear that Deputy Chief Murtha was frustrated with
Plaintiff Perez for releasing information regarding his confidential investigation to other
employees in the Department and to members of the media.188 Indeed, the evidence in this case
makes clear that Plaintiff Perez was doing exactly what Deputy Chief Murtha was alleging.189 In
my experience, it is extremely inappropriate for the investigator in an internal affairs matter to
release investigative material or findings to individuals outside the Internal Affairs Division or to
members of the media. Plaintiff Perez had access to Deputy Chief Murtha’s personnel
information only as a result of his role in the investigation and his rank within the Internal Affairs
Division. In my opinion, Deputy Chief Murtha’s complaint was not retaliatory, but was based on
Plaintiff Perez’s inappropriate behavior.

       98)     Mr. Graham also notes his opinion that Major Mills and the Department were
engaging in “retaliatory efforts” against Plaintiff Perez or that they were attempting to “generate
complaints” against Plaintiff Perez. In my experience, the incidents Mr. Graham refers to are
routine matters occurring in all police departments. For example, Mr. Graham cites a dispute
between Plaintiff Perez and his subordinate regarding Plaintiff Perez’s belief that his subordinate
had committed insubordination.190 Major Mills merely mediated a dispute between employees
within her chain of command.191 Further, testimony in this case evidences that certain
complaints Mr. Graham cites had nothing to do with Plaintiff Perez.192

        99)     Similarly, the Department’s transmission of information related to Plaintiff Perez’s
son,     , to the Maryland State Police was also not retaliation. The transmission of information
related to             was done at the behest of the Seat Pleasant Police Department as a result
of an audit of their own records, and was not initiated by Prince George’s County Police
Department.193 Seat Pleasant Police Department is too small to conduct its own IAD
investigations, and it had an agreement with Prince George’s County Police Department to
conduct them instead. After Seat Pleasant sent the initial information to Prince George’s County
Police Department, it was referred to the Maryland State Police, as that is the agency that handles
the databases at issue. In my experience, Prince George’s County Police Department responded
correctly when faced with this information, as the Maryland State Police is the agency best-suited
to determine what, if any, infraction occurred with regard to its database.



186
    See PG0000971483-971484.
187
    Graham Report, ¶ 143(f), pp. 132-133.
188
    PG0000971483-971484; Christopher Murtha Deposition Transcript (“Murtha Tr.”) 61-94 (August 5, 2020).
189
    PGPD-PER-0069140.
190
    Graham Report, p. 131, note 426, citing PG0000785918-785919.
191
    PGPD-PER-0067452; PGPD-PER-0098783.
192
    Compare Graham Report, p. 132, note 432 (citing PG0000169211-169213) with Michael Smith Deposition
Transcript (“M. Smith Tr.”) 155-156 (July 22, 2020) and Joseph Ghattas Deposition Transcript (“Ghattas Tr.”) 221-229
(July 8, 2020).
193
    PG0000155728; Stawinski Tr. 343-349 (July 31, 2020).

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        100) Mr. Graham’s analysis of Plaintiff Perez’s claims also contains numerous
inaccuracies and frequently cites to allegations without supporting evidence. For example, Mr.
Graham claims that Plaintiff Perez witnessed Defendant Mills making discriminatory comments
in 2016. The document Mr. Graham cites for that assertion is a draft of Plaintiff Perez’s EEOC
charge that he was exchanging with his wife for comments.194 Even in this document, it is clear
that Plaintiff Perez was referencing comments made in 2014, not 2016.195 Further, Mr. Graham
frequently cites the Plaintiffs’ Complaint, but apparently did not consider the Defendants’
Answer, which denies those same paragraphs. Next, Mr. Graham’s Report contends that two of
Plaintiff Perez’s complaints of “harassment” were never investigated. This is plainly inaccurate,
as investigative reports were produced for both complaints Mr. Graham highlighted.196 Finally,
Mr. Graham appears to place great stock in the EEOC’s “reasonable cause” determination. It
must be, however, that such determinations are not proof that discrimination occurred and can
vary greatly in quality.

  ii.    Plaintiff Oatis was disciplined fairly

        101) Mr. Graham outlines the investigations into the conduct of Plaintiff Tasha Oatis
(case number IA2014-130), Sergeant Lisa Garland (case number SI2017-0010, and Lieutenant
             (SIQ2017-006) as indicative of a lack of fairness in discipline by the Prince George’s
County Police Department and contends that minority officers have received harsher discipline
than white officers for similar violations.197 I disagree with Mr. Graham’s assessment because his
discussion of the two cases that he points to as comparable to Plaintiff Oatis’s contain certain
misstatements and omit facts.

        102) Plaintiff Oatis was not just accused, but in fact, was found guilty by an
Administrative Hearing Board, of violations of the Department’s prohibition on Extra-Duty
Restrictions (“double-dipping”) and Dedication to Duty violations. On December 16, 2014, Acting
Lieutenant M. Snyder sent a memorandum to his District II Commander, Major Irene Burks,
requesting an investigation into whether Plaintiff Oatis was leaving her patrol area without
permission and receiving compensation for secondary employment for time when she was also
receiving compensation from the County for her regular patrol shift.198 IAD initiated an
investigation under case number IA2014-130. The investigation was led by Detective Brett
Shapiro, who issued a Report of Investigation on February 4, 2015, in which he concluded that
Plaintiff Oatis had on numerous occasions left her patrol area without permission and “double-
dipped,” that is received compensation from two employers for the same time periods.199
(PG0000013443).




194
    See PGPD-PER-0069986.
195
    PGPD-PER-0069987; see also Joseph Perez Deposition Transcript (“Perez Tr.”) 104-106 (July 30, 2020).
196
    See PG0000971542; PGIAD000002956.
197
    Graham Report, ¶ 134(c), pp. 118-119.
198
    PG0000013433-13434.
199
    PG0000013436-13443.

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        103) The GOM expressly prohibits officers from engaging in “double dipping.” Vol. I,
Ch. 18, Section V, sub-section 3 of the General Order Manual states: “[N]o employee shall work
any Non-Departmental Secondary Employment or Secondary Law Enforcement Employment . . .
[r]eceiving payment from two or more employers simultaneously without written permission of
the multiple employers.”200 The GOM also states that “[e]mployees shall not, without
authorization, leave an assigned workplace during the tour of duty.”201

        104) On August 18, 2015, IAD issued a DAR for these violations, charging Plaintiff Oatis
with eight violations of the prohibition on Extra-Duty Restrictions and six violations of the
Dedication to Duty requirements.202 The recommended disciplinary action for the Extra-Duty
Restriction charges was termination.203 The recommended disciplinary action range in the GOM
for violations of the extra-duty restrictions on double-dipping (a Category IV offense) includes
termination from the Department.204 Plaintiff Oatis did not accept the DAR, and on August 26,
2015, she chose to exercise her right under LEOBR to request an AHB.205 She was suspended from
the Department on September 25, 2015, just over one month after the issuance of the DAR
recommending her termination.206 After an evidentiary hearing, the AHB found Plaintiff Oatis
guilty of the eight charges of Extra-Duty Restrictions violations (“double-dipping”) and the six
charges of Dedication to Duty (leaving her patrol area without permission). 207 The AHB
recommended termination for each of the double-dipping charges and removal from the
promotional cycle for one year, plus a one- to three-day suspension for the dedication to duty
charges.208 Chief Stawinski issued a Final Disciplinary Action on February 5, 2016 in which he
approved the findings and recommendations of the AHB.209 Plaintiff Oatis’s separation from the
Department – Termination for Misconduct – was effective February 6, 2016.210

       105) In my opinion, Plaintiff Oatis’s actions could be considered theft under Maryland’s
criminal code. Therefore, termination was a reasonable punishment for the conduct she
admitted to having engaged in.

        106) Like Plaintiff Oatis, Sergeant Garland was found to have engaged in violations of
the Extra-Duty Restrictions, among other charges. In late 2016, allegations were made that since
January 2016, Sergeant Garland had inflated her time sheets for a part-time position with the
Revenue Authority, worked for multiple employers at the same time without written permission
(i.e., double-dipped), and put her supervisor’s signature on payroll forms without his


200
    PG0000958909-958910.
201
    PG0000959013
202
    PGPD-OAT-0000021- PGPD-OAT-0000027.
203
    PGPD-OAT-0000025.
204
    PG0000958841.
205
    PGPD-OAT-0000027.
206
    PG0000006277.
207
    PG0000013412-13423.
208
    PG0000013422-13423.
209
    PG0000013427-13432.
210
    PG0000988686.

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permission.211 The case was initially assigned as an inquiry investigation under case number
SIQ2016-012, but on January 4, 2017, IAD initiated an investigation under case number SI2017-
001.212

        107) After completing an initial investigation, the Department screened Sergeant
Garland’s case with the Office of the State’s Attorney for Prince George’s County in September
2017. In March, 2018, the Assistant State’s Attorney issued a decline to prosecute letter
indicating that the Office of the State’s Attorney would not prosecute the matter in criminal
court.213 IAD identified and investigated 71 allegations against Sergeant Garland and sustained
61 of them.214 On March 22, 2019, IAD issued a DAR charging Sergeant Garland with 61 violations
of the GOM – 20 counts of Extra-Duty Restrictions, 30 counts of Unbecoming Conduct-Theft, and
11 counts of Unbecoming Conduct-Forgery. The recommended disciplinary action for each and
every one of the charges was termination from the Department. 215 Sergeant Garland did not
accept the DAR and requested an AHB.216 However, Sergeant Garland retired from the
Department prior to the AHB proceeding, “with prejudice.”217

        108) Under the Collective Bargaining Agreement (“CBA”) between the Department and
the Fraternal Order of Police, the Department cannot interfere with an officer’s choice to exercise
his or her right to retire, if that officer has met the in-service time for eligibility for retirement.218
Sergeant Garland exercised her right under the CBA to retire, as she had already put in her twenty
(20) years of service to the Department.219 Sergeant Garland retired from the Department
effective June 1, 2019.220 Unlike Sergeant Garland, however, Plaintiff Oatis was unable to exercise
such a right to retirement because she had not met the minimum threshold for service under the
CBA, as she was originally hired by the Department on October 24, 2011.221

      109) In November 2017, the Department received a complaint that Lieutenant
      was working two law enforcement jobs, an extra-duty restrictions violation. Lieutenant
Hugh Darden of the SIRT Division of IAD conducted an inquiry into the allegations under case
number SIQ2017-006.222

       110) The GOM prohibits officers from engaging in secondary employment “[a]s a
commissioned police officer for any other county, municipality, or political subdivision.”223
Lieutenant Darden concluded that Lieutenant       had not engaged in any violations of the

211
    PG0000972018; PG0000980259.
212
    PG0000980240; PG0000980271.
213
    PG0000978816; PG0000971924.
214
    PG0000975424-975466.
215
    PG0000971926-971948.
216
    PG0000971948.
217
    PG0000939411-93413
218
    PG0000000531.
219
    PG0000000531; PG0000988686.
220
    PG0000971992; PG0000988686.
221
    PG0000988686.
222
    PG0000159211.
223
    PG0000960608.

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extra-duty restriction on secondary employment with another law enforcement agency. He
concluded that Lieutenant           secondary employment was with                  , a private non-
law enforcement entity, and that Lieutenant          was hired by the Federal Bureau of Alcohol,
Tobacco, Firearms and Explosives (the “ATF”) through                 as a private contractor.224 A
Group Supervisor with the ATF for the Washington/Baltimore region informed Lieutenant
Darden that Lieutenant          “[a]s a civilian contractor . . . does not have law enforcement
authority” and pointed to the statement of work requirements for contractors, which prohibited
Lieutenant         from carrying a firearm while performing his secondary employment duties
with the ATF.225  Lieutenant Darden correctly concluded that there was no foundation for the
anonymous allegations against Lieutenant          .

        111) The investigation into the anonymous complaint against Lieutenant                is not
comparable to Plaintiff Oatis’s case. First, and unlike in Plaintiff Oatis’s case, there was no
allegation that Lieutenant           was engaged in double-dipping. Second, the recommended
disciplinary action range in the GOM for the conduct in which Lieutenant             was alleged to
have engaged – working secondary employment as a commissioned police officer for another
political subdivision (a Category III offense) – does not include termination from the Department
as a possible form of punishment.226 Third, and most importantly, Lieutenant            was found
not to have committed any violations, unlike Plaintiff Oatis.

       112) In my opinion, the Department conducted investigations into these complaints in
a complete, fair, and impartial manner and imposed disciplinary action in an appropriate,
uniform, and timely fashion.

 iii.    Michael Brown was Fairly Disciplined

        113) Mr. Graham’s Report presents comparative discussions into the conduct of
Plaintiff Michael Brown, Corporal                            , Corporal                      , and
Corpoal Robert Heaney in connection with different, unrelated incidents as reflective of a pattern
in the Department “where minority officers have received harsher discipline than white officers
for similar violations.”227 I disagree with Mr. Graham’s allegation that these four cases are
examples of unfair or disparate discipline because the conduct of Plaintiff Brown and
circumstances surrounding the incident that led an AHB to recommend his termination were far
more serious than any of the actions and incidents alleged to be connected to the other
individuals identified as possible comparators.

             a. Plaintiff Michael Brown Resigned from the Department After Being Found Guilty
                by an Administrative Hearing Board of Three Charges (Unbecoming Conduct,
                Misrepresentation of Facts, and Display of Firearm Prohibited) and Being Faced
                With Termination.

224
    PG0000159211.
225
    PG0000159212; PG0000159224.
226
    PG0000960546.
227
    Graham Report, ¶ 134(e), pp. 119-120.

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        114) Plaintiff Brown was not just investigated for, but in fact, was found guilty by an
AHB, of violations of the Department’s prohibitions on Unbecoming Conduct, Misrepresentation
of Facts, Use of Language, and Display of Firearm Prohibited. A Metropolitan Police Department
(Washington, DC) Arrest/Prosecution Report indicates that on July 10, 2014, Plaintiff Brown was
arrested and charged with assault as a result of a private altercation in which he engaged outside
of the Howard Theatre in Washington, DC while armed with his firearm.228 According to the
report, Sameal Molla, a parking valet at the Howard Theatre, stated that he was trying to help
Mark McCutcheon, a close friend of Plaintiff Brown’s, with an issue regarding McCutcheon’s car
headlights, which had been left running, when McCutcheon struck him in the stomach and the
face, knocking him to the ground.229 Witnesses then observed Plaintiff Brown run across the
street toward the fight and punch Molla in the back of the head.230 A fight ensued between
Plaintiff Brown and McCutcheon and a number of the parking valets. Witnesses stated that
Plaintiff Brown and McCutcheon retreated to their vehicles, at which point McCutcheon retrieved
a tire iron and Plaintiff Brown retrieved his firearm, and then began to reengage with the
group.231 Plaintiff Brown pointed his firearm at the parking valets, including Molla.232 Video
footage of the incident shows that Molla begged someone to call 911 as Plaintiff Brown
continued to confront him.233 The Metropolitan Police filed charges against Plaintiff Brown and
he was indicted for, among other things, assault. Ultimately, the U.S. Attorney’s Office for the
District of Columbia dismissed the charges without prejudice.234

       115) The IAD conducted an investigation of the incident under case number SI2014-03
9. On March 24, 2016, Major Raphael Grant (the Commander of IAD) approved the completion
of the internal investigation, which sustained seven charges against Plaintiff Brown and non-
sustained two charges.235 Plaintiff Brown disagreed with the findings and recommendations of
the Disciplinary Action Recommendation, which recommended termination from the
Department, and requested that his case be heard by the AHB.236

      116) The AHB convened a hearing, and on August 1, 2016, the AHB issued its report, in
which it found Plaintiff Brown guilty of Unbecoming Conduct, Violation of Laws –
Misrepresentation of Fact, Use of Language, and Display of Firearm Prohibited.237 The AHB found,
among other things, that Plaintiff Brown “reacted unreasonably” to the altercation that
McCutcheon engaged in “by running across the street and striking Mr. Molla with an
unwarranted strike from behind on the side of his head, causing him to fall to his knees.”238 The

228
    PG0000012402-12404.
229
    PG0000012404.
230
    Id.
231
    Id.
232
    Id.
233
    PG0000963932.
234
    PG0000012429.
235
    PG0000012157-12163.
236
    PG0000070346-70350.
237
    PG0000012147-12158.
238
    PG0000012153.

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AHB further found that, once Plaintiff Brown had disengaged and crossed the street, he had “an
opportunity to use cover behind his vehicle . . . and summon[] local law enforcement, as
necessary.”239 In addition, the AHB concluded that Plaintiff Brown “intentionally misrepresented
how he struck Molla in an effort to avoid being held administratively responsible for employing
an ear clap, an unauthorized use of force.”240 The AHB recommended termination of Plaintiff
Brown’s employment with the Department for each of the violations of Unbecoming Conduct,
Misrepresentation of Fact, and Display of Firearm Prohibited.241

        117) Plaintiff Brown resigned from the Department effective September 6, 2016, the
day before his termination was to take effect.242 He was ineligible for retirement under the
Collective Bargaining Agreement between the Department and the Fraternal Order of Police
because he did not have 20 years of service to the Department (having been hired in September,
2001).243

           b. Plaintiff       Had a History of Sustained Misconduct Charges Involving Display
              of His Firearm and Unbecoming Conduct

         118) The Howard Theatre incident was not the first time that Plaintiff           had drawn
his firearm for the purpose of resolving an off-duty, private dispute. A Charles County, Maryland
Sheriff’s Office Offense/Incident Report indicates that on March 14, 2010 Plaintiff              was
involved in an altercation outside of the Getaway Lounge in Charles County in which he drew his
firearm to settle a dispute after having consumed a few alcoholic beverages and getting into a
fight with three members of the public.244                        , one of the men involved in the
altercation, informed the responding deputies that                      was in the parking lot of the
bar with an alcoholic drink in his hand and that he (            ) asked           to go back inside
because the bartender (his girlfriend) could be fined. Plaintiff        then intervened, starting an
argument with             and throwing punches.               identified Plaintiff         as having
              245
drawn a gun. Plaintiff           informed the sheriff’s deputies that he drew his weapon because
he believed that one of the three men was attempting to retrieve a weapon.246

        119) As a result of the incident, Plaintiff       was charged with six counts of assault,
handgun on person, use of a handgun in the commission of a felony, disorderly conduct, and
affray.247 A judge of the District Court of Maryland for Charles County found Plaintiff
guilty of three counts of second degree assault and one count of affray.248 Plaintiff
appealed his conviction to the Circuit Court and entered into a plea agreement in which his case

239
    PG0000012153.
240
    PG0000012154.
241
    PG0000012155.
242
    PG0000012123; PG0000012134.
243
    PG0000012123.
244
    PG0000114435-11448.
245
    PG0000114446.
246
    PG0000114440.
247
    PG0000114450-14451.
248
    PG0000114464.

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was placed on the stet docket in exchange for Plaintiff          agreement to perform community
service.249

        120) Following the disposition of the criminal case, the IAD conducted an investigation
under case number SI2010-027 Plaintiff           accepted discipline for one charge of Firearms &
Intoxicants (being armed with a firearm while under the influence of alcohol) and one charge of
Attention to Duty (involving himself in a dispute with patrons of a bar while off-duty and in plain
clothes when he should have contacted local authorities).250

        121) Plaintiff           was found to have engaged in additional misconduct while with
the Prince George’s County Police Department. On May 21, 2014,                           , an official
with the                      Church in Clinton, MD filed a complaint against Plaintiff         . Mr.
          complained that during a telephone conversation with Plaintiff Brown regarding Plaintiff
          position as the lead officer of the church’s secondary employment team, he informed
Plaintiff        that the church was going to relieve him of his duties on the church’s secondary
employment team.251 According to                , Plaintiff         responded with profanity and
threatened that, if the church relieved him of his duties, no police would provide security services
in the future.252 The church had decided to relieve Plaintiff          of his duties as a result of a
confrontation Plaintiff         had a couple of weeks earlier with a visitor to the church in which
Plaintiff        allegedly acted aggressively and prohibited the visitor from attending church. 253

         122) The matter was investigated under case number IA2014-051. IAD did not sustain
a charge against Plaintiff        as a result of his conduct in connection with the earlier incident
involving the visitor to the church. On March 10, 2015, Cpt. William Alexander, then-Commander
of AIS, issued a DAR sustaining six charges against Plaintiff              in connection with the
telephone conversation and other interactions with the church officials, including use of abusive
and inappropriate language (three charges), unbecoming conduct (one charge), and unbecoming
conduct – harassment (two charges).254 The CCOP, however, disagreed with Cpt. Alexander,
finding that a charge against Plaintiff          for unbecoming conduct for his treatment of the
visitor to the church should have been sustained.255 Plaintiff         did not accept the discipline
imposed by the DAR – written reprimand, $400 in fines, and 20 hours of suspension without pay
– and elected a hearing before the AHB.256

       123) The AHB convened a hearing on January 17, 2016, and in a decision dated January
22, 2016, found Plaintiff    guilty of two charges of use of inappropriate language and one
charge of unbecoming conduct, all stemming from the telephone conversation Plaintiff


249
    PG0000114469-114473.
250
    PG0000113952-113955.
251
    PG0000070049-70050.
252
    PG0000070050.
253
    PG0000070039.
254
    PG0000070029-70033.
255
    PG0000070008-70009.
256
    PG0000070031; PG0000070029.

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had with Mr.          .257 The discipline imposed by the AHB was 30 hours of suspension without
pay and removal from the 2016 promotional cycle.258 The case closure memo was approved by
Plaintiff Joseph Perez on April 19, 2016.259


        124) Progressive discipline is an industry standard when making decisions on the level
of discipline in a particular case. Simply put, if an officer is late for roll call on one occasion, they
may likely receive a low level of discipline. If that same officer is late to roll call for a third or
fourth time, however, the discipline will be more severe with each violation. With Plaintiff
Brown’s disciplinary history and the severity of the Howard Theatre case, a recommendation of
dismissal is fair and appropriate.

             c. Corporal                          Is Not an Appropriate Comparison for Plaintiff
                Brown Because                  Did Not Draw His Gun on Members of the Public,
                and IAD Concluded that the Allegation Against Him Was Unfounded.

        125) Mr. Graham’s Report uses a case involving Corporal                            as a
comparator to the Howard Theatre case involving Plaintiff Brown, as discussed above.260 Contrary
to Mr. Graham’s assertions in paragraphs 84(f) and 134(e), IAD did open an investigation into
allegations involving an altercation that                had outside of a bar in Annapolis. The
investigation was assigned case number SI2018-076.261 The unbecoming conduct charge against
                 was determined to be unfounded.262 Corporal                       and Corporal
            were exonerated of the unbecoming conduct charges alleged against them, as well.263
The Annapolis City Police Department informed Major Christian Price, then the Commander of
the Department’s Special Operations Division, that it appeared there was no wrongdoing on the
part of                 ,        , or      , and that                was not armed during the
incident.264 The State’s Attorney for Anne Arundel County screened the case, including watching
surveillance footage, and concluded “that there is no evidence to support any criminal charges
against” the officers.265 There would be no justification for imposing discipline on Corporal
                when the administrative charge against him was determined to be unfounded.
Similarly, there would be no basis for disciplining Corporals          or      when they were
exonerated of the charges against them. This case was appropriately investigated and resolved.




257
    PG0000070021-70033.
258
    PG0000070028.
259
    PG0000070001.
260
    Graham Report, ¶ 84(f), p. 84, ¶ 134(e), pp. 119-120.
261
    PG0000986195.
262
    PG0000986196.
263
    PG0000986195-986196.
264
    PG0000990987.
265
    PG0000991930.

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             d. Corporal Robert Heaney Is Not an Appropriate Comparator for Corporal Brown,
                Because Heaney Did Not Draw His Gun on Members of the Community, and No
                Criminal Charges Were Filed

        126) Mr. Graham’s Report uses a case involving Corporal Heaney as another
comparator to the Howard Theatre case for which the AHB recommended Plaintiff Brown’s
termination from the Department.266 According to reports, Corporal Heaney got into a fight with
his best friend outside of a bar in Bethesda, Maryland on September 11, 2016.267 Heaney’s
former girlfriend (his best friend’s fiancé) was also present.268 It does not appear that any other
individuals were involved. Lieutenant Hugh Darden of IAD’s SIRT division spoke with Heaney’s
best friend and former girlfriend, both of whom indicated that they would not be pursuing
criminal charges or an administrative complaint, and they would not provide any statements.269
No case file was opened involving Heaney on this matter because none of the witnesses involved
were willing to cooperate with an investigation or otherwise provide a statement.270

        127) The incident involving Heaney is not comparable to Plaintiff Brown’s incident at
the Howard Theatre for several reasons. First, there was no criminal investigation or prosecution
into Heaney’s actions. A current search of publicly-available records on Maryland Judiciary Case
Search does not reflect any records of a criminal case opened against Heaney in the State of
Maryland in or around September 2016, while Plaintiff Brown was charged with a felony in the
Superior Court of the District of Columbia. Second, there is no suggestion that Heaney drew his
weapon during the altercation, or that he was even armed. In my experience, it is entirely
reasonable for an internal affairs division to not open a formal investigation into an off-duty
altercation between friends where there is no complaining witness or other suggestion of
misconduct.

             e. Corporal                   Is Not an Appropriate Comparator for Plaintiff Brown
                Because I         Did Not Draw His Gun on a Member of the Public, There Was No
                Physical Altercation, and No Criminal Charges Were Filed

        128) Finally, Mr. Graham’s Report uses a case involving Corporal             as yet another
                                                                      271
comparator to the Howard Theatre case involving Plaintiff Brown. On January 26, 2015, the
AIS division of IAD received a complaint alleging that Corporal            , while driving a private
vehicle, had cut off Complainant                  three times and displayed his gun and badge
during a brief verbal exchange while stopped at a traffic light.272 The investigation was assigned
to Sergeant Carlton Jones. Jones interviewed          , who explained that Complainant
appeared to be driving at an extremely high speed, creating a possible public safety concern.

266
    Graham Report, ¶ 84(g), pp. 84-85, ¶ 134(e), pp. 119-120.
267
    PG000104622-104623.
268
    Id.
269
    PG0000974179.
270
    PG0000104622.
271
     Graham Report, ¶ 134(e), pp. 119-120.
272
    Internal Affairs Case File, IA2015-006 (hereinafter “IA2015-06”), pp. 24-25.

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         reported that he tried to get in front of Complainant                vehicle to slow him
down.273  Although Complainant             testified that         pointed the weapon directly at
him,         testified that he unholstered his weapon with his left hand, transferred it to his right
hand, and kept his hand resting on the shifter/console, with the weapon pointed straight forward
at the dashboard.274

         129) Jones prepared a Report of Investigation, dated February 23, 2015, in which he
concluded that there was enough evidence to prove that             cut Complainant        off in
traffic three times and that he had his service weapon drawn from its holster during the verbal
exchange.275 However, Jones also concluded that there was not enough evidence to prove that
when             displayed his weapon, he pointed it at or directed it toward Complainant
         .276 There were no other witnesses to the interaction.277        was charged with one
count of Unbecoming Conduct for attempting to enforce Maryland vehicle law while in a personal
vehicle and one count of Procedure Violation (Firearm) for drawing and displaying his weapon
during the verbal exchange with Complainant              .278 Both charges were sustained, and
          accepted the imposed discipline of two $250 fines.279

        130) The incident involving                is not an appropriate comparator for Plaintiff
Brown’s incident at the Howard Theatre for several reasons. First, there was no evidence (or
allegation) that          left his vehicle at any point during the exchange. Second, there was no
evidence (or allegation) that            put his hands on Complainant            . Third, there were
no witnesses (or video footage) to confirm the complainant’s account of the incident. In this
instance, the investigator was not able to confirm exactly how            displayed his weapon, as
the only accounts available were               and Complainant           . It is my opinion that the
investigator took the most reasonable course of action, which was to focus on presenting charges
that could be sustained based on the available and incontrovertible evidence, which in this case
was that          did attempt to enforce traffic laws while in a private vehicle and did display his
service weapon while doing so. In my opinion, the Department handled this case appropriately,
including the discipline issued to Corporal           .

 iv.    McClam Was Not Retaliated Against During Internal Investigations

        131) Mr. Graham asserts that “the Department has pursued four meritless
investigations into Plaintiff McClam,” citing IAD case numbers FCIQ2017-067, FCIQ2018-105,
IA2016-038, and IAQ2018-104.280 The Internal Affairs Division has a responsibility to investigate
complaints that come to their attention. One case that Mr.Graham labels “meritless,” (case
number FCIQ2017-067, which became case number PS2017-165) was heard by an Administrative

273
    IA2015-06, p. 56.
274
    IA2015-06, pp. 40-42, 56-57.
275
    IA2015-06, pp. 21-22.
276
    IA2015-06, p. 22.
277
    IA2015-06, pp. 20-21.
278
    IA2015-06, pp. 14-15.
279
    IA2015-06, p. 8.
280
    Graham Report, ¶ 143(d), p. 129.

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Hearing Board (“AHB”), made up of members from the Howard County Police Department. The
AHB found Plaintiff McClam guilty of multiple charges, including insubordination.281 Using
individuals on a hearing board that come from outside the Department is a best practice to
ensure impartiality in this circumstance.

        132) The remaining three cases also involved complaints with potentially serious
allegations that again, could not be ignored.

       •       For instance, Case No. FCIQ2018-105 noted above resulted in a conclusion by
Captain Mrotek (H) that Plaintiff McClam had “indicated a repeat pattern of not working well
with others, taking things personal and responding in an unprofessional manner.”

        •      Moreover, Case No. IA2016-038, involved a complaint against Plaintiff McClam
and another officer regarding an incident that occurred during an In-Service training on May 10,
2016.282 The investigation was completed by July 2017 when the supplemental Report of
Investigation was submitted.283 The case was closed as of November 13, 2017 with a finding of
unfounded for one charge and non-sustained for the other charge against Plaintiff McClam.284

        •       Case No. IAQ2018-014 was an inquiry investigation conducted by Sergeant Adrian
Blount involving Facebook posts made by Plaintiff McClam under a pseudonym.285 The complaint
was received November 9, 2018, and the inquiry was completed by December 20, 2018 with a
determination that there was no evidence to suggest any violation of the Department’s social
media policy by Plaintiff McClam.286 As a result, Plaintiff McClam was not disciplined in any way
relating to this incident.

      133) It is my opinion that the Department acted properly by investigating the
complaints that were brought to IAD’s attention. These allegations were serious and there were
many potential witnesses in these events. Plaintiff McClam has been promoted twice since the
time when Mr. Graham claims he was harmed as a result of these investigations (to Sergeant in
September of 2017 and to Lieutenant in November of 2018).

  v.    The investigation into Plaintiff Crudup was not retaliatory.

        134) Mr. Graham’s Report appears to claim that Plaintiff Crudup was subjected to a
retaliatory investigation because he made a complaint accusing his supervisor, Lieutenant




281
    PG0000982883-982898.
282
    PG0000023867.
283
    PG0000023869-23879.
284
    PG0000023828.
285
    PG0000027647.
286
    PG0000027646-27647.

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Hampson, of making racist comments.287 In my opinion, as described below, the investigation
into Plaintiff Crudup was both appropriate and necessary, and was not based on retaliation.

        135) Around 2015 or 2016, Plaintiff Crudup was assigned to the Gang Unit in the Special
Investigations Division. While serving in the Gang Unit, ATF Agent Noah Slackman notified the
Department that he suspected Plaintiff Crudup of passing confidential information to gang
members.288 Specifically, Plaintiff Crudup was accused of communicating with known gang
member Bryan Tiggle when Tiggle was under investigation by the FBI.289 When Plaintiff Crudup
was confronted with this allegation by his supervisor, he lied and claimed he did not even have
Tiggle’s phone number and had last spoken to him about a year ago.290

       136) In May 2017, Plaintiff Crudup was criminally indicted regarding the incident
described above.291 He was tried before a jury on 11 counts, including witness intimidation,
accessory after the fact, and misconduct in office. The jury found him guilty on one count:
misconduct in office. This finding was later dismissed on appeal.292

        137) After the conclusion of his criminal trial, the Department conducted its own
investigation into Plaintiff Crudup’s role and communications with gang member Tiggle.293 The
Department found Crudup guilty of 15 Counts of Misconduct, Including Unbecoming Conduct,
Violation of the Laws (False Statement), Ethics, and Loyalty. Plaintiff Crudup requested an AHB
review, and an independent Hearing Board (three members from Baltimore County Police
Department) found Plaintiff Crudup guilty of 13 out of 15 administrative charges.294 The AHB
recommended termination as the discipline for each of these 13 charges.295

        138) During the Hearing Board, the Department introduced twenty-seven exhibits into
evidence and called nine witnesses to testify, which revealed numerous false statements that
Plaintiff Crudup made to impede the investigation conducted by Agent Slackman into Tiggle.296
The AHB relied on sworn testimony by Agent Slackman during Plaintiff Crudup’s criminal trial that
Plaintiff Crudup telephoned him and inquired about Tiggle’s arrest and the identity of the
Confidential Informant that assisted Agent Slackman in the investigation.297

        139) The Hearing Board found that Plaintiff Crudup concealed the extent of his
relationship with Tiggle.298 After reviewing the evidence and hearing the testimony of the
Department’s nine witnesses, the Hearing Board determined Plaintiff Crudup intentionally

287
    Graham Report, ¶ 143(g), pp. 134-135.
288
    PG0000984909.
289
    See PG0000978140.
290
    Id.
291
    PG0000984910.
292
    Id.
293
    See generally PG0000984414-0984956.
294
    PG0000978140.
295
    Id.
296
    Id.
297
    Id.
298
    Id.

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provided the incorrect phone number for Tiggle, had approximately 84 contacts with him less
than three months before his arrest, was aware of his criminal past, and performed unauthorized
LINX searches for Tiggle.299

        140) Crudup’s complaints against Lieutenant Hampson were completely irrelevant to
this IAD investigation. Notably, ATF Agent Noah Slackman initiated the investigation by reporting
his concerns about Plaintiff Crudup to the Department, thus dispelling any allegations of
retaliation.300

        141) Furthermore, Plaintiff Crudup’s allegations that he made a complaint were never
documented and only surfaced once he faced criminal and administrative charges. Indeed,
Plaintiff Crudup testified at his criminal trial that he had never reported Lieutenant Hampson’s
alleged comment to anyone in the Department except to talk to Lieutenant Hampson himself.301
As the Department had no knowledge of the alleged complaint, its investigation regarding
Plaintiff Crudup’s contacts with gang members could not be based on the complaint about
Lieutenant Hampson.

        142) Moreover, Mr. Graham’s analysis misstates key facts. He states that the Crudup
investigation was in retaliation for complaints against Lieutenant Hampson by Plaintiff Crudup
made in 2015, but Plaintiff Crudup himself testified the alleged incident happened in 2014.302
This testimony directly contradicts Plaintiff Crudup’s statements in the Amended Complaint, on
which Mr. Graham relies. Plaintiff Crudup also only alleges that he complained about a single
incident with Lieutenant Hampson instead of the “several complaints” Mr. Graham alleges.303
Plaintiff Crudup testified following the incident in 2014 that, “he removed [himself] from
[Lieutenant Hampson]” and refused to work with him.304 Plaintiff Crudup never testified about
any additional complaints.

        143) In my opinion, the Department acted appropriately in investigating and
disciplining Plaintiff Crudup, and the Department did not retaliate against him for any complaint.
In my experience, a police department must take very seriously any allegation that an officer is
using confidential police information to impede law enforcement activity. Further, my opinion
that this investigation was not retaliatory is strengthened by the fact that it was initiated by an
officer from a different agency, and that the Department did not know about Plaintiff Crudup’s
complaint. Moreover, the factual basis for the investigation was upheld by an independent
Administrative Hearing Board.




299
    Id.
300
    PG0000984909.
301
    PG0000984668-984669.
302
    Adrian Crudup Deposition Transcript (“Crudup Tr.”) 65-66 (July 27, 2020).
303
    Graham Report, ¶ 143(g), pp. 134-135.
304
    Crudup Tr. 68 (July 27, 2020).

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       E.     Prince George’s County Police Department Acted Reasonably with Regard to Other
              Investigations If and When Complaints Were Made

        144) Mr. Graham’s Report cites a number of incidents in which he claims: (1) no
investigation occurred (thereby incorrectly assuming that a complaint was made); (2) the
investigation was deficient for a variety of reasons; (3) the investigation yielded sustained charges
regarding racism but inadequate discipline; or (4) IAD improperly referred the complaint back to
the field. While many of Mr. Graham’s assertions seem disturbing and very serious on their face,
an assessment of the facts actually underlying these incidents further demonstrates a consistent
pattern in the Report: Mr. Graham’s claims are groundless, inaccurate, and fail to acknowledge
the record evidence.

       F.     The Department Responded Appropriately to Facts and Circumstances, Even If No
              Complaint Was Filed

      i.     “GFYOBMA” License Plate

        145) Mr. Graham’s Report identifies the Department’s alleged failure to investigate a
case involving a so-called complaint from April 2016 regarding a personalized license plate owned
by Brian Selway, a then-sergeant who was assigned to IAD at the time. Mr. Graham claims that
the complaint alleged the license plate stood for the acronym “Go F*** Yourself Obama.”305

        146) Mr. Graham misses the mark and his conclusion disregards the established facts.
In fact, the Department did screen this matter and it is my belief that the license plate—
regardless of what the officer intended it to stand for—could be considered protected speech
under the First Amendment of the U.S. Constitution. Further, it was displayed on an officer’s
personal vehicle.

        147) During a February 2017 press conference, Chief Stawinski stated that the license
plate came to his attention in April 2016.306 He explained that he rejected Lieutenant Selway’s
explanation that GFYOBMA meant “Good for you Obama” and “immediately” consulted with his
legal advisors, who informed him that a Maryland license plate had been issued and that people
had a First Amendment right to express their opinions.307

      148) Mr. Graham’s Report fails to address the fact that license plates issued by the
Maryland Motor Vehicle Administration (“MVA”) are not the personal property of the registered
owner but are the property of the MVA and are regulated by that agency. When the MVA




305
    Graham Report, ¶ 66(b), pp. 47-48.
306
     Prince George’s County Police Department, “Chief Stawinski Discusses DOJ Complaint” (February 9, 2017),
available at https://www.youtube.com/watch?v=TNGQ05KJDgw.
307
    Id.

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received a complaint regarding Selway’s plates, it exercised its control over its property and
directed him to remove the license plate.308 This action was outside of the Department’s control.

        149) Chief Stawinski took the step that he believed he had the legal ability to do and
told Selway that he could not park the vehicle with that license plate on Prince George’s County
property.309 Following that notification, Selway did not park any vehicle on County property with
that license plate; both Plaintiffs and Mr. Graham fail to identify any evidence to the contrary.310
In a February 2017 inquiry to the MVA about the license plate, the individual inquiring did not
claim, or even suggest, that Selway was still using it.311 Instead, the inquiry stated: “Was the
license plate shown below revoked by the MVA in April 2016? Maryland – GFYOBMA . . . If yes,
can you tell me who asked for the plate to be revoked? Why did they want the plate to be
revoked?”312

        150) Given the First Amendment concerns, the fact that the MVA owned the license
plate, and the fact that the vehicle was the personal property of the officer, the Department took
the appropriate action it deemed available, which I consider reasonable under the circumstances.

  ii.    Lieutenant Edward Scott Finn’s Comment Published in a New York Times Article

        151) Mr. Graham also cites to comments published in the media in 2016 to purportedly
demonstrate the Department’s unwarranted decision not to pursue an investigation. Mr.
Graham claims that Lieutenant Scott Finn made a derisive comment about “Black Lives Matter”
activists, and was quoted in articles published by the Washington Post and New York Times. He
further claims that, although this statement was the subject of a complaint and Lieutenant Finn
was the subject of other complaints for Use of Language, there is no indication in the IAPro data
produced or Defendants’ discovery responses that this matter was investigated or Lieutenant
Finn was disciplined.313

       152) Mr. Graham’s summary, above, is factually incorrect and misleading. In July 2016,
a New York Times reporter asked to arrange a ride-along with a Prince George’s County Police
Department officer for a project about police officers around the country and their daily work.314
The Department selected Lieutenant Finn to participate in the ride along, in part because he had
previously been quoted in a Washington Post article about the Department two years prior.315



308
    PG0000020674.
309
     Prince George’s County Police Department, “Chief Stawinski Discusses DOJ Complaint”, (February 9, 2017),
available at https://www.youtube.com/watch?v=TNGQ05KJDgw.
310
    Id.
311
    PG0000169924-1669926.
312
    PG0000169924-1669925.
313
    Graham Report, ¶ 66(e), p. 50.
314
    PG0000990232.
315
    Lynh Bui, Prince George’s police leveraging social media to change its reputation, The Washington Post (July 8,
2014), https://www.washingtonpost.com/local/crime/prince-georges-police-leveraging-social-media-to-change-
its-reputation/2014/07/08/a57ff4c6-fb02-11e3-b1f4-8e77c632c07b_story.html.

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        153) Lieutenant Finn and the New York Times reporters met for the ride along on July
20, 2016 at 4 p.m., and the reporters rode with Finn until 2 a.m. the following morning.316 After
leaving the scene of a deadly stabbing of a Black man during the ride along, Finn and the reporters
headed to dinner. The article, which was published on July 23, 2016, states the following:

         A handful of officers manage the scene. Lieutenant Finn heads for dinner. He
         says he prefers not to eat in the area he has been patrolling, where he might
         run into people he arrested or be reminded of where fellow officers were shot.
         So he drives south, to a Texas Ribs & BBQ in Clinton, Md. Talk turns to the
         Black Lives Matter protest. “ ‘Black Lives Matter When the Police Kill Them,’ ”
         Lieutenant Finn says, as if arguing with protesters. ‘Have that be your
         name.’”317

         154)     The article did not provide any further context for Lieutenant Finn’s comments.

        155) After the article was published, Lieutenant Finn expressed his frustration to the
Media Relations Division about the quote and mischaracterization.318 He informed the Division
that his comments were taken out of context.

        156) While Mr. Graham asserts that Lieutenant Finn was quoted in a Washington Post
article published on July 27, 2016, he was not in fact quoted in the opinion piece that appeared
in that publication. That piece had been written about him and the New York Times article noted
above, but did not quote him.319 Notably, there is no indication that Lieutenant Finn was even
interviewed for the piece that appeared in the Washington Post.

        157) Mr. Graham’s assertion that a complaint was made about Lieutenant Finn’s
statement is untrue; tellingly, that assertion is completely unsupported in Mr. Graham’s Report.
As the Department never received a complaint about the statement, and there was no evidence
that any violation of Department policy had occurred, in my opinion and based on my experience
it was entirely appropriate that no IAD investigation occurred.

      158) Similarly unreliable is Mr. Graham’s citation to IA2004-017 and IA2014-069 as
examples of cases where Lieutenant Finn was the subject of complaints for Use of Language.
However, IA2004-017 did not contain any allegation against Lieutenant Finn for Use of
Language.320 And, although IA2014-069 included a Use of Language charge, the allegations that

316
    PG0000990240-990241.
317
    Jess Bidgood, et al., “One Police Shift: Patrolling Anxious America,” The New York Times (July 23, 2016), available
at                                                                  https://www.nytimes.com/2016/07/24/us/police-
ridealongs.html#:~:text=Policing%20in%20America%20today%20is,into%20your%20patrol%20car%20door.&text=
And%20it's%20facing%20the%20protests,of%20us%2Dversus%2Dthem.
318
    PG0000045100.
319
    Radley Balko, “Scott Finn, model cop for a model police department,” The Washington Post (July 27, 2016),
available at https://www.washingtonpost.com/news/the-watch/wp/2016/07/27/scott-finn-model-cop-for-a-
model-police-department/.
320
    PG0000783498.

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led to the Use of Language charge were unfounded for multiple reasons, including that (1) the
complainant’s description of the police vehicle did not match Lieutenant Finn’s vehicle, and (2)
the complainant did not appear for a lineup to identify Finn as the subject of her complaint.

 iii.    A String of Statements Allegedly Made by Corporal Steven Jones

         159) Mr. Graham’s Report further states that Corporal Steven Jones made a series of
negative comments about Black members of the community and officers, including that “at least
slaves had food and a place to live,” referring to President Obama as a “coon,” and referring to a
black officer as a “Signal 7.” Mr. Graham also reports that Corporal Jones defended the Ku Klux
Klan (“KKK”) and equated the Black Lives Matter (“BLM”) movement with the Ku Klux Klan. Mr.
Graham further claims that Corporal Jones was the subject of complaints made to Major Misty
Mints (who advised that she did not want to hear about discrimination), Lieutenant Thomas
Calmon (who denied a request for a meeting to discuss the complaint), and the EEO Coordinator
(who acknowledged the complaint, but did not schedule a meeting with the complainant).
Finally, Mr. Graham notes that there is no indication in the IAPro data produced or Defendants’
discovery responses that this matter was investigated or that Corporal Jones was disciplined.321

       160) Reading Plaintiff Christopher Smith’s deposition, Plaintiff Smith recounts that the
conversations in which these comments allegedly occurred were about a variety of topics that,
sometimes, included race and policing.322 According to Plaintiff Smith, a number of Officers on
his squad participated in the conversations, but he said in his deposition that Corporal Jones
spoke more than the others on the team.323

        161) There is no evidence in the record to support Plaintiff Smith’s allegation that the
Department was made aware of any comments allegedly made by Corporal Jones that would
have warranted an investigation or discipline. Plaintiff Smith alleges that he participated in a
discussion with Jones and other members of his Special Assignment Team regarding the Black
Lives Matter movement. During the discussion, Jones allegedly compared the BLM movement to
the Ku Klux Klan, and pointed to an example he heard of a Black Lives Matter supporter talking
about killing police officers.324 Plaintiff Smith disagreed, and said that the KKK and BLM are
nothing alike.325 Based on my experience evaluating the conduct of police officers, it is my opinion
that Jones’ alleged comments, as characterized by Plaintiff Smith in his deposition, did not
amount to an act of racial harassment. There is no evidence that Plaintiff Smith reported to
anyone that he believed the conversation to be racial harassment, including Lieutenant Vondell
Smith, Plaintiff Smith’s Black supervisor, to whom he allegedly described the conversation.
Moreover, the Report’s characterization of Corporal Jones as “defending” the KKK is inaccurate
and misleading.


321
    Graham Report, ¶ 66(f), p. 50.
322
    Christopher Smith Deposition Transcript (“C. Smith Tr.”) 120-124 (July 29, 2020).
323
    C. Smith Tr. 118, 120, 123-124 (July 29, 2020).
324
    C. Smith Tr. 121-124 (July 29, 2020).
325
    Id.

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       162) Plaintiff Smith also alleges that Jones said that Smith looked like a “Signal 7” on a
day that Smith wore plain clothes to work. “Signal 7” is the Department’s official code for
“suspicious person,” and is used when referring to suspicious individuals of any race.326 In his
deposition, Plaintiff Smith testified that various officers made jokes and comments about others
looking like “Signal 7s,” including White people.327 Based on my experience evaluating the
conduct of police officers, it is my opinion that Jones’ alleged “Signal 7” comment, as
characterized by Plaintiff Smith’s deposition testimony, did not amount to an act of racial
harassment. There is no record evidence that Plaintiff Smith reported to anyone that he believed
Jones’ alleged “Signal 7” comment to be racial harassment, including Lieutenant Vondell Smith,
to whom he allegedly described the comment.

        163) Plaintiff Smith further alleges that Jones once attempted to discuss an article with
Corporal Michael Myerly, which noted that during the time of slavery in the United States, some
slaves had access to food, clothes, and shelter, whereas some nomadic white people at the time
did not.328 Jones allegedly said that he did not know how to feel about the article, and was about
to ask Corporal Myerly what he thought when Corporal Myerly interrupted him and told him that
this was not an appropriate topic of conversation.329 Plaintiff Smith and Corporal Joseph Gavin
were in the room with Myerly, but did not say anything.330 It is my opinion that Corporal Jones’
alleged comments regarding this article, as characterized by Plaintiff Smith’s deposition
testimony, did not amount to an act of racial harassment. Following this alleged conversation,
Plaintiff Smith did not report this incident as racial harassment to any supervisor or to the
Department’s EEO Coordinator, including to Lieutenant Smith, to whom he allegedly described
the comments.

        164) Finally, Plaintiff Smith alleges that, during a conversation about President Barack
Obama and his political activities, Corporal Jones referred to President Obama as a “coon.”331
Plaintiff Smith alleges that he, Police Officer First Class Kyle Colleli, and Corporal Joseph Gavin
were in the room (without any supervisors present), and none of them said anything in
response.332 There is no record evidence to suggest that, following this alleged conversation,
Plaintiff Smith reported this incident to any supervisor or to the Department’s EEO Coordinator.

        165) Mr. Graham’s Report relies on allegations in the complaint and Plaintiff Smith’s
June 15, 2020 Declaration. The allegations in these documents are unsupported by the record,
including specifically Plaintiff Smith’s deposition testimony and contemporaneous Department
documents. For example, Mr. Graham’s Report incorrectly suggests that Plaintiff Smith made a
complaint regarding Corporal Jones to Lieutenant Calmon.333 After Plaintiff Smith was reassigned
off the SAT, he sent an email to Lieutenant Calmon on March 7, 2016 requesting a meeting to

326
    C. Smith Tr. 43-44 (July 29, 2020).
327
    C. Smith Tr. 43-45, 149-152 (July 29, 2020).
328
    C. Smith Tr. 179-181 (July 29, 2020).
329
    C. Smith Tr. 180 (July 29, 2020).
330
    C. Smith Tr. 179-181 (July 29, 2020).
331
    C. Smith Tr. 161-165 (July 29, 2020).
332
    Id.
333
    Graham Report, ¶ 66(f), p. 50.

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discuss “the unforescene [sic] changes that recently occurred.”334 His email to Calmon did not
mention Corporal Jones, racial harassment, discrimination or retaliation. In fact, Plaintiff Smith
acknowledged in his deposition that he had never spoken to Calmon about Corporal Jones’
allegedly discriminatory comments.335      Mr. Graham’s Report also states that Calmon denied
Smith’s request for a meeting. This is not accurate. Lieutenant Calmon, via email, advised Smith
to go through his chain of command first; that is, speak with his supervisors first, before Calmon
would agree to meet.336 Based on my experience, directing Plaintiff Smith to speak to his own
sergeant and lieutenant first under these circumstances is an accepted practice in any police
department.

        166) Similarly, Plaintiff Smith’s March 21, 2016 email to EEO Coordinator George Nader
requested a meeting to discuss “a sequence of events that recently occurred involving my former
squad (SAT B).”337 It also did not reference Jones, or any alleged racial harassment,
discrimination, or retaliation against Plaintiff Smith.338 Deputy Chief Nader advised in the email
that he was available to meet with employees who felt they have been treated unfairly.339 It was
then, in my opinion, up to Plaintiff Smith to work with the Deputy Chief’s assistant to schedule a
meeting. Although Plaintiff Smith alleges that he subsequently submitted a hand-written
complaint directly to the EEO Coordinator’s office, the Department has no record of any such
complaint, and Plaintiff Smith said that he kept no copy.


       G.    The Department Repeatedly Carried Out Sufficient Investigations Despite
             Impediments Caused by Plaintiffs or Circumstances Unrelated to the IAD Leadership

      i.    The Color Guard Locker, SI2017-018

      167) Mr. Graham’s Report first cites the “Color Guard” incident as an example of an
inadequate investigation in which investigators did not pursue leads and failed to conduct a fair
and complete investigation. This is completely inaccurate.

        168) The investigation into the “Color Guard” incident was precipitated by Plaintiff
Joseph Perez receiving a text message from an unnamed “source” containing a photograph of
the color guard locker. In that photograph, the word “Color” on the locker’s label was crossed
out, and “African American” was written on tape above it.340 The same day he received the text,
Plaintiff Perez called Major Raymond Gordon about the locker, told him to “do the right thing,”341
and also forwarded the text message to the Chief and Assistant Chief. Gordon consulted with


334
    PGPD-SMI-0000003-0000004.
335
    C. Smith Tr. 293 (July 29, 2020).
336
    PGPD-SMI-0000003-0000004.
337
    PGPD-SMI-0003951-0003952.
338
    Id.
339
    Id.
340
    PG000024869; PG000025095 (SI2017-018).
341
    PG000024886-24887 (SI2017-018).

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Major Kathleen Mills, and IAD commenced a formal SIRT investigation on February 7, 2017, the
same day the incident came to their attention.342

       169) Mr. Graham’s Report criticized the IAD investigation for “failing to pinpoint” the
exact date that the vandalism occurred.343 IAD concluded the vandalism occurred on February
6, 2017 because Plaintiff Perez reported to IAD and the Chief’s Office that the “source” of the
text message had told him February 6, 2017 was the date it occurred.344 No other person in the
building complained, or indicated they had noticed, that the locker had been vandalized prior to
February 6.345 It was reasonable for the investigator, Corporal Brian Medina, to conclude that
the locker vandalism occurred on February 6, particularly because Plaintiff Perez’s “source”
confirmed as much.

        170) Thus, given the significant number of individuals who accessed the building, it was
reasonable to limit an investigation of the access card scans to that time period. Moreover, the
use of questionnaire forms to assess employees’ knowledge of the locker was reasonable under
the circumstances, considering there were approximately 60 potential witnesses who scanned
into the building on February 6.346 It is also notable that the building was open to third parties
to use for training purposes, and IAD noted this fact and broadened the potential suspect list as
a result.347

        171) Mr. Graham’s Report also concluded that the IAD investigation failed to
investigate leads. The case file shows that the employees who indicated in their questionnaires
that they “had seen the vandalism” and “were offended” had not indicated they had seen the
locker prior to the commencement of the IA investigation; each employee indicated they did not
know the identity of any suspect, and had no further relevant information to share with IAD.348
The IAD investigators reasonably concluded that the employee witnesses had no further
information that could further the investigation.

        172) It was also not reasonably possible to pursue the primary lead—the individual who
first took a picture of the locker vandalism and sent the picture to Plaintiff Perez—because
Plaintiff Perez adamantly refused to provide investigator Medina with the individual’s identity or
phone number.349 After telling IAD during his interview that the text message “disappeared”
from his phone and denying he knew the identity of the individual in his Responses to
Defendants’ Interrogatories, Plaintiff Perez has now belatedly produced the text message on
September 22, 2020 that he had received from an individual named “Barry”.350


342
    PG000024878-24879 (SI2017-018).
343
    Graham Report, ¶¶ 56-57, pp. 37-38.
344
    PG000024905; PG000025094 (SI2017-018).
345
    PG000024911-25086 (SI2017-018) (witness questionnaire forms).
346
    Id.
347
    PG000024874-24877; PG000024882 (SI2017-018).
348
    PG000025020; PG000025023; PG000025080 (SI2017-018).
349
    PG000024905-24909 (SI2017-018).
350
    PGPD-PER-0146458-0146459.

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        173) Plaintiff Perez knew that IAD was investigating the circumstances of this case and
actively impeded the investigation by withholding crucial information from the investigator. In
my opinion, had IAD obtained access to the text message during its investigation, it could have
reasonably resulted in a charge of lying in the course of the investigation. Based on the evidence
available at the time, IAD reasonably concluded that a respondent could not be identified and
the case must be administratively closed. There was no discipline imposed because a respondent
could not be identified.

       174) Mr. Graham’s Report suggests the IAD investigation was inadequate because
unnamed individuals purportedly committed “clear policy violations of failing to report
discrimination and the failure of managers to keep their commands free from harassment and
discrimination.”351 The case file shows that as soon as Major Gordon was on notice of the
vandalism, he had it removed, the command staff immediately addressed the incident with
employees in the building to discover related information and ensure that no further incidents
occurred. The same day a formal SIRT investigation was initiated to attempt to locate the
perpetrator of the vandalism.352

        175) The Department made every reasonable effort to investigate this case. The
investigation was hindered at the outset due to Plaintiff Perez withholding information regarding
the relevant photograph and text message.

  ii.    Training Dummy, SI2017-067

        176) Paragraph 68 of Mr. Graham’s Report also alleges that IAD’s investigation into the
“training dummy” incident, SI2017-067, was incomplete. I disagree. The Department performed
a reasonable investigation of the “training dummy” incident that while not fruitful, was thorough
and conformed to standard police investigation procedures. By way of background, Lieutenant
William Rayle was the investigator assigned to SI2017-067.353 This investigation was launched
after Plaintiff Perez brought the photographs to the attention of Chief Hank Stawinski and
Assistant Chief Hector Velez on or around January 6, 2017.354 During Plaintiff Perez’s interview
for the investigation, he claimed that the photographs first came to his attention in mid-2016
when he heard individuals discussing the training dummy and the photograph.355 Remarkably,
Plaintiff Perez failed to identify who took part in that conversation.356 Plaintiff Perez also



351
    Graham Report, ¶ 57, p. 38.
352
    PG000024869; PG000024873; PG000024879-24880 (SI2017-018).
353
    M. Smith Tr. 92 (July 22, 2020).
354
    PG0000020993-20994. Contrary to the assertion on page 57 of Mr. Graham’s Report, Plaintiff Perez did not claim
that he shared the photographs with Velez in November 2016. Rather, he stated that he received the photographs
under his door “after November 2016.” PG000002020767-2020768. More importantly, in Plaintiff Perez’s January
5, 2017 email to Stawinski and Velez, he said, “Attached are the pictures that I started to share with both of you
yesterday when the meeting was ended abruptly.” PG0000020993-20994.
355
    PG0000020767-20772.
356
    Id.

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explained that a copy of the photograph was left under his door after November 2016, but he did
not identify who left the photograph at his door.357

         177) During Jewell Graves’ interview for the IAD investigation, Graves stated that
multiple people showed her the photograph and she asked for a copy, and at some point
thereafter a copy of the photograph was left in her mailbox by an unknown individual before
December 2015.358 Graves could not recall who had previously shown her the photograph.359
Graves also disclosed that sometime after she received the photograph in her mailbox, she
brought it to the attention of Deputy Chief Raphael Grant.360 Graves could not recall when she
had the discussion with Grant.361 However, Graves stated that when she received the
photographs, she did not know how long they had been circulating, and expressed that to Grant.
Grant contacted Stephanie Frankenfield, the commander of the Department’s Training Division
at the time, to ensure that there were no photographs of the training dummy around the Training
Education Division.362 During Frankenfield’s interview for the IAD investigation, she noted that
she could tell that the photograph was not taken at the facility she was assigned to at the time.363

        178) As discussed above, Plaintiff Perez brought the photographs to the attention of
Stawinski and Velez on January 6, 2017. On January 10, 2017, Major Mills, the then-commander
of IAD, requested that Lieutenant Rayle be assigned to conduct the investigation.364 The same
day, Lieutenant Rayle was informed that he was assigned the investigation.365 On January 11,
2017, Rayle began his factual investigation.366 Rayle conducted his first interview for the
investigation on January 24, 2017.367 Thus, Graham’s assertion that Lieutenant Rayle did not
begin conducting interviews until three weeks after the case file was opened is false, and
disingenuously suggests that he did not take any investigatory steps prior to conducting his first
interview. During his deposition, Captain Michael Smith, a Captain in IAD during the SI2017-067
investigation, was asked if the Internal Affairs investigation determined who brought the Afro
wig (that was depicted in the photo) to the Department. Smith responded that he believed
Lieutenant Rayle narrowed that down to one or two officers who were assigned to the Training
Division.368 Smith also specifically testified that he didn’t believe there was a finding about who
put the Black male’s face on the training dummy.369 Nevertheless, Mr. Graham’s Report

357
    PG0000020767-20772.
358
    PG0000020745-20748.
359
    PG0000020754-20755.
360
    PG0000020753-20754.
361
    PG0000020754.
362
    PG0000020746; PG0000020776.
363
    PG0000020782
364
    PG0000020993.
365
    PG0000020993.
366
    PG0000020707.
367
    PG0000020767.
368
    M. Smith Tr. 91-92 (July 22, 2020). Specifically, Lieutenant Rayle’s administrative closure memorandum states
that Corporal George Harley, an Instructor at the Training Academy brought the black-haired wig in to be placed on
a mannequin, not a training dummy, for a Shoot/No Shoot In-Service training scenario to give the mannequin a more
life-like appearance. PG0000020739.
369
    M. Smith Tr. 92 (July 22, 2020).

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mischaracterized Smith’s testimony and suggested that Lieutenant Rayle had narrowed down the
potential wrongdoers, “[b]ut no one was charged or disciplined in the matter.”370 These
seemingly subtle inaccuracies further demonstrate flaws in Mr. Graham’s Report.

         179) Moreover, all of this indicates IAD performed a reasonable investigation and
closed it when there were no further leads. As an initial matter, anonymous complaints lead to
difficult investigations to perform, and it was determined that the photograph had been taken at
least over one year before the Chief was notified of its existence.371 Consequently, the time lag
added to the already complicated investigation. Despite these impediments, the investigation
revealed that the wig had been used for role-playing training scenarios, and revealed where the
paper target in the photo came from. It appears that every investigative lead was followed up
on in this case. The alleged deficiencies noted in Mr. Graham’s Report wholly ignore the realities
of the investigatory circumstances.

 iii.    Sergeant Bunce, IA2017-003

        180) Mr. Graham criticizes certain IAD investigations as “inadequate” and certain
investigators who failed to be “fair.”372 One of these investigations is the investigation conducted
by Landos Wallace into Plaintiff Torres’ complaint against Sergeant Joseph Bunce. Mr. Graham’s
descriptions of this investigation are at odds with the evidence in the case file.

        181) First, Mr. Graham mistakenly writes that the investigator “did not follow up when
Sergeant Bunce changed his story and said he typed rather than spoke the word ‘NECA.’”373 It is
obvious from Bunce’s IAD interview that Bunce does not change his story during that interview.
Instead, Bunce compared his first text to Plaintiff Torres, which was a talk-to-text, to his second
text. Bunce’s second text read: “Neca doesn’t mean anything it was talk to text and I don’t know
why it did that.”374 In the interview, Bunce stated, “if you look down here at the bottom to my
next text, it looks like I was typing then because I put N-E-C-A and it’s not capitalized now so
that’s me probably hand typing.”375 Mr. Graham’s report on this issue is simply false.

        182) Second, Mr. Graham’s Report faults Wallace for not “ask[ing] any follow up about”
Bunce’s alleged comment related to the Bladensburg resident who Plaintiff Torres released from
police custody, despite the fact that he had an open warrant against him for a probation violation
for second degree murder.376 Mr. Graham’s Report fails to acknowledge that the transcript of
Wallace’s interview shows almost three full pages of discussion with Bunce about the
Bladensburg resident, including Bunce’s comment that allegedly followed.377


370
    Graham Report, ¶ 68(b), p. 58.
371
    PG0000020738-20739.
372
    Graham Report, ¶ 68, p. 55.
373
    Graham Report, ¶ 68(g), p. 64.
374
    PG0000020426.
375
    PG0000020504.
376
    Graham Report, ¶68(g), p. 64.
377
    PG0000020526-20554.

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        183) Finally, Mr. Graham’s Report states that Wallace did not assess whether Bunce’s
conduct was retaliatory, even though “Bunce acknowledged that he wrote up Corporal Torres for
infractions and Corporal Torres was transferred following the time that Corporal Torres
complained to IAD.” This is false and misleading. Plaintiff Torres was counseled for poor
performance on November 30, 2016, and Captain Melvin Powell notified Plaintiff Torres of his
transfer on December 28, 2016.378 On January 23, 2017, the same day IAD opened its
investigation, Captain Watkins wrote to Plaintiff Torres that “[y]our complaint was received by
[IAD] on January 17, 2017.”379 Mr. Graham’s claim that Plaintiff Torres had previously
complained to IAD, which has no citation, contradicts the record.

       184) Contrary to Mr. Graham’s claims, Wallace conducted an adequate investigation,
which included over 20 witness interviews. His investigation was reviewed up the chain of
command for completeness, and the investigatory report completed by Wallace was approved,
with signature, by IAD Assistant Commander Art’z Watkins.380 The CCOP agreed with IAD’s
determination non-sustaining the two charges against Bunce.381

 iv.    Sergeant Rush, IA2016-034 and Parallel EEO Complaint

        185) Mr. Graham’s Report further asserts that IAD conducted an inadequate
investigation and reached the wrong result for a complaint made by Corporal Sean Miller.382
Again, I cannot agree with his conclusion based on the record.

        186) Mr. Graham’s Report discusses a complaint from Corporal Miller, upon which he
later based an EEOC charge alleging racial discrimination. Miller alleged to IAD that Sergeant
Darin Rush read a suspect’s text message and put emphasis on the word “nigga” four times. In
addition, Miller alleged that Rush asked to see a photograph of Miller’s fiancé, and upon finding
out that she was Mexican American, said she was cheating on Miller “because that’s what they
do.” Miller further advised that Rush said “All Latino women are whores.” In March 2016, Miller
accused Rush of saying, “I can’t wait to see Trump check those Hispanics.” 383

        187)     After review of the record, the following information was determined:

                 •   IAD conducted the investigation into Corporal Miller’s allegations against
                     Sergeant Rush.384 IAD investigated Miller’s allegations that Sergeant Rush
                     made several derogatory statements that Miller found offensive.385

378
      Richard Torres Deposition Transcript (“Torres          Tr.”)   175-176,   237,   187,   (August   7,   2020);
PGDOJ_NO9_0000000058.
379
    PG0000020415.
380
    Id.
381
    PG0000020472.
382
    Graham Report, ¶67, p. 51.
383
    Graham Report, ¶ 67(a), pp. 51-52, ¶ 68(d), pp. 59-60.
384
    PG0000025286-25415 (IA2016-034).
385
    Id.

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               •   The investigation found that Rush had read evidence out loud in an active
                   criminal matter (a suspect’s text message containing the word “nxxxa”) for the
                   purpose of conducting the investigation. Witness officers working in Rush’s
                   and Miller’s district were interviewed and none of them heard the alleged
                   derogatory statements about Miller’s fiancé or Hispanics.386 The conclusory
                   statement in Mr. Graham’s Report that the IA investigator did not do
                   “anything” to “inquire about Sergeant Rush’s statement about checking
                   Hispanics” is inaccurate. The case file indicates that “Allegation 3 -
                   Unbecoming Conduct (Inappropriate comment about Hispanics)” was
                   investigated and, based on the evidence and witness statements, was non-
                   sustained.387

        188) After his IAD complaint, Miller filed an EEOC Charge (No. 531-2016-01761) alleging
discrimination by Rush, and requested a Notice of Right to Sue from the Commission.388 Miller
then commenced a civil action against the Department alleging racial discrimination and
retaliation, in which the Department won dismissal of all claims on summary judgment.389 The
federal district court judge noted that Miller’s claims amounted only to “employee grievances,”
and found no racial discrimination had occurred.390

       189) Mr. Graham’s Report criticized the IAD investigation into Miller’s allegations
against Rush, alleging “the investigator did not appear to consider that other similar charges had
been brought against Sergeant Rush, nor was there an inquiry into whether Sergeant Rush
engaged in other discriminatory conduct.”391 Based on my experience, an officer’s past
misconduct is factored into IA’s disciplinary recommendation after finding a charge is sustained,
but when charges are non-sustained, there is no discipline to be rendered. An officer’s history
alone cannot produce a guilty or sustained verdict.

        190) The court in Miller’s civil case rejected Miller’s argument that Rush’s history
indicated guilt in other contexts; the judge stated “All I have here is the suggestion that Rush
somehow was racist in other cases, and, therefore, a jury should be able to infer that in this case
he was racist as well. Can’t permit it. Not fair. Not fair to the process, not fair to Rush.”392

      191) In my opinion, a complete investigation into Miller’s complaint was conducted and
produced no evidence that would corroborate Miller’s allegation of discriminatory conduct by
Sergeant Rush.393


386
    PG0000025303-25308 (IA2016-034).
387
    PG0000025297-25299; PG0000025303-25308 (IA2016-034).
388
    PG0000002232-2269.
389
    PG0000940132-940144.
390
    PG0000940143.
391
    Graham Report, ¶ 67(a), pp. 51-52.
392
    PG0000940143.
393
    PG0000025286-25415 (IA2016-034).

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      H.   The Department Determined Discipline for All Cases in Light of the Evidence Available
           and Consistent with Best Practices

        192) Mr. Graham’s Report highlights the discipline imposed against Private First Class
Kristen Baird in IA case number IA2016-038, and the failure to impose discipline in case number
IA2017-049, as examples of “incidents where charges of racism were sustained, but the discipline
was inadequate.”394 I disagree with the conclusion of Mr. Graham’s Report on these matters.

       193) In May, 2016, Baird filed a complaint with IAD alleging misconduct by Plaintiff
McClam during a Citizen Interaction Class.395 Baird alleged that Plaintiff McClam made gestures
with his arms and threw his arms up in disgust in response to comments made by other officers
with which he disagreed.396 Baird also alleged that Plaintiff McClam jumped out of his seat and
began walking aggressively toward her and others on the opposite side of the classroom while
throwing his shoulders forward, giving the impression that he wanted to fight.397 Baird further
complained that officers physically removed Plaintiff McClam from the classroom.398

        194) IAD assigned Baird’s complaint against Plaintiff McClam to Sergeant Gerald Caver
for investigation under case number IA2016-038. Sergeant Caver prepared a Report of
Investigation and a supplement to the report indicating that virtually all persons in attendance at
the class were interviewed.399 The report concluded that none of the witnesses present
confirmed Baird’s allegation that Plaintiff McClam had charged toward her or that he had to be
physically removed from the classroom.400 One of the instructors of the class testified that
Plaintiff McClam became visibly upset at Baird and slammed his hand on the table and that she
escorted Plaintiff McClam out of the room after he was given a direct order to leave. 401 Other
witnesses confirmed that Plaintiff McClam was escorted out of the room by one of the
instructors, not physically removed.402 One witness testified that Plaintiff McClam used
profanity.403 Many of the witnesses also testified that Baird had stated that a picture shown by
the instructors to the class was, “Black Lives Matter crap,” or “Black Lives Matter shit” or was a
“Black Lives Matter Campaign Logo.”404

       195) As a result of the statements received from witnesses and the findings of the
Report of Investigation, AIS charged Baird with misconduct.405 However, Mr. Graham’s Report

394
    Graham Report, ¶ 69(c), pp. 66-69.
395
    PG0000024330-24331.
396
    PG0000024330.
397
    PG0000024331.
398
    Id.
399
    PG0000023858-23879.
400
    PG000023867.
401
    PG0000023859-23860.
402
    PG0000023860-23867.
403
    PG0000023860-23861.
404
    PG0000023859-23879.
405
    PG0000023844-23846.

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claims that “statements reflected that the investigator was told Major Mills directed that Baird
not be charged.”406 At his deposition, Art’z Watkins (who at the time was a Captain and the
Commander of AIS in IAD) testified that it was Plaintiff Perez who said that Major Kathleen Mills
said not to charge Baird; when he sought to clarify that with Major Mills, she informed him that
she did not give Plaintiff Perez that directive.407

        196) Ultimately, Captain Watkins found that the charges of unbecoming conduct and
Use of Language filed against Plaintiff McClam were unfounded and non-sustained,
respectively.408 Watkins found that charges against Baird for integrity (dishonesty) and use of
inappropriate language were sustained.409 Major Mills, then the Commander of IAD, issued a
DAR against Baird for these offenses, and she accepted the discipline imposed of two $250
fines.410 Although, as Mr. Graham notes, the CCOP disagreed with the classification of the
integrity violation, the CCOP’s position was not provided to the Department until after Baird was
served with, and accepted, the DAR.411

       197) Captain Watkins and Major Mills concluded that integrity was the appropriate
charge, given that witnesses testified that Plaintiff McClam became very angry, slammed his fist
on the table, and had to be escorted from the classroom.412 As a result, the commanders found
that Baird exaggerated her allegations against Plaintiff McClam in a manner that reflected
dishonesty rather than making the allegations with knowledge of falsity and with intent to
deceive, the elements required to sustain a charge of making a false statement.413

       198) In April 2017, while case IA2016-038 was still pending, Plaintiff McClam filed a
harassment complaint against Baird, contending that he was “riding with the OIC, Acting Sergeant
Darryl Wormuth” and that as he and Wormuth were leaving the scene of an incident, Baird asked
Wormuth “if he had a ‘ride-along,’ while gesturing with her eyes and a head nod towards”
McClam.414 Plaintiff McClam complained that Baird’s comment and conduct were “annoying,
unprofessional and it was harassment.”415 Plaintiff McClam acknowledged that he was upset
about the investigation into the training incident (case number IA2016-038), noting “[i]t is as
though Corporal Baird is thumbing her nose at me.”416

        199) Again, in my opinion, IAD followed standard procedure outlined in the GOM and
initiated an investigation into Plaintiff McClam’s complaint under case number IA2017-019.417


406
    Graham Report, ¶ 69(c), p. 67.
407
    Watkins Tr. 279-80 (July 10, 2020).
408
    PG0000023830.
409
    Id.
410
    PG0000023833-23835.
411
    PG0000023833-23835; PG000023840.
412
    Watkins Tr. 275-276, 286 (July 10, 2020).
413
    Watkins Tr. 286-287 (Jul. 10, 2020).
414
    PG0000080480-80481.
415
    Id.
416
    Id.
417
    PG0000080533.

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Although Acting Sergeant Wormuth, the only witness to the incident, confirmed that Baird asked
if he had a ride-along, he notably added that during the three days he and Plaintiff McClam were
riding together in the same car, “it was a pretty much standard question ‘you got a ride along’
and it was nothing out of the norm.”418 Accordingly, IAD concluded that the harassment charge
against Baird was unfounded.419 Mr. Graham suggests that IAD should have charged or
investigated Baird “for initiating contact with the complainant in a pending matter,” but Plaintiff
McClam himself acknowledged that Baird did not speak to, or otherwise initiate contact with,
him on the evening the incident occurred.420

       200) It was entirely reasonable for the commanders of the investigative unit overseeing
the investigation and the head of IAD to have arrived at these decisions in cases IA2016-038 and
IA2017-019. They were the individuals in the best positions to make a determination regarding
the appropriate charges and resolution, in light of the evidence presented and their familiarity
with the general orders pertaining to internal investigations and appropriate disciplinary action.

       I.     IAD Exercised Its Discretion Appropriately When Deeming Cases Suitable for Review
              by Alternative Avenues

      i.     Complaints by Police Officer Latashia Pinckney and Corporal Terrence Brown

        201) Mr. Graham’s Report criticizes the Department and Major Mills for the handling
of internal complaints made by Police Officer Latashia Pinckney and Corporal Terrence Brown.421
First, Mr. Graham’s Report suggests these complaints were exclusively related to the Harassment
and Discrimination Policy. This is incorrect. In reviewing the complaints, in my opinion, it is
evident they were largely interpersonal in nature and expressed dissatisfaction with the way Rush
was managing the squad.422 Brown submitted his complaint after he was removed from the
informal “9-car” position, and Pinckney submitted her complaint after she was counseled for low
productivity in her job performance.423 Given the nature of these complaints, it was reasonable
for Major Mills to promptly refer the Pinckney and Brown complaints to their Commander in
District I.424

        202) The General Order Manual (“GOM”) directs employees to address internal
complaints at the lowest level possible through the chain of command.425 Vol. I, Chapter 4, of
the General Order Manual, outlining Complaint Assignment procedures, states that (A)
“Complaints not investigated by IAD are handled at the lowest appropriate level of supervision;”
(B) the “Commander, IAD” screens complaints to determine if they will be investigated by IAD;
and (C) “less serious allegations” may be referred back to an employee’s “Commander/Manager”

418
    PG0000080474-80476
419
    PG0000080463.
420
    PG0000080480.
421
    Graham Report, ¶ 64, pp. 42-46, ¶¶ 144(f)-(g), pp. 139-140.
422
    PG0000968875-968887; PG0000968861-968863.
423
    PG0000968861-968863; PG0000968875-968887.
424
    PG0000165875-168576; PG0000968893-968894.
425
    GOM, Vol. I, Chs. 4, 12.

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for handling.426 Major Mills’ referral of these complaints was permitted by the GOM and
reasonable under the circumstances. 427 And, as stated above, these complaints were focused
on Sergeant Rush’s management of his squad, and were not Harassment complaints. That said,
in my opinion, the IAD Commander is not breaching any confidentiality by sending the complaint
to the employees’ Commander.

       203) Mr. Graham’s Report asserts Pinckney and Brown were subject to retaliatory
transfers. This is not correct, in my opinion. Pinckney’s transfer had been pending since April
2017, before Pinckney sent her complaint to Major Mills in May 2017.428 Brown’s transfer was
also not retaliatory, in my opinion; Brown had requested transfer to a sister squad prior to
submitting his complaint to Major Mills, and the transfer was granted.429

        204) Mr. Graham’s Report further states that “there is no evidence . . . that anyone at
senior levels in the Department took [Pinckney/Brown’s complaints] seriously.”430 The record
shows that Deputy Chief of the Bureau of Patrol, Christopher Murtha, discussed Rush with his
Commander to assess the allegations against Rush.431

         205) Lastly, Mr. Graham’s Report incorrectly concludes that an IAD investigation was
sustained against Sergeant Darin Rush “for engaging in racist behavior.”432 This is false. The case
file indicates that Rush was charged only with Use of Language for forwarding a movie clip that
contained derogatory language; Rush was not charged with discriminatory or racist conduct.433

  ii.    Compensatory Time Incentive Program

       206) Mr. Graham’s Report asserts that the Department did not appropriately handle
external complaints against senior officers, citing the Defendants’ disclosure of a 2019
Department investigation into a compensatory time bonus program conducted by the
Commander and Assistant Commander of BOP District II (respectively, Major
and Captain            ) for officers assigned to that District.434

        207) Mr. Graham’s Report asserts that the Department’s handling of this episode was
deficient in several respects, including that: (A) IAD did not assign it for investigation and instead
let the Deputy Chief of BOP, Christopher Murtha, handle it; (B) Deputy Chief Murtha did not
investigate thoroughly or inquire whether other Districts implemented similar programs; (C) the
senior leadership who oversaw the program were inadequately disciplined and their discipline
was “downgraded”; and (D) the CCOP was not informed of this matter in an effort to “hide this

426
    GOM, Vol. I, Ch. 4.
427
    PG0000968868-968869.
428
    PG968885-968886.
429
    PG0000968887; PG0000154090-154091.
430
    Graham Report, ¶ 64, p. 46.
431
    PG0000154091-154092.
432
    Graham Report, ¶ 64, p. 43.
433
    PG000045105; PG000045108 (IA2016-008).
434
    Graham Report, ¶ 82, p. 78.

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misconduct from public scrutiny.”435 All of these assertions in Mr. Graham’s Report are in my
opinion either inconsequential or inaccurate, as explained below.

        208) First, Mr. Graham’s cited sources436 fail to confirm the assertion made in the
Report that the undated anonymous correspondence sent to “                 ,” which forwarded a
January 25, 2019 email from Lieutenant          , was received by the Department on August 7,
2019. In point of fact, the cited pages in Mr. Graham’s Report were contained in a packet of
correspondence and other materials originally sent by               to the Office of the County
Executive. That packet was later forwarded to Chief Stawinski, who in turn forwarded the packet
to the Police Department’s Inspector General, Donnell Turner, on July 22, 2019.437

        209) Sometime between July 22, 2019 and July 26, 2019, after he had reviewed the
content of the packet, Mr. Turner made BOP Deputy Chief Murtha aware of the January 25, 2019
email from Lieutenant          , the Assistant Commander of a BOP District under Murtha’s
jurisdiction. Deputy Chief Murtha advised Mr. Turner that the Chief needed to be informed of
the compensatory time incentive program referenced in the         email. On or about July 26,
2019, Mr. Turner and Deputy Chief Murtha made the Chief and other members of Prince
George’s County Police Department’s Executive Command Staff aware of the email revealing the
existence of the unauthorized incentive program being conducted in District II.438

        210) On August 7, 2019, Chief Stawinski held a press conference. At that conference,
he stated that on July 26, 2019, the Department’s Inspector General notified him of an email that
revealed the existence of an unauthorized incentive program that had been instated by the
commanders of one of the Department’s District stations. The Chief further stated that he
immediately convened the Deputy Chiefs and directed them to immediately ensure that no other
such programs were ongoing within the Department. The Chief further stated that he had
initiated an investigation with the responsible commanders, which had concluded on August 7,
2019.439 Additionally, the Department posted a blog that same day announcing the Chief’s
investigation of the unauthorized performance incentive program and the corrective actions
taken as a result of the investigation.440

      211) The Department began its investigation into the unauthorized incentive program
immediately upon the Chief’s awareness of its existence on July 26, 2019. Deputy Chief Murtha
and the other Deputy Chiefs were tasked with determining whether other similar incentive
programs had been conducted elsewhere in the Department. The Chief also tasked the

435
    Graham Report, ¶¶ 83-85, p. 79.
436
    Graham Report, p. 79, notes 281 and 282 (PS2019-115, at PG0000127831 and PS2019-114, at PG0000127808).
437
    PG0000977423-977433.
438
    Information provided by telephone from Inspector General Donnell Turner on September 24, 2020 and former
Deputy Chief Christopher Murtha on September 27, 2020.
439
    Prince George’s County Police Department, “Chief Hank Stawinski Ends Unauthorized Incentive Program At
District Station” (Aug. 7, 2019), available at https://youtu.be/Pe1LfmB9TuM.
440
     Prince George’s County Police Department News, “Chief Ends Unauthorized Patrol Incentive Program for
Performance at a Prince George’s County Police Department District Station” (Aug. 7, 2019), available at
http://pgpolice.blogspot.com/2019/08/chief-ends-unauthorized-patrol.html.

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Commander of IAD with investigating whether the program had resulted in citizen complaints
that could be linked to increased police activity resulting from the incentive program. Initially,
the investigation was conducted as an inquiry pending the collection of more information
concerning the incentive program. The “Complaint” formally lodged with IAD on August 7, 2019
was made by Deputy Chief Murtha, based on the findings of his inquiry into the incentive program
that had been ongoing since July 26, 2019. It was determined at the time of the submission of
the request for case numbers that Murtha’s complaints against              and         would be
opened as Police Supervisory (“PS”) cases. PS cases are investigated under the direction of the
charged officers’ Commander. In this case, that Commander was Deputy Chief Murtha. In my
opinion based on my experience, there would have been no reason for the Commander of IAD
to independently assign one of its own investigators at that point to redo an investigation of PS
cases already conducted by Deputy Chief Murtha.

        212) Although it is accurate that Deputy Chief Murtha formally opened and closed the
IAD PS case phase of the investigation into the unauthorized incentive program on August 7,
2019, I am unaware of any procedural restriction on the formal opening and closing of the
investigation on the same date.441

        213) Without citations to any evidence supporting his conclusions, Mr. Graham’s
Report asserts that Deputy Chief Murtha “made no findings how long the program had been in
existence or what ‘productivity’ was being incentivized.”442 Deputy Chief Murtha did in fact
determine in the course of his investigation that the incentive program had been in operation for
six months (a fact publicly disclosed in the Department’s August 7, 2019 blog concerning the
investigation443), and how “productivity” was measured for purposes of determining which
officers were awarded a compensatory time bonus.

        214) Similarly, without record support, Mr. Graham’s Report asserts that Deputy Chief
Murtha “did not try to figure out how many officers were awarded ‘comp time’ or how much in
County funds were given to the officers.”444 That assertion is inaccurate. Deputy Chief Murtha’s
investigation revealed that the program awarded 10 hours of comp time each month to the
person in each of District II’s five squads who had the highest total of measured activity. 445

       215) Mr. Graham’s Report asserts that Deputy Chief Murtha “does not appear to have
taken any steps to inquire whether any other Districts were using similar program [sic].”446 The
Report’s speculation totally ignores the Department’s publicly posted pronouncement that the
Chief “directed the Deputy Chiefs to convene their staffs to ensure the unauthorized


441
    See generally PS2019-115; PS2019-114.
442
    Graham Report, ¶ 83, p. 80.
443
     Prince George’s County Police Department News, “Chief Ends Unauthorized Patrol Incentive Program for
Performance at a Prince George’s County Police Department District Station” (Aug. 7, 2019), available at
http://pgpolice.blogspot.com/2019/08/chief-ends-unauthorized-patrol.html.
444
    Graham Report, ¶ 83(b), p. 80.
445
    Information provided by telephone from Inspector former Deputy Chief Murtha on September 27, 2020.
446
    Graham Report, ¶ 83(d), p. 80 (emphasis added).

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performance program was not being employed elsewhere in the agency.”447 Consistent with that
directive, Deputy Chief Murtha oversaw an inquiry of the Bureau of Patrol’s District Commanders
to confirm that no other district stations were utilizing an unauthorized incentive program. 448

        216) The discipline determined to be appropriate for                       and
implementation of an unauthorized incentive program consisted of, respectively, a two-day
(      ) and one-day (         ) suspension without pay. In my opinion, when evaluating the
adequacy of the Department’s handling of this matter, it is important to note that          and
        were removed from their command positions in District II following the discovery of the
unauthorized incentive program, and transferred to lesser assignments effective August 11,
2019.449 Contrary to the Report’s assertions, the discipline for    and         was not reduced
to written reprimand. Rather, the notices of FINAL disciplinary action contained in their
respective PS case files were recently determined to have incorrectly stated the actual FINAL
disciplinary action that was imposed.450 That administrative error was later corrected.451

       217) Contrary to the Graham Report’s assertion, the IAD case files verify that PS2019-
114 and PS2019-115 were disclosed to the CCOP.452 Moreover, the Report’s assertion that the
Department’s “handling of this matter appears designed to hide this misconduct from public
scrutiny” is belied, based on my experience, by (A) the Department’s press conference and blog
posting regarding this matter; (B) its disclosure of these cases to the CCOP; and (C) its prompt
adoption of a general order prohibiting the unauthorized implementation of incentive
programs.453

       218) The press conference by Chief Stawinski fully informed the community of what
had been occurring, and would have been one of the best sources for generating new complaints
to the Department or Inspector General about the program. The Chief publicly invited anyone
who had a complaint about the program to report it to him or the Inspector General. No known
complaints alleging harassment or discrimination were received following the press
conference.454

      219) It is my opinion that the investigation into this matter was appropriate, and it was
conducted in an appropriate manner as a PS case. The discipline was also appropriate. The

447
     Prince George’s County Police Department News, “Chief Ends Unauthorized Patrol Incentive Program for
Performance at a Prince George’s County Police Department District Station” (Aug. 7, 2019), available at
http://pgpolice.blogspot.com/2019/08/chief-ends-unauthorized-patrol.html.
448
    Information provided by telephone from Inspector former Deputy Chief Murtha on September 27, 2020.
449
     “Transfer to Personnel” (August 11, 2019); Excel Workbook, “              Suspension Without Pay”; Excel
Workbook, “                Suspension Without Pay”; PGIAD0000127806 (PS2019-114); PGIAD0000127824 (PS2019-
115).
450
    PGIAD0000127801-127802 (PS2019-115); PGIAD0000127820-127822 (PS2019-114).
451
     “DISCIPLINARY ACTION – Captain                 #1396” (December 5, 2019); “DISCPLINARY ACTION – Major
                  #2083 (CORRECTION)” (December 5, 2019).
452
    PGIAD0000127812 (PS2019-115); PGIAD0000127816-127817 (PS2019-114).
453
    GOM, Vol. I, Ch. 9, PG0000944680; GOM, Vol. I, Ch. 27, PG0000944847; GOM, Vol. I, Ch. 32, PG0000944882.
454
     Information provided by telephone from Inspector General Donnell Turner and Major James McCreary on
September 24, 2020.

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highest-ranking officer received the highest discipline. It is appropriate to hold more senior
command staff to a higher level of accountability than lower members of a police department,
which was done in this case.

       220) In addition to the discipline, the subsequent transfer of the Commander and
Captain achieved two objectives. To the members of the Department and the community, it
demonstrated that this type of behavior would not be tolerated. It also served to facilitate the
restoration the community’s trust in the Department to the extent that it could have been
diminished because of this unauthorized incentive program.

      PART 3.     THE DEPARTMENT’S PROMOTION PROCESSES ARE EQUITABLE.

        221) As with many police departments, the Prince George’s County Police Department
offers both competitive, non-competitive, and appointed promotions.

         222) Non-competitive promotions include the ranks of Police Officer First Class and
Corporal.455 If an officer wishes to advance to a non-competitive rank, they must first meet other
eligibility requirements, such as years of service in their current rank and satisfactory
performance appraisals.456 They will then take the promotional exam, which is a multiple choice
test.457 If they receive a “passing” score on the exam, they will advance in rank. 458 There are no
limitations on the number of individuals who may be promoted to these positions.459 Testing for
POFC and Corporal occurs twice each year.460

       223) Competitive promotions are promotions for which there are a limited number of
positions.461 Officers compete for competitive promotions by taking a two-part promotional
exam.462 Officers first take the multiple choice examination.463 If they receive a passing score on
the multiple choice test, they advance to a skills assessment, which has both a written essay or
short answer component and a videotaped narrative component.464 Each officer’s score in the
exam process is ranked against other officers who took the test based on their performance, and
placed in rank order on a promotional list.465 The promotional list remains in effect for




455
    Graves Tr. 34-35 (July 1, 2020).
456
    Graves Tr. 35 (July 1, 2020); see also PG0000968054; Video Recording: Panel for Equality Meeting (April 17, 2017).
457
    Jennifer Flaig Deposition Transcript (“Flaig Tr.”) 37 (August 7, 2020).
458
    Graves Tr. 35 (July 1, 2020); Flaig Tr. 37 (August 7, 2020).
459
    Flaig Tr. 37 (August 7, 2020).
460
    Graves Tr. 38 (July 1, 2020); Flaig Tr. 22-23 (August 7, 2020).
461
    Flaig Tr. 37-38 (August 7, 2020).
462
    See generally PG0000968054; Video Recording: Panel for Equality Meeting (April 17, 2017).
463
    Flaig Tr. 38 (August 7, 2020).
464
    Graves Tr. 37 (July 1, 2020); Flaig Tr. 47-52 (August 7, 2020). In the videotaped portion of the test, officers may
be “dispatched” to a hypothetical incident, and would be “given information about what they see on the scene” to
which they need to verbally respond. Flaig Tr. 51-52; see also Graves Tr. 41-42 (July 1, 2020).
465
    Graves Tr. 37 (July 1, 2020).

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approximately two years, and as positions open up during that time period, officers will be
promoted in rank order.466

        224) The promotion exam process involves numerous parties both inside and outside
the Prince George’s County Police Department. The promotional exam itself is developed and
scored by a third-party consultant, ESCI (formerly called Fields Consulting), which was selected
by the main office of personnel for Prince George’s County.467 ESCI continually updates the exam,
striving to ensure that it is “job related” and “predictive or significantly correlated with important
elements of work behavior.”468 ESCI also goes to great lengths to ensure that the exams are
assessed in a fair and unbiased manner.469 All officers are provided with study materials for the
promotional exam in order to ensure that they have equal access to the material needed to
pass.470 In my experience, ESCI administers the “gold standard” in police promotional
examinations.

         225) The materials that ESCI uses to prepare its written examination are reviewed by a
“source review committee” within Prince George’s County Police Department.471 The source
review committee is composed of several higher-ranked individuals in the Department who are
vetted with the FOP,472 and it endeavors to makes sure that the information being tested and
documents used for the test are relevant to the promotional rank for which the test is
designed.473 For the skills portion of the test, ESCI consults with subject-matter experts—officers
operating in the rank for which the test is being developed—to ensure that the skills being tested
are skills relevant to and used on the job.474

        226) Officers may appeal their scores for both the competitive and non-competitive
promotion tests to the Prince George’s County Office of Human Resources & Management.475
The appeal process is governed by the collective bargaining agreement between the officers’
union, FOP 89, and the County.476 Appeals are reviewed by the Joint Appeal Board, which is
comprised of three members of the FOP holding the rank of Sergeant and/or Lieutenant, and two
members of the Prince George’s County Police Department command staff selected by the Chief
of Police.477




466
    Graves Tr. 37-38 (July 1, 2020). Testing for competitive promotions occurs in even-numbered years (2016, 2018).
Flaig Tr. 22-23 (August 7, 2020).
467
    Graves Tr. 40, 59-62 (July 1, 2020); Flaig Tr. 9-10 (August 7, 2020).
468
    ESCI000860.
469
    Flaig Tr. 63-70 (August 7, 2020).
470
    Flaig Tr. 96-97 (August 7, 2020).
471
    Graves Tr. 44 (July 1, 2020).
472
    Graves Tr. 82-83 (July 1, 2020).
473
    Graves Tr. 44 (July 1, 2020).
474
    Flaig Tr. 59-60 (August 7, 2020); see also ESCI000856.
475
    Flaig Tr. 38 (August 7, 2020); see also ESCI000856.
476
    CBA, Article 14 (see, e.g., PG0000000531).
477
    CBA, Article 14.

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        227) The promotion process overall is also examined by the “Joint Study Committee,”
a committee comprised of representatives from both the Department and the FOP.478 This
committee meets at least quarterly, though usually more often, and makes recommendations
regarding improvements that could be made to the promotional process. For example, the
committee has addressed whether to change the dress code for the exam,479 and whether to
allow test takers to use computers on the written exam.480

        228) Officers who may be up for promotion but who are under investigation for an
infraction which could lead to a serious disciplinary action (including discharge or demotion) will
have their promotion held in abeyance pending resolution of the investigation.481

        229) Promotions for higher level ranks, beginning with Major, are not made based on
a promotion list or test.482 Ranks at the level of Major and above are considered “Executive Level
Positions” within the Department.483 Such positions are made by appointment of the Chief, and
are subject to the approval of the County Executive or the County Chief Administrative Officer.484
In practice, the Deputy Chiefs and Assistant Chief engage in a review of all officers at the Captain
level to evaluate their qualifications for the position of Major, and make a recommendation to
the Chief about who to choose for a vacant Major position.485 Ultimately, as required by law, the
Chief makes the final decision about who is promoted to Major, subject to the approval of the
County Executive or the County Chief Administrative Officer.486

      A. Contrary to His Assertions in the First Amended Complaint, Plaintiff Paul Mack Did Not
         Test High Enough to Be Promoted to Lieutenant During the 2016 Promotional Cycle

        230) Paragraph 131 of t First Amended Complaint alleges that “[i]n 2016, Sergeant
Mack tested to be promoted to Lieutenant. He received a high ranking, within the promotional
range of openings but he was not promoted.” Paragraph 132 goes on to allege that “[i]n 2018,
Sergeant Mack again tested to be promoted to Lieutenant. Three White male officers—Steven
Cobb, James Rogers, and William Gleason—who ranked lower than Sergeant Mack and another
Officer of Color, were promoted to the position of Lieutenant. Instead of promoting Sergeant
Mack, [the Department] allowed the remaining Lieutenant position to stay vacant.” In my
opinion, this complaint reflects Plaintiff Mack’s misunderstanding of the promotional process.

       231) Plaintiff Mack took the 2016 exam to be promoted to Lieutenant. After the
consolidation of his written and skills assessment scores, he ranked 39th on the promotions list


478
    Id.
479
    PG0000956406-956407.
480
    PG0000956324-956325.
481
    Graves Tr. 46-47 (July 1, 2020).
482
    Graves Tr. 98-99 (July 1, 2020).
483
    Prince George’s Cty. Code § 16-102.
484
    Prince George’s Cty. Code § 16-148(a)(7).
485
    Video Recording: Panel for Equality Meeting (June 13, 2017).
486
    Prince George’s Cty. Code § 16-148(a)(7).

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(eligibility register).487 The 2016 lieutenant eligibility register expired on February 26, 2018, 60
days before the next scheduled promotional exam in 2018.488 The last set of promotions off of
the 2016 eligibility register occurred on February 25, 2018.489 On that date, the day before the
eligibility register expired, five sergeants were promoted to lieutenant. Among them was Sonya
Lancaster (Zollicoffer), one of the plaintiffs in this action.490 The last sergeant promoted off of the
list was Thomas Denault, who ranked 36th.491 Plaintiff Mack did not get promoted because he
did not in fact test high enough to be promoted off of the 2016 eligibility register before it
expired.

         232) Plaintiff Mack suggests that he should have been promoted off of the eligibility
register to a permanent position as a lieutenant, in lieu of certain sergeants being placed into
acting lieutenant positions. What Plaintiff Mack fails to recognize, however, is that a vacancy at
the lieutenant position can only be filled through a promotion off of the currently active eligibility
register if there has been approval by the Office of Management & Budget (“OMB”) to
permanently fill the vacancy.492 Therefore, if OMB has not approved enough, or all, of the
vacancies, then certain individuals will not be promoted off of the eligibility register, as was the
case with Plaintiff Mack in 2016.493 In light of Plaintiff Mack’s ranking on the eligibility register
and the number of vacancies approved by OMB by the end of the 2016 promotional cycle, there
is a reasonable and justifiable explanation for why Plaintiff Mack was not promoted to lieutenant.
In my opinion, this is a nearly universal practice by police agencies nationwide.


      B.   Plaintiff Perez’s Failure to Earn a Promotion to Major Does Not Indicate Retaliation or
           Discrimination.

        233) Mr. Graham’s Report seems to imply that the Department’s failure to promote
Plaintiff Perez to Major is evidence of retaliation. Mr. Graham does not cite, and I have not seen,
any evidence which indicates that Plaintiff Perez’s failure to earn a promotion was based on
retaliation or discrimination.

       234) As described above, officers in the Department qualify for promotion to the ranks
of Captain and below by taking a promotional exam. There is no promotional exam for the rank
of Major. Instead, all Captains are considered for promotion to the rank of Major when the
Deputy Chiefs and Assistant Chief review eligible officers to make a recommendation to the Chief
about officers to appoint.

        235) In my experience, it is difficult for an officer to earn a promotion to Major, as
officers must show a high level of leadership ability in order to be promoted to the highest ranks

487
    PG0000043394-43396.
488
    Id.
489
    PG0000080783.
490
    Id.
491
    Id.
492
    PG0000171546; PG0000171622; PG0000171629-171631.
493
    Id.

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of a department. Officers will not advance to Major merely because they have passed a test or
have served in their currently rank for a certain amount of time. Not all officers possess the
necessary skills for such a promotion. Some officers will remain at the rank of Captain if they do
not possess the skills necessary to be a Major.

      236) In addition, the higher an officer goes in rank, the caliber of the officers they are
competing with is higher as well. Often, even those Captains doing a good job are eclipsed for
promotion by those Captains that are performing at a superior level.

       237) In my opinion, Mr. Graham does not point to any reason to believe that Plaintiff
Perez’s failure to earn a promotion was based in retaliation or discrimination.


   PART 4.     THE DEPARTMENT MAKES TRANSFERS REASONABLY AND FAIRLY WITHOUT
               RACIAL BIAS AND WITHOUT RETALIATION

      238) Under the County Code of Prince George’s County, the Chief is directed to create
bureaus and divisions, and officers must transfer among those bureaus and division as needed.
The County Code of Prince George’s County, Maryland Sec. 18-144. (entitled “Assignment of
employees; transfers”) states:

               (a) The Chief of Police shall create and maintain such bureaus and divisions as are
                   necessary for the proper functioning of the Police Department subject to
                   approval by the County Executive. He shall assign by order competent police
                   and civilian employees of any rank or classification which he deems proper to
                   command and administer these bureaus and divisions.

               (b) The Chief of Police shall assign commissioned officers, noncommissioned
                   officers, and officers to such duties as he deems proper for the efficient
                   functioning of the Department, unless such assignments are otherwise
                   established in accordance with law.

               (c) All employees of the Department shall be subject to transfer from one area to
                   another or from one bureau or division of the Department to another, at the
                   direction of the Chief of Police, unless such direction is otherwise limited in
                   accordance with law.

       239) When joining the Department, recruits have signed a memoranda issued by the
Prince George’s County Government Office of Personnel and Labor Relations, which states that
among other “career considerations,” recruits should evaluate the following:

       As a police officer, you may be assigned to work in any part of Prince George’s County.
       You will be required to perform shift work, including rotating day, evening and midnight
       shifts. On occasion you will be required to work unscheduled overtime, and you will have

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       to attend court to testify on your normal day or on a day where you are scheduled to
       work the evening or midnight shift. You will be compensated for shift work, overtime and
       court time; however, you must expect these occurrences if you accept employment.494

       240) Performing regular transfers is a best practice to enable officers’ career
development and improve the efficiency and effectiveness of a department’s operations, and
they are necessary to carry out the Department’s mission. In a large police agency such as Prince
George’s County Police Department, transfers and temporary duty assignments are often
necessary and occur with regularity.

        241) Chief Stawinski properly oversaw a “deliberative process involving leadership at
various levels” for transfer decisions.495 Throughout the year on an as needed basis, members of
the Executive Command Staff (the Chief, Assistant Chief, and Deputy Chiefs) meet to assess
staffing needs and fill officer vacancies. The Chief’s Chief of Staff also attends and provides input
in many of these deliberations. At the end of the deliberations, the Office of the Chief publishes
a document referred to department wide as the "transfer list," which ranges from a handful to
over one hundred transfers in a given period.496

       242) The Executive Command Staff has been composed of diverse officers. From 2015
to present, the Executive Command Staff has included: (1) Hector Velez (H), the current Chief,
who was also formerly part of the Executive Command Staff as Assistant Chief ; (2) Craig Howard
(B), who has served as Assistant Chief; and (3) Hank Stawinski (W), George Nader (W), Gevonia
Whittington (B), Christopher Murtha (W), George Nichols (B), Samir Patel (A), Raphael Grant (B),
Melvin Powell (B), Jacqueline Rafterry (W), Robert Harvin (B), and Genia Reaves (B), who have all
served as Chiefs, Deputy Chiefs or Acting Deputy Chiefs. 497

        243) Based on my expert experience, I know that the Prince George’s County Police
Department command staff must juggle various moving pieces to construct a staffing
arrangement that best serves the needs of the Department and the communities it serves. Also
based on my expert experience, many factors inform transfer decisions, including the location of
current vacancies; officer experience and performance; effectiveness of command pairings,
departmental priorities and crime trends; needs and preferences of each bureau;
recommendations from division or unit supervisors; and, in some cases, the needs and
preferences of the officers involved. These different inputs must be evaluated by the Command
Staff for the Department to function.

        244) The bulk of transfers occur in tandem with promotions in most police
departments, including Prince George’s County Police Department. Promotions almost always
result in the transfer of the promoted officer to fill vacancies throughout the agency. Transferring

494
    PG0000069307.
495
    Stawinski Tr. 19 (July 31, 2020).
496
    PG0000432807-0000432810; PG0000107666.
497
     “Prince George’s County Police Department Select Leadership Assignments” Roster; Excel Workbook,
“Retirements and Separations Roster” (2016-2020).

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a newly promoted employee promotes career development and avoids having promoted officers
supervise members of the department who were their peers the previous workday. This has
been the practice of police agencies, especially larger ones, across the nation for generations,
and is considered a best practice.

       245) In any department the size of Prince George’s County Police Department, some
transfers occur at the division or district level without going through the executive-level
deliberations. For example, within Prince George’s County Police Department, the Commander
of a patrol district or a division has authority to transfer an officer from one shift or team to
another.498 As with the transfers discussed above, many factors can go into the decision to
reassign an officer within a division, district, or bureau.499

         A.       Perez’s transfer was not retaliatory.

       246) Mr. Graham’s Report appears to claim that Plaintiff Perez’s transfer from IAD to
the Planning and Research Division was retaliation for his various complaints. The timeline does
not bear this out.

        247) Although Plaintiff Perez was told he was being transferred on October 21, 2016,
the transfer was planned far in advance. The Department had initially planned to transfer
Plaintiff Perez in February 2016.500 As frequently happens in my experience, that transfer was
delayed. The Department began planning another round of transfers set for October 2016, and
Plaintiff Perez’s name was placed again on the draft transfer list by at least October 2, 2016.501
The planned transfer long pre-dates Plaintiff Perez’s revelations on or around October 21 and
October 24 that he had filed complaints against the Department. Although the Department was
not aware of the DOJ complaint which Plaintiff Perez alleges was filed in March, even if it had
known of the alleged complaint at that time, it had been planning his transfer for at least a month
before the complaint was allegedly filed. Further, although Mr. Graham’s Report notes that
Plaintiff Perez was transferred to a division under Major William Alexander, against whom he had
previously made complaints, there is no evidence that the individuals planning Plaintiff Perez’s
transfer had any knowledge of those complaints.502

        248) In my experience, transfers such as Plaintiff Perez’s are commonplace and
necessary to the running of a police department. Plaintiff Perez had been in IAD for over six
years, and this is an unusually long time for an executive to be in the same job assignment. As
former-Chief Stawinski has testified, it is important that all officers receive well-rounded

498
    In his deposition, Chief Velez testified that “very rare[ly] do we have a meeting about a transfer into a specific
specialty unit.” Hector Velez Deposition Transcript (“Velez Tr.”) 39 (July 15, 2020).
499
     In some cases, division commanders, district commanders, or bureau chiefs may circulate or announce
assignment changes just within their divisions, districts, or bureaus. Chief Velez testified that a particular commander
has to “accept [a] person. You know, that person will -- that commander will look at that person's qualifications and
things like that.” Velez Tr. 40 (July 15, 2020).
500
    PG0000153768; PG0000153829.
501
    PG0000970332-970356.
502
    Perez Tr. 79-82 (July 30, 2020).; Stawinski Tr. 130-131 (July 31, 2020).

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experience so that if a vacancy occurs in the Department, many individuals have the experience
necessary to fill that role.503 I agree with Chief Stawinski, and it is my opinion that it was beyond
time for Plaintiff Perez to be transferred to another assignment.

       B.    Corporal Michael Anis Was Not Discriminated Against in Connection with His
Transfer Requests

        249) Michael Anis claims that the Department failed to transfer him to positions in
various specialty units due to discriminatory animus, after he submitted transfer requests in
response to departmental transfer announcements.504 He further claims that the Department did
not indicate why he was not selected for those transfers. In fact, the Department never actually
transferred anyone in connection with certain of these announcements, and Plaintiff Anis
withdrew himself from the evaluation process in several other instances. For additional
transfers, the Department selected candidates who were more qualified and/or performed
better than Plaintiff Anis in the evaluation process. In fact, for a number of the transfers about
which he complains, the Department selected Black officers instead of Plaintiff Anis. In my
opinion, this serves to undercut Mr. Graham’s suggestions of animus against minority officers
generally.

        250) By way of example, Plaintiff Anis claims that he was not selected for transfer to
the Department’s Marine Unit in 2015, but there was in fact no available vacancy in that unit for
any officer to fill. Plaintiff Anis has acknowledged that no one was selected to transfer into the
Unit at that time.505 While he also claims that he was not selected for the National Harbor Unit
in connection with a 2017 transfer request, Plaintiff Anis himself elected not to interview for the
position, asking to be removed from consideration via an email to Sergeant Benjamin of the
National Harbor Unit.506 Further, in connection with the 2019 transfer request for the Conflict
Negotiation Division, the Department selected candidates based on their scored performance in
negotiation scenarios. Plaintiff Anis performed poorly and received a low score, ranking 10th out
of 11 candidates. The three highest-scoring candidates that the Department actually selected for
transfer (officers Jacob, Wellington, and Jenkins) were Black. 507

       251) Overall, nothing in this example indicates discriminatory practices involving
transfers by the Department.

      C.     Plaintiff Thomas Boone’s Transfer Was Not Retaliatory

        252) Plaintiff Boone alleges that his transfer to Patrol, District II was made in retaliation
for his involvement in filing the complaint with the United States Department of Justice508 Mr.

503
    Stawinski Tr. 123-126 (July 31, 2020).
504
     Excerpts of Plaintiff Anis’s Third Supplemental Responses and Objections to Defendants’ First Set of
Interrogatories, Interrogatory No. 6, pp. 152-155.
505
    Michael Anis Deposition Transcript (“Anis Tr.”) 67-68 (August 13, 2020).
506
    PG0000425817.
507
    PG0000987395 (Negotiator School Ratings).
508
    Plaintiffs’ First Amended Complaint, ¶ 33 [ECF 51].

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Graham asserts that Plaintiff Boone was transferred when he “complained of conduct (including
racist and other unprofessional conduct) by white officers,” but he does not identify which
complaints Boone brought that purportedly led to any alleged retaliation.509

        253) My opinion is that Plaintiff Boone was properly transferred based on the
legitimate needs of the Department following his unwillingness to properly perform his job duties
under a female supervisor. In November 2017, Lieutenant Charmaine Harvin, a Black female,
was transferred to the Bureau of Administration as Plaintiff Boone’s supervisor. On January 19,
2018, Lieutenant Harvin issued Plaintiff Boone a Performance Assessment Form (“PFA”), which
is a mid-cycle counseling form issued prior to the official yearly Past Performance Appraisal
(“PPA”). That January 19, 2018 PFA noted Plaintiff Boone’s failure to meet deadlines, missing
interviews and work information, issues with properly supervising his subordinates, and his
overall inadequate management of case files.510 On May 30, 2018, Harvin also issued a response
to Plaintiff Boone’s rebuttal of her January 19, 2018 Performance Assessment Form, further
supporting her position.511 Harvin’s counseling form was issued in accordance with Department
policies regarding performance reviews.

        254) Lieutenant Harvin also documented several additional performance-based issues
with Plaintiff Boone, including his failure to meet deadlines and errors in reporting on his cases.512
Harvin also cited Plaintiff Boone’s AWOL offenses in several emails and discipline forms.513
Notably, Boone conceded in his deposition testimony that he did not believe Harvin retaliated
against him.514

       255) Furthermore, Plaintiff Boone utilized the four-step grievance process available to
him, and his grievances were ultimately denied.515 Since he had a split PPA between two
supervisors that supervised him between May 2017 (Lieutenant Rivera) and May 2018
(Lieutenant Harvin), Lieutenant Rivera’s score increased the overall total when the scores were
averaged. The increase, however, was not a result of any changes to Harvin’s assessments;
instead, the Hearing Board made the decision to factor both scores.516

       D.      Plaintiff Sonya Zollicoffer’s Transfer Was Not Retaliatory

      256) Graham also describes Plaintiff Zollicoffer’s transfer as retaliatory and prompted
by her complaint(s) of conduct by white officer(s). 517 Again, Mr. Graham’s Report makes

509
    Graham Report, ¶ 144(c), p. 137-138.
510
    Harvin Performance Assessment Form, PG0000158533-158534; Thomas Boone Deposition Transcript (“Boone
Tr.”) 147-148 (August 6, 2020).
511
    PG0000158525-158528.
512
    PG0000103774-103777.
513
    PG0000939401-939402; PG0000939403-939404; PG0000103846; PG0000939361-939362; Boone Tr. 207-212
(August 6, 2020).
514
    Boone Tr. 57 (August 6, 2020).
515
    PG0000939374-939379; Boone Tr. 184, 193-194, 199 (August 6, 2020).
516
    PG0000939378-939379.
517
    Graham Report, ¶ 144(b), pp. 136-37.

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assertions that are inaccurate and misleading. Mr. Graham’s description of Plaintiff Zollicoffer’s
transfer begins by stating that she and her supervisor, Major Kathleen Mills, had multiple
disagreements.518 While disagreements are certainly common and sometimes healthy up and
down the chain of command, they do not violate rule or law.

        257) Specifically, Mr. Graham’s Report highlights the IAD cross-complaints involving
Plaintiff Ingram and Officer Michael Rushlow regarding an encounter between the two in
February 2017.519 Major Mills and Plaintiff Zollicoffer disagreed on whether Plaintiff Ingram
should be charged as well as Officer Rushlow.520 However, during her deposition, Plaintiff
Zollicoffer testified that she never spoke to Major Mills about her disagreement with Mills’
decision to charge Plaintiff Ingram.521

        258) It should be noted that Officer Rushlow’s filing of a cross-complaint is not
uncommon in these types of cases. In my professional experience, I have observed that
individuals who have complaints filed against them often feel that in order to have their voice
heard, they need to file a complaint as well. If Officer Rushlow believed that Plaintiff Ingram
violated protocol during their interaction, he had the same right to file a complaint as Plaintiff
Ingram did. The supervisors in IAD understood this and advised Plaintiff Zollicoffer to include
Officer Rushlow’s complaint in the case and make Plaintiff Ingram a co-respondent.522 Plaintiff
Zollicoffer disagreed with this decision, but regardless, the order by IAD leadership to accept
Rushlow’s complaint was proper. Plaintiff Zollicoffer also disagreed with the decision to sustain
charges against Plaintiff Ingram, and advised two of her superiors about her disagreement,
neither of whom are Major Mills.523 It should also be noted that Rushlow did face a sustained
charge and accepted his discipline.524 Ultimately, Plaintiff Ingram was not disciplined.525 The
case was properly handled at all levels of IAD.

       259) The reality of Plaintiff Zollicoffer’s transfer is that it began with her voluntary
competition for the rank of Lieutenant. She scored well enough in the promotional process to
be promoted in February 2018 while she held the position of Sergeant in IAD.526 As a new
Lieutenant, she was soon reassigned to a district station. This is a common practice in police
departments and can be a positive action for two reasons, among others:

                 i)     A newly promoted officer should not have to supervise and direct
         subordinates who were peers as recently as the previous week. An officer becoming
         accustomed to a new role and rank is better set up for success with a newer or less
         familiar work group.

518
    Graham Report, ¶ 144(b), p. 136.
519
    Graham Report, ¶ 144(b), p. 136.
520
    Sonya Zollicoffer Deposition Transcript (“Zollicoffer Tr.”) 124 (July 24, 2020).
521
    Zollicoffer Tr. 123 (July 24, 2020).
522
    PG0000188792.
523
    Zollicoffer Tr. 124, 128 (July 24, 2020).
524
    PG0000012939-129340.
525
    PG0000012933.
526
    Zollicoffer Tr. 19 (July 24, 2020); PG0000104778-104780.

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                ii)    The Patrol Bureau is the area where the great majority of police policy,
        strategies, and administrative skills are put into daily practice. It’s also where most of the
        personnel are assigned because two of the basic missions of any police department,
        response to calls for service and community outreach, occur there. Placing a newly
        promoted officer in Patrol provides that officer with the opportunity to learn the
        fundamental objectives from his or her new position. This betters the officer while
        bettering the Department.

        260) Contrary to page 137 of Mr. Graham’s Report, Plaintiff Zollicoffer’s specific
request to stay in IAD was in fact made prior to her promotion. Accordingly, Plaintiff Zollicoffer
testified during her deposition that the Department sought to transfer her to Risk Management
prior to and unrelated to her promotion, and at that time she requested to stay in Internal
Affairs.527 While it is true that she had requested and was allowed to stay in IAD after being
notified of a possible transfer, that changed once she advanced in rank.

       261) Mr. Graham fails to highlight that Major Mills, as the commander of IAD since
2016, had transferred officers out IAD upon promotion for the purpose of Career
Development.528 Major Mills was assigned to IAD in August 2016 and implemented this
preference since that time, which was prior to Plaintiff Zollicoffer’s promotion in 2018.529

        262) More importantly, Major Mills was not part of the discussions surrounding
Plaintiff Zollicoffer’s assignment to the Bureau of Patrol, District VII.530 Prior to the reassignment,
Assistant Chief Hector Velez informed Plaintiff Zollicoffer that she was going to be transferred to
the Bureau of Patrol.531 At that time, Plaintiff Zollicoffer did not request to stay in IAD,532 but
instead requested to go to District VI instead of District VII.533

        263) In March 2018, Plaintiff Zollicoffer’s transfer to the Bureau of Patrol, District VII
was listed on the Department’s published transfer list.534 After the transfer was published, it was
noted that the Lieutenant opening in District V was not the best alternative option for Plaintiff
Zollicoffer, because Officer Glen Caradori was assigned there, and Plaintiff Zollicoffer had accused
Caradori of sexual harassment in 2001 when they were assigned to District IV.535



527
    Zollicoffer Tr. 59-60 (July 24, 2020).
528
    PG0000071573.
529
    Id.
530
    PG0000950937.
531
    PGPD-ZOL-0005594.
532
    Zollicoffer Tr. 58-59 (July 24, 2020).
533
    PGPD-ZOL-0005594-95. Additionally, Plaintiff Zollicoffer did not provide any documentation in support of this
until March 20, 2018, when she sent then-FOP President John Teletchea a note from her doctor stating that she
would benefit from working daytime hours because she
PG0000968412-968413.
534
    PG0000163044-163047.
535
    PG0000162977.

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        264) Lastly, Plaintiff Zollicoffer identified two officers, Kyle Bodenhorn and Curtis
Lightner, who received promotions while assigned to IAD and were not immediately transferred
out of IAD. Mr. Graham’s Report suggests that the fact that these individuals were not
immediately transferred indicates an ulterior motive on the part of the Department regarding
Plaintiff Zollicoffer’s transfer. However, Kyle Bodenhorn was promoted to Sergeant on January
10, 2016, and Curtis Lightner was promoted to Lieutenant on January 11, 2014.536 As noted
above, Major Mills did not become the Commander of IAD, and thus her preference for transfer
upon promotion was not implemented, until August 2016.537

       265) Finally, it is a common and well-known practice to transfer someone upon
promotion to an executive position. It is also an industry standard to ensure that all those in
executive ranks get patrol experience, at the rank of Lieutenant and Captain especially.

       E.      Corporal Chris Smith’s Reassignment Was Not Retaliatory

         266) According to Mr. Graham’s Report, in October and December 2015, Plaintiff Chris
Smith complained to Lieutenant Vondell Smith that Plaintiff Smith’s colleagues had created a
racially hostile environment by disparaging Black members of the community, and that
Lieutenant Smith took no action. Mr. Graham claims that in March 2016, Plaintiff Smith was
involuntarily transferred to the Patrol Bureau, a transfer that Plaintiff Smith believed was
retaliatory in response to his prior complaints. Mr. Graham further claims that in June 2016,
Sergeant Darryl Kries gave Plaintiff Smith a poor performance evaluation after Plaintiff Smith had
complained to him about the racist environment on the team. The Report’s characterization of
Plaintiff Smith’s March 2016 reassignment contains numerous inaccuracies, omits key facts, and
is contrary to record evidence. Based on my experience and a review of the available evidence,
it is my opinion that Plaintiff Smith’s March 2016 reassignment back to regular patrol duties was
not retaliatory or discriminatory.

        267) Plaintiff Smith was assigned to District II Patrol from 2013 to January 2019. He
was selected for the District II Special Assignment Team (“SAT”) in March 2015, and was
reassigned back to regular District II patrol duties in March 2016, after he failed to correct various
deficiencies in his performance. Contrary to Mr. Graham’s claims, Plaintiff Smith’s March 2016
reassignment back to regular patrol duties was not a transfer, as Plaintiff Smith remained in
District II of the Patrol Bureau before, during, and well after his tenure on the District II SAT team.

        268) During the year that Plaintiff Smith was detailed to the SAT, his supervisor,
Sergeant Darryl Kries, counseled him multiple times regarding his deficient performance. For
example, Kries had to counsel Plaintiff Smith regarding the proper method for conducting
suspicious person stops, submitting property, maintaining his issued equipment, following
through on police actions, failing to appear at court, and misplacing his court summons.538 While
on the SAT, Plaintiff Smith was also counseled and disciplined for failing to properly search a

536
    PG0000080771; PG0000080760.
537
    PG0000080911.
538
    PG0000006862-6863.

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prisoner before transport. It was subsequently discovered that the prisoner had concealed a .25
handgun on his person.539 In addition to the counseling from Kries, Lieutenant Vondell Smith
and Lieutenant Thomas Calmon also counseled Plaintiff Smith about his poor performance, and
Lieutenant Smith warned Plaintiff Smith that he risked reassignment off the SAT unless his
performance improved. In March 2016, as a result of Plaintiff Smith’s failure to improve his
subpar performance, and after being counseled multiple times to do so, the Department
reassigned Plaintiff Smith back to regular patrol duties. He was informed that, should his
performance improve, he might be considered for the SAT again in the future.

        269) Although Plaintiff Smith disagreed with Kries’ assessment of his performance, he
admitted that he was in fact counseled for a number of the aforementioned performance issues
in a rebuttal Plaintiff Smith submitted around June 5, 2016, in which he argued that he deserved
a better performance appraisal score.540 While Plaintiff Smith alleged that he felt like an outcast
on the SAT, his rebuttal did not mention discrimination, harassment, discriminatory comments
made by anyone, or retaliation. And, Plaintiff Smith submitted this statement after Sergeant
Kries had already completed and provided Plaintiff Smith with his performance appraisal for the
period from June 2015 to June 2016. Kries submitted a memo on July 7, 2016 in response to
Plaintiff Smith’s rebuttal, in which Kries provided additional details and examples of Plaintiff
Smith’s subpar performance while on the SAT.541

        270) Mr. Graham’s Report does not account for any of Plaintiff Smith’s documented
performance issues while on the SAT, or cite to any other contemporaneous documents. Instead,
Mr. Graham’s Report assumes as true Plaintiff Smith’s unsupported allegations that he reported
the allegedly “racist environment” on the SAT team to Lieutenant Vondell Smith, Plaintiff Smith’s
Black supervisor.

        271) The Graham’s Report’s suggestion that Plaintiff Smith’s March 2016 reassignment
was retaliatory for his alleged complaints is unsupported by the record. Aside from the
overwhelming evidence that shows that Smith was reassigned due to his poor performance, the
decision-makers who unanimously agreed to reassign Plaintiff Smith in March 2016 had no
knowledge of the alleged complaints of racial hostility. As Plaintiffs’ complaint concedes,
Lieutenant Vondell Smith had already transferred out of District II by the time the decision was
made to return Plaintiff Smith to regular patrol. Sergeant Kries, Lieutenant Calmon, Captain
Mistinette Mints, and Major Steven Yuen, collectively, made the decision to reassign Plaintiff
Smith—and none of them were aware of Plaintiff Smith’s alleged conversations with Lieutenant
Vondell Smith. Plaintiff Smith alleges that he complained about discrimination, harassment, and
retaliation on other occasions, aside from his alleged conversation with Lieutenant Smith in the
fall of 2015, but all of these alleged complaints occurred after Plaintiff Smith was already
reassigned. Therefore, these complaints cannot be the basis for a claim that Plaintiff Smith was
reassigned in retaliation for making such complaints.


539
    PG0000006912.
540
    PG0000006868-6870.
541
    PG0000006866-6867.

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           F.        Plaintiff Patrick McClam’s Transfer Was Not Retaliatory

        272) In January of 2016, Plaintiff McClam was transferred from the Forensic Science
Division (“FSD”) as a DNA Intake Officer to the Bureau of Patrol as a School Resource Officer
(“SRO”) in District III.542 The DNA Intake Officer position was eliminated, because FSD needed to
fill the Firearms Examiner position.543 Mr. Graham’s Report claims that this transfer was
retaliatory due to Plaintiff McClam allegedly: (1) witnessing the director of the DNA lab making
racist and sexist statements about minority female lab employees; (2) encouraging those
employees to file a complaint; and (3) cooperating with the related EEOC investigation.544 Mr.
Graham’s Report is again flawed in its conclusions.

        273) The position that Plaintiff McClam occupied in FSD was eliminated. In my
experience, this is a routine occurrence in police departments across the country, and is often
done when a department identifies the need for a position that is determined to be of a higher
priority. Here, the Department’s need for a Firearms Examiner in FSD was determined to be a
greater need, and the DNA Intake Officer position was eliminated.

       274) Further, Plaintiff McClam was reassigned to another specialty position, to serve as
the SRO in District III’s Community Oriented Policing Service. The SRO’s normal work schedule
would be daywork hours, Monday through Friday.

        275) Mr. Graham also references other transfers that he claims were used to punish
Plaintiff McClam. These other reassignments occurred as part of Plaintiff McClam’s promotion.
Plaintiff McClam was promoted to the ranks of sergeant in September of 2017, and to lieutenant
in November of 2018.545 He was promoted to the rank of sergeant with 10 other officers; at that
time, Plaintiff McClam was transferred to the Bureau of Patrol, as were at least three of the
officers promoted to lieutenant, and 10 other officers who held the position of sergeant. This
was a common and comprehensive reassignment that occurs regularly with the promotions,
retirements, and other personnel movements that large law enforcement organizations
coordinate, often more than once in a 12-month period.546 It is routine to be transferred when
promoted to the rank of sergeant and lieutenant, and to all executive ranks within the
Department.

      G.        Plaintiff Richard Torres’s Transfer Was Not Retaliatory

       276) Plaintiff Torres alleged that he was transferred for reporting that his supervisor,
Sergeant Joseph Bunce, (A) texted to him an alleged racial slur (the letters “NECA,” as described
above), and (B) allegedly made a derogatory remark about a Bladensburg resident. Plaintiff
Torres first showed the text to his supervisor Captain Melvin Powell and complained about the

542
    PG00000787026; PG00000787059; PG00000787069; PG0000090339.
543
    PG00000209599; PG00000335688.
544
    Graham Report, ¶ 143(d), p. 129.
545
    PG0000080777; PG0000080790.
546
    PG0000080777-80778; PG0000787038-787039.

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remark roughly six months after the text was sent—on the very day Powell met with Torres to
advise him that he would be transferred for multiple performance issues.547

        277) Mr. Graham’s Report cites the transfer of Plaintiff Torres as an example of a
minority officer transferred after he “filed a complaint or cooperated in an investigation of a
white officer.”548 Mr. Graham bases this interpretation on only partial and improperly-skewed
facts. The record evidence shows that Torres was transferred as a result of multiple performance
issues in 2015 and 2016, for which he had been counseled. Mr. Graham ignored all of these facts
in his analysis.

       278)    Plaintiff Torres was counseled for several performance issues. For instance:

           •   In March 2015, Sergeant David Thompson counseled Plaintiff Torres for making an
               improper notification to his supervisor, leaving his division without proper staffing
               coverage.549

           •   On May 2, 2016, Sergeant Bunce and Lieutenant Robbie Loveday held a counseling
               meeting with Plaintiff Torres, stressing that he needed to improve his
               performance if he were to remain assigned to the Regional Investigation Division
               (“RID”). Among other things, they noted that Plaintiff Torres “does not follow up
               with his investigations in a timely manner.”550

           •   In late November, Lieutenant Jordan Swonger and Sergeant John Rodriguez
               counseled Plaintiff Torres on multiple mistakes, including the fact that in
               responding to a “contact shooting,” Torres improperly released someone with an
               open warrant from police custody, after failing to verify his identity.551

       279) Sergeant Bunce and Lieutenant Swonger raised concerns about Plaintiff Torres’
performance up their chain of command. Based on his poor performance—and Plaintiff Torres’
own admission of “laxed” performance to Captain Powell—Captain Powell, Major David Renner,
and Deputy Chief Samir Patel concluded that it was appropriate that Plaintiff Torres be
transferred.552 After review and deliberation by the Executive Command Staff, Torres was
transferred to Patrol, District II. He was notified of his transfer on December 28, 2016. 553

        280) Following his transfer, Plaintiff Torres’s position in RID was filled by Police Officer
First Class Alexander Gonzalez (H).554 Plaintiff Torres replaced Gonzalez on Patrol Squad 28,



547
    PGDOJ_NO9_00000000061.
548
    Graham Report, ¶ 144(a), p. 136.
549
    PGDOJ_NO9_00000000056.
550
    PGDOJ_NO9_00000000057.
551
    PGDOJ_NO9_00000000058.
552
    PGDOJ_NO9_00000000059; PGDOJ_NO9_00000000060; PGDOJ_NO9_00000000061.
553
    Id.
554
    PGDOJ_NO9_00000000062; PGDOJ_NO9_00000000064.

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District II. Gonzalez had applied and interviewed for an appointment to RID and was at the top
of RID’s active, internal selection list of officers to bring into the unit at the that time.555


       PART 5.       USE OF FORCE

       A. Background

        281) In the Report, Mr. Graham uses the fact that Prince George’s County Police
Department spent three years under a DOJ Consent Decree (2004-2007) and signed a MOA with
the Department of Justice to portray the current members of the Department in a negative light.
In fact, the Department successfully completed both the Consent Decree and the MOA, and
incorporated improvements that remain in place today.

         282) In 2013, then-Deputy Chief Stawinski was a contributor to a PERF publication,
“Civil Rights Investigations of Local Police Departments: Lesson Learned.” He is quoted:

            “Our Department was placed under a memorandum of understanding and consent decree
            in 2004, and after coming out on the other end, it was a very positive experience for us. I
            think the key is understanding, going into the process, that there are no cut-and-dried
            answers. As we negotiated with the Justice Department, DOJ didn’t say, ‘You have to do
            A, B, and C.’ Rather, they said, ‘You have to live up to certain Constitutional standards to
            policing in Prince George’s County while remaining effective. So that’s how we
            approached it. Every policy was custom-made and then approved by the independent
            monitors. The outcome was a greater degree of policy and practice clarity for our
            personnel, which we think is contributing to crime reduction. We fundamentally explain
            to our officers where the boundaries are on a variety of issues so they are able to
            aggressively fight crime while policing Constitutionally.” 556

       283) This philosophy of focusing on policing constitutionally while working on effective
crime fighting strategies clearly remained with Chief Stawinski as he continued to rise through
the senior ranks. During the years that Chief Stawinski led the department, Prince George’s
County saw a dramatic reduction in crime, while maintaining its commitment to safe policing and
appropriate force.


            B. Mr. Graham’s Misstatements about Uses of Force

       284) I have reviewed the use of force review data and documents discussed in Mr.
Graham’s Report, including EWS documents, EWS memoranda, and use of force review files. I
have interviewed IAD Commander James McCreary, whose team generated the use of force


555
      PGDOJ_NO9_00000000065; PGDOJ_NO9_00000000066.
556
      Critical Issues in Policing Series, Civil Rights Investigations of Local Police: Lessons Learned, PERF, p.11

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review dataset, and First Sergeant William Gleason, who leads Prince George’s County Police
Department’s use of force training and testifies nationwide as an expert on use of force.

       285) Mr. Graham’s Report distorts the data on use of force reviews, misstates the facts
with respect to the Department’s practices and investigations, and fails to mention the
impressive training and policies that the Department has created and maintained.

           286)   To summarize my conclusions:

      •    There were not 6,805 instances of force used by Prince George’s County Police
           Department officers in January 2016 through 2019.

      •    Under the Department’s policies, officers must report any resisted physical coercion, no
           matter how minor the contact is. This includes, for example, an officer who escorts or
           handcuffs someone resisting arrest, as well as someone who is passively resisting arrest.

      •    The Department’s use of force review matters, in fact, represent a tiny fraction of its
           actual number of contacts with members of the public.

      •    The Department’s use of force policies are fair and comprehensive, and they reflect
           many of the most progressive trends in the field of policing today. The Department has
           extensive use of force training, which incorporates leading guidance on ethical policing,
           de-escalation, and the duty to intervene.

      •    In reviewing and investigating uses of force, the Department follows its policies.

      •    A high number of “justified” use of force reviews is not a product of Prince George’s
           County Police Department “rubber-stamping.” This is a product of a well-trained police
           force—officers who know what force is reasonable, who use force appropriately, and
           who report the force when used.



           There are not 6,805 uses of force since January 2016.

       287) The use of force review dataset557 does not show 6,805 instances of force. Mr.
Graham mischaracterizes the use of force review data and ignores key facts in reaching his
conclusions.

       288) When IAPro generates a use of force review dataset, it creates a separate entry
for every involved officer matched up with every involved member of the public, regardless of

557
    PG0000985307. Mr. Graham fails to appropriately distinguish “use of force” issues. The dataset he relies on
reflects use of force review matters. In many circumstances, an IAD investigation is also opened into a use of force
case. This includes any serious injury or discharge of a firearm. To respond to Mr. Graham’s Report, I focus on the
use of force review data, but it should be noted that other files exist related to use of force.

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which officer used force against whom.558 So if three officers each arrested three people, but
only one officer used force against one person, there would automatically be nine entries in the
dataset associated with that case. This is evident on the face of the data, and it should have been
noted by Mr. Graham. In a use of force review case like 19-580, the dataset has 36 entries, which
clearly track the 9 officers and 4 members of the public at the scene of the incident. Mr. Graham
includes those 36 entries in his distorted count of 6,805, with no consideration of the facts of
these cases. In short, his numbers are multiplied.

         289) For further context, the Department assigns a use of force review number when
force is reported and creates a use of force review packet for that incident. At the start of another
year, the numbering resets, with the identifiers starting back at zero. For the relevant period,
the incidents in this dataset include (without considering missing case numbers):

         2016: 16-001, 16-002, 16-003 . . . up to 16-507;
         2017: 17-001, 17-002, 17-003 . . . up to 17-655;
         2018: 18-001, 18-002, 18-003 . . .up to 18-662; and
         2019: 19-001, 19-002, 19-003 . . .up to 19-878.559

        290) This is roughly 2,700 use of force review matters opened, which divides over four
years to roughly 675 per year. Mr. Graham’s Report does not explain this important distinction.



         Any resisted contact constitutes force, and all force must be reported.

        291) To legitimately analyze Prince George’s County Police Department’s use of force
policies and practices, it is essential to understand how the Department defines “force.”

        292) Prince George’s County Police Department’s use of force continuum begins with
low level control,560 and the Prince George’s County Police Department’s General Order Manual
defines “force” as “[a]ny physical coercion used to effect, influence, or persuade a subject to
comply with an order from an officer; the term shall include the use of chemical irritants and the
deployment of canine, but shall not include ordinary, unresisted handcuffing, or unresisted use
of the hobble strap and unresisted escort.”561 Prince George’s County Police Department’s
training guide plainly states:

         Officers shall notify their supervisors whenever force is used. A Use of Force review will
         be completed by a supervisor who did not use or order the force. Supervisors who witness



558
    Interview of IAD Commander James McCreary.
559
    Additionally, in the dataset, there are gaps in these numbers assigned to use of force reviews. For simplicity, I
have not outlined every single one.
560
    “Use of Force Training Guide 2015” (updated).
561
    GOM, Vol. II, Ch. 58, PG0000945352.

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       the force may write the force review. All force must be reported except un resisted
       escorts and un resisted handcuffing.562

        293) Put simply, Prince George’s County Police Department officers must report any
resisted physical coercion, no matter how minor the contact is. These requirements are in line
with best practices, and they demonstrate how seriously Prince George’s County Police
Department takes the issue of force. Mr. Graham’s Report ignores these facts entirely.

        294) Mr. Graham’s Report cites aggregated, inflated data but provides no information
about what that data shows or the context surrounding these cases. It helps to look at an
example of what “force” means. Take the use of force review case numbered 17-064.563 In that
case, Plaintiff McClam responded to fight involving multiple students in a middle school
gymnasium.564 While trying to separate the students, a student grabbed Plaintiff McClam from
behind, and Plaintiff McClam “used an open hand technique to push [the student] off him to gain
separation from [the student].”565 McClam then “continued to separate the individuals who were
fighting.”566 The student that McClam touched with his open hand “was not injured.”567 Plaintiff
McClam reported the force he used against this student, and a supervisor responded to the
scene. After gathering and reviewing the evidence related to this incident, the supervisor found
that the “amount of force used was in compliance of departmental policy.”568 The packet was
reviewed by Lieutenant Finn and Captain O’Lare (O’Lare signed for himself and the District
Commander); both concurred with the determination.569

        295) Mr. Graham tries to raise a number of “concerns” about use of force review
matters like this one, which is part of his inaccurate 6,805 statistic. Paragraph 98 of Mr. Graham’s
Report concludes that a “justified” determination like this one is merely a “rubber-stamp.”570 Mr.
Graham also characterizes Captain O’Lare’s signature on this case, for himself and the District
Commander, as “widespread non-compliance” with procedure. In fact, this is appropriate
delegation that is commonplace and even necessary in busy police districts. Finally, Mr. Graham
suggests that Lieutenant Finn’s concurrence in this review is rooted in discrimination, given that
he is involved in a high percentage of use of force review matters. Mr. Graham ignores the fact
that Finn was, for all four years, a Lieutenant in charge of District III, a populous patrol district
and the district with the most crime.571




562
    “Use of Force Training Guide 2015” (updated).
563
    PG0000161455-161465.
564
    Id.
565
    Id.
566
    Id.
567
    Id.
568
    Id.
569
    Id.
570
    Graham Report, ¶ 98, pp. 91-93.
571
    PG0000090287-90291; PG0000090938-90942; PG0000091148-91153; PG0000087035-87039; Excel Workbook,
“Data regarding Crime Statistics” (.xls).

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        The use of force review dataset shows that force is used in a small fraction of Prince
        George’s County Police Department police contacts.

       296) Policing, especially in busy patrol districts, requires interactions with the public. It
also requires traffic stops, person stops, and arrests—all of which are detentions (even if
temporary). As stated in Prince George’s County Police Department’s training guide:

        The use of force by law enforcement is a matter of critical concern both to the public and
        the law enforcement community. Officers are involved on a daily basis in numerous and
        varied encounters with people, and when warranted to do so, may use force in carrying
        out their duties. This Department recognizes and respects the value of human life and
        dignity. Vesting officers with authority to use force to protect the public welfare requires
        a careful understanding of the limitation of this authority. Officers are held to a high
        standard to protect the civil rights of individuals they encounter.572

        297) The number of use of force reviews must be analyzed alongside the number of
contacts with the public. In all four years, 2016 through 2019, there were roughly 115,000 traffic
stops and arrests made by Prince George’s County Police Department officers each year.573 Even
just using this limited set of public contacts, this means .6% of contacts each year resulted in a
use of force review matter, by rough estimate (using 675 per year, as discussed above). Even
accepting Mr. Graham’s incorrect count of “1,700 uses of force per year” in paragraph 86 of the
report, this would constitute roughly 1.5% of contacts. Based on my experience, this small
fraction of use of force reviews is consistent with good practices and with police departments in
this area.

        Prince George’s County Police Department’s use of force policies, training, reviews, and
        investigations are comprehensive.

        298) The Department’s policies and practices on use of force are impressive, and they
reflect many of the most progressive trends in the industry today. The Department requires
comprehensive training on the topic at the police academy, at yearly in-service, and at the range.
Many of these policies and trainings focus on de-escalation, ethical policing, duty to intervene
and honoring the sanctity of life. These incorporate elements from model policies written by
IACP, PERF, and other notable departments.574

         299) Prince George’s County Police Department’s practices for reviewing and
investigating uses of force are reasonable and adequate. Mr. Graham’s Report incorrectly argues
that, because a few months and a few quarters of EWS reports were not located and produced
in litigation, that the Department has broken its “promises” to the DOJ and “virtual[ly] shut
down.”575 As IAD Commander Mills explained, Assistant Commander Watkins raised issues with


572
    “Use of Force Training Guide 2015” (updated).
573
    Excel Workbook, “2016-2019 Countywide Arrests and Traffic Stops.”
574
    Interview with 1st Sergeant William Gleason.
575
    Graham Report, ¶ 105, pp. 98-99.

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the EWS reporting, citing problems with data entry. It is not uncommon for police departments
to encounter technology issues like these.576 In my opinion, this is not widespread evidence of
discrimination or a “broken promise” with DOJ.

        300) Mr. Graham’s claim that the district commanders did not report back to the Chief
of Police after interviewing officers flagged by the Early Warning System has no basis in fact. I
have reviewed these memoranda memorializing interviews—hundreds of which have been
produced in discovery.577 In my opinion, the Early Warning System at the Department was
working as intended by the General Order Manual.

         Justified use of force reviews are not evidence of a rubber stamp.

        301) Finally, Mr. Graham incorrectly ties the high percentage of “justified” use of force
reviews to a culture of “rubber-stamping.” This is incorrect. First, he uses a faulty dataset, as
discussed above. Second, justified use of force reviews are a product of a well-trained police
force—officers who know what force is reasonable, who use that force appropriately, and who
report the force when used. Based on my review and relevant experience, Prince George’s
County Police Department is ahead of the curve with respect to use of force policies and training.
Evidence of widespread compliance on such an important issue should be celebrated because it
is a product of the Department’s extensive efforts to protect the community and its officers.


      PART 6.   THE DEPARTMENT PROVIDES IMPLICT BIAS TRAINING CONSISTENT WITH BEST
                PRACTICES

        302) Mr. Graham’s Report asserts that the “Department does not appear to have
adequate anti-racial bias training” and further claims that although the Department publicized
its Implicit Bias Training, “it is far from clear that the program has the support of Department
leadership.”578 This is a wholly inaccurate statement. Based on my professional expertise, this
type of training provided is consistent with industry best practices.

        303) Prince George’s County Police Department provides anti-racial bias training to its
officers that is given by Dr. Kris Marsh, a credentialed University of Maryland Professor, whose
general areas of academic focus include issues related to the Black middle class.579 A common
theme in her work is decomposing what it means to be Black in America.580 She currently
provides training through her consultancy, Applied Research Services.581


576
    Mills Tr. 113-116 (August 6, 2020).
577
    PG00000988460-988670; PG0000988687-988983; PG0000988984-989152; PG0000989153-989213;
PG0000989214-989349; PG0000989350-989623; PG0000989624-989877; PG0000989878-989980; PG0000990255-
990534; PG0000990535-990562; PG0000990563-990839; PG0000990840-9990907.
578
    Graham Report, ¶ 75, p. 75.
579
    Declaration of Dr. Kris Marsh (hereinafter “Marsh Decl.”) at ¶ 4.
580
    Marsh Decl. at ¶ 4.
581
    Marsh Decl. at ¶ 5.

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       304) Dr. Marsh began conducting Implicit Bias Training to all Prince George’s County
Police Department academy recruits in late 2015.582 At the request of former Chief Hank
Stawinski, since March 2018, Dr. Marsh has also been conducting Implicit Bias Training for all
Department officers, who are required to take this training as part of their annual In-Service
Training.583

       305) Dr. Marsh continued to provide implicit bias training in 2019 and 2020. Officers
were required to attend as part of their In-Service training.584

       306) Chief Stawinski first approached Dr. Marsh about providing mandatory Implicit
Bias Training to all officers in late 2015 or early 2016.585 Chief Stawinski was consistently
committed to providing Implicit Bias Training Department-wide, and current Chief Hector Velez
and Department leadership maintain that commitment today.586

       307) In-Service Implicit Bias Training for all Department officers began as part of a
sponsored research agreement between the University of Maryland and the Department.
University of Maryland Sociology Professor Rashawn Ray originally worked with Dr. Marsh on the
project.587

        308) Department leadership expressed enthusiasm for implementing Implicit Bias
Training for rank and file officers.588 Leadership described their commitment to this successful
training in their sworn deposition testimony.589

        309) Mr. Graham’s Report states that the Department “do[es] not appear to have
provided in discovery any training materials . . . to instruct officers on bias-based profiling.”590
The training that Dr. Marsh provides to the Department is discussion-based, using PowerPoint
slides and video.591

        310) Mr. Graham’s Report, incorrectly relying on the uncorroborated Declaration of
Plaintiff Anis, asserts that in June 2018 “a group of predominately white officers walked out of
an In-Service ‘implicit biased’ training workshop being conducted by the University of
Maryland.”592 This is inaccurate. A review of this incident shows there was not a “walk out” at
the training.


582
    Marsh Decl. at ¶ 6.
583
    Marsh Decl. at ¶ 7.
584
    Marsh Decl. at ¶ 8.
585
    Marsh Decl. at ¶ 9.
586
    Marsh Decl. at ¶ 9.
587
    Marsh Decl. at ¶ 10.
588
    PG0000162845-162846.
589
    Murtha Tr. 102-103 (August 5, 2020); Velez Tr. 179-182 (July 15, 2020); Jacqueline Rafterry Deposition Transcript
(“Rafterry Tr.”) 155, 163, 166 (July 17, 2020).
590
    Graham Report, ¶ 75, p. 75.
591
    Marsh Decl. ¶ 15.
592
    Graham Report, ¶¶ 76-78, pp. 75-77.

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       311) Originally, the In-Service Training sessions were held at the University of
Maryland, College Park Campus, with officers attending in plain clothes.593 One group of
approximately 25 to 50 officers per-week received day-long training over the course of 36
weeks.594

        312) On June 10, 2018, Sergeant Kevin McSwain emailed Professor Ray, copying Dr.
Marsh, explaining that officers had raised concerns with the previous week’s training session.595
In particular, officers were concerned that several students came to the view the class, who were
using laptops and other electronic devices.596

       313) Among other things, officers felt that unauthorized students at the training
compromised the nature of the training.597 Sergeant McSwain asked that in the future, students
not attend officer In-Service Training without express permission from the Department, and
advised that the same approval should be sought from the FOP. In an email, Sergeant McSwain
expressly asked how the problem would be addressed.598 The email was addressed to Professor
Ray and, as a research team, Dr. Marsh and Professor Ray did not respond to the Department.599

       314) The following week, on June 12, 2018, students were again brought to the In-
Service Training.600 Officers were excused from continuing training that day because they again
expressed concerns about the attendance of the students.601

        315) Mr. Graham’s Report asserts that “[a] complaint was made to the County . . .” and
that “there is no evidence in discovery produced by Defendants to indicate that . . . a review or
an investigation of any sort occurred.”602 Again, this inaccurately reflects what occurred and
wrongly contends that appropriate action was not taken.

        316) As noted in the deposition testimony of Deputy Chief Murtha, who personally
looked into this incident on behalf of the Office of the Chief, those officers who were
uncomfortable with continuing the June 12, 2018 training due to objections with the manner in
which it was being conducted were excused from the training program on that day.603 Several
In-Service Training attendees spoke with a supervisor during a break in the session to express
their concerns. The supervisor conferred with the training staff, the union, and other command
officers. The training staff decided to reassign those officers to return to the Training and



593
    Marsh Decl. at ¶ 11.
594
    Marsh Decl. at ¶ 11.
595
    Marsh Decl. at ¶11.
596
    Marsh Decl. at ¶ 12.
597
    Id.
598
    Id.; Email from Kevin McSwain to Rayshawn Ray (June 10, 2018) at 3:47 p.m.
599
    Marsh Decl. at ¶ 12.
600
    Marsh Decl. at ¶ 13.
601
    Id.
602
    Graham Report, ¶¶ 76-78, pp. 75-77.
603
    Murtha Tr. 105-116 (August 5, 2020).

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Education Division to participate in additional training for the remainder of the day.604 These
officers were properly excused as a result of a concerns with the students present in the class.

        317) The officers in attendance at the training session did not engage in a “walkout”
and the Department indisputably looked into the event to determine the circumstances of the
class dismissal.605 The dismissal of the class by training staff was reasonable in light of officer
concerns606 and authorized by supervisory personnel.607

        318) Mr. Graham’s Report also states that a “complaint was made to the County”
concerning the departure of the officers from the June 12, 2018 training session. The document
Mr. Graham’s Report relies upon to establish the existence of a “complaint to the County” is an
email from Plaintiff Perez to an individual at the Office of the State’s Attorney for Prince George’s
County (an arm of the State government, separate from the Prince George’s County
government)608 conveying Perez’s hearsay description of the incident.609

       319) Mr. Graham’s Report asserts that “it appears that senior command officers
(Murtha and Watkins) decided there should be no investigation of this matter and sought to
excuse their failure to investigate or discipline this matter.”610 This assertion is directly
contradicted by the record evidence.611 Deposition testimony (from Murtha and Watkins) and
contemporaneous internal documents about the incident fully support the Department’s
determination that no IAD investigation or disciplinary action was warranted.

       320) Relying solely upon quotes from the Plaintiff Anis Declaration, Mr. Graham’s
Report adopts as its own the Plaintiff Anis’ assertions that: (A) “Prince George’s County Police
Department was entirely unconcerned” about the Implicit Bias Training incident; (B) “Murtha
made light” of the incident in front of a group of officers; (C) “the Department notified officers”
involved in the incident “that it did not intend to reschedule the training;” and (D) the




604
    This is corroborated by Major Holland’s June 12, 2018 Inter-Office Memorandum to Deputy Chief Murtha and
email correspondence between Acting Major Phillip Davis and the Deputy Chiefs. PG0000985666-985667;
PG985668-985669; PG000016500-162502.
605
    Murtha Tr. 105-116 (August 5, 2020); PG0000985666-985667; PG985668-985669; PG000016500-162502; Email
from Adam Popielarcheck to Kevin McSwain (June 29, 2018) at 10:35 a.m.; Email from Philip Davis to Hector Velez
(June 12, 2018) at 3:37 p.m.; Email from Adam Popielarcheck to John Teletchea (October 9, 2018) at 4:46 p.m.
606
    Email from Marcus Jenkins to Kevin McSwain (June 6, 2018) at 4:22 p.m.; Email from Kevin McSwain to Rayshawn
Ray (June 10, 2018) at 3:47 p.m.
607
    PG0000985666-985667.
608
    Md. Const., Art. V § 7; Md. Crim. Pro. Code Ann. §§ 15–101 and 15–102.
609
    Graham Report, p. 75, note 266, citing PGPD-PER-0122769-122770.
610
    Graham Report, ¶ 77, p. 76.
611
    E.g., PG0000985666-985667; PG985668-985669; PG000016500-162502; Murtha Tr. 105-116 (August 5, 2020).

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Department “never conducted an investigation into the details” of the incident.612 The Plaintiff
Anis Declaration and the Report’s assertions are directly refuted by record evidence.613

        321) The Department followed up with officers who had been dismissed from the
Implicit Bias Training class and ensured they completed their training. Corporal Marcus Jenkins
and Corporal Leslie Cauthern (Instructors in AOT) were tasked with assisting Lieutenant Adam
Popielarcheck, Captain Phil Davis, and Sergeant McSwain (the Officer In Charge of AOT) in
ensuring that each officer who failed to complete the class did indeed reschedule and attend.614
The officers did make up the training.615

        322) In addition to Implicit Bias training, Chief Velez points out in his PowerPoint
presentation that new recruits spend an entire day at the National Museum of African American
History and Culture.616 Prince George’s County is on the leading edge of this best practice that
exposes future police officers to the history of the relationship between the police and the Black
community. Many young men and women have no knowledge of how many police departments
got started as slave patrols in the 1800s. Nor are they familiar with the tactics that police used
in communities to deal with civil rights protests. This history provides context for young Officers
to understand the distrust that impacts the relationship today between police and the Black
community.




                                     SUMMARY AND CONCLUSIONS

        323) In summary, based on my experience, education, and training in police operations
management, it is my opinion that Prince George’s County Police Department’s policies,
practices, and procedures for training, managing, and disciplining its employees meet and often
exceed current professional standards for largescale police departments across the United
States. Further, it is my opinion that the Department adequately and appropriately handles
citizen and internal employee complaints, and applies discipline imposed through the internal
investigation process reasonably and consistently. Finally, it is my opinion that the Department’s
policies, practices, and procedures for transfer and promotion of personnel are consistent with
industry standards.

      324) As a police officer and a police chief in two nearby jurisdictions to Prince George’s
County, I have watched Prince George’s County Police Department transform itself into a

612
    Graham Report, ¶ 78, pp. 76-77.
613
    Murtha Tr. 105 -116 (August 5, 2020); PG0000985666-985667; PG985668-985669; PG000016500-162502; Email
from Adam Popielarcheck to Kevin McSwain (June 29, 2018) at 10:35 a.m.; Email from Philip Davis to Hector Velez
(June 12, 2018) at 3:37 p.m.; Email from Adam Popielarcheck to John Teletchea (October 9, 2018) at 4:46 p.m.
614
     Email from Adam Popielarcheck to John Teletchea (October 9, 2018) at 4:46 p.m.; Emails from Adam
Popielarcheck to 37 Implicit Bias Training class attendees (October 9, 2018); PG0000588980; PG0000606204.
615
    In-Service Implicit Bias Training Classroom Participation Sign-In Sheets (2018).
616
    PG0000986142 (produced natively), slide 17.

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progressive agency that has instituted change and brought accountability and transparency to
the public. This is evidenced most pointedly by the training the Department gives its personnel.
It is my opinion that the Department has a model Use of Force policy, particularly because the
training focuses on de-escalation, smart tactics, and a duty to intervene if officers see a colleague
acting improperly.

        325) My experience in 42 years in policing has taught me that the two most important
traits a police officer can possess are integrity and an ability to communicate effectively, with
empathy a close third. If you look at the Prince George’s County Police Department, you see a
Use of Force policy that talks about the value of human life and dignity. Moreover, the ICAT
training stresses use of smart tactics and effective communication skills. This is squarely in line
with what the best police departments are now doing.

        326) The fact that the Prince George’s County Police Department has assigned a Deputy
Chief to be the Equal Employment Opportunity coordinator for the organization is particularly
impressive. It demonstrates the level of importance that the Department leadership puts on
ensuring a workplace free from discrimination and harassment. A Deputy Chief not only has an
agency-wide perspective, but he or she also has direct access to the Chief and direct authority to
ensure policies are followed and investigations of complaints are handled appropriately. The
coordination of EEO issues with the County’s HRC and the County Office of Law is also a best
practice implemented and followed by the Department.

       327) The Department’s Internal Affairs Division is structured in a way to ensure
appropriate investigatory resources are on all levels of cases, from minor violations to serious
wrongdoing. My review of the IAD’s policies, practices, and procedures confirmed that the IAD
Commander stays in constant contact with the Assistant Chief to ensure that the Department
leadership is aware of significant investigations as well as any trends the agency experiences.

        328) No large police agency is immune from conflicts and challenges, both internal and
external. In my experience, those police departments that experience significant levels of
dysfunction are also deficient in their ability to deliver police services in a manner that adequately
addresses crime and safety issues. Simply put, the jurisdictions with some of the highest crime
rates are often dealing with significant levels of dysfunction within the agency and in their
relationships with the public. This is not the case with Prince George’s County Police Department,
as the County has seen crime go down and community outreach efforts increase.

        329) It is my opinion, based on my 42 years of experience, education, and training in
policing that the Prince George’s County Police Department’s leadership has demonstrated
significant efforts to be responsive to the community in its mission to deliver police services in a
fair and impartial manner, to reduce crime, and to keep the County safe. The Department has
met these goals through best policies, practices, and procedures that are in compliance with best
practices and industry standards and have been applied appropriately and consistently.




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J. Thomas Manger




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                           APPENDIX A




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J. THOMAS MANGER
Manger Group LLC
jtm@mangergroup.com
240-876-1279



PROFESSIONAL BACKGROUND

Principal, Manger Group LLC July 2019 – Present

Principal and Co-Founder of Manger Group LLC, providing public safety consulting and training services.
Specializing in crisis communications, executive leadership, police management, police legitimacy and
accountability, crime reduction strategies, race and policing, patrol operations, community outreach, policy
development, inspections, administrative investigations, police criminal misconduct, legislative advocacy,
school safety, criminal investigations, police response and tactics at major events, use of force, body-worn
cameras, alcohol enforcement, traffic, first-line supervision, crime prevention, human trafficking, hate
crime response, conflict resolution, immigration issues for local policing, facial recognition technology,
traffic safety, community safety and security.

Top Secret Security Clearance 1998-2020.

Life Member of the International Association of Chiefs of Police, the Major Cities Chiefs Association, and the
Police Executive Research Forum.




EXPERIENCE

Strategic Site Leader, U.S. Dept. of Justice, Public Safety Partnership Program (2019-present)

Leading team assisting the Davenport, Iowa Police Department in reducing violent crime. Identifying and
providing training and technical assistance to police and prosecutors.

Chief of Police, Montgomery County, MD Police Dept. 2004-2019

Responsible for police service delivery to 1 million residents in the State of Maryland’s most populous
jurisdiction. Oversaw $280 million annual budget with workforce of 1,900 employees. Appointed by
County Executive Doug Duncan in 2004. Re-appointed by County Executive Ike Leggett in 2006. Re-
appointed by County Executive Marc Elrich in 2018. Responsible for the management of all facets of police
service, to include (but not limited to) Patrol, Investigations, Special Operations, Budget, Personnel,
Internal Affairs, Technology, Community Outreach, 9-1-1 Center, Animal Control, and Media Relations.
Interviewed over 200 times per year by print, radio, or television media.




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Chief of Police, Fairfax County, VA Police Dept. 1998-2004

Responsible for police service delivery to over 1 million residents in the State of Virginia’s largest local
jurisdiction. Oversaw workforce of nearly 2000 employees. Began career as a patrol officer in 1977 and
rose through the ranks to be appointed Chief of Police in 1998.

President, Major Cities Chiefs Association 2014-2018

Elected President (two terms) by my peers from the 70 largest police departments in the United States and
Canada. Represented the Association on policy and legislative issues. Met regularly with Officials at the
White House, U.S. Congress, the Dept. of Justice and Dept. of Homeland Security. Represented the
Association three times, in meetings with President Obama at the White House. From 2006-2014, was the
Chairman of the Legislative Committee for the Association. Represented the Association on legislative
issues, and spoke at numerous Congressional hearings on police, law enforcement, crime, and homeland
security issues.

Member, Archdiocese of Washington D.C., Child Safety Advisory Board 2006- Present

Create policy and review specific case issues regarding child protection within the Catholic church and
schools. Advisory role to the Archbishop of Washington D.C. Assist with investigations at the request of
the Archbishop.

Co-Chairman, National Immigration Forum’s Law Enforcement Immigration Task Force 2016-
2019

Led large task force of local police and Sheriff’s departments on navigating immigration issues. Met
directly with Secretary of Homeland Security and his/her staff several times each year.

Vice-President, Board, Police Executive Research Forum, two terms, 2012-2016

Led Board, along with President Charles Ramsey, providing input to premier law enforcement think tank in
the Nation.

Member, International Association’s Highway Safety Committee 1999-2014

Researched and recommended best practices for traffic safety, crash reduction, and traffic enforcement.

Other Memberships:

Anti-Defamation League’s Consortium on Fighting Hate 2020

Montgomery County Community Criminal Justice Commission 2004-2019

Hearts and Homes for Youth Board 2006-2014

Shelter House Board 1998-2005


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IACP Police Explorer Committee (1999-2019)

Selection Committee for National Law Enforcement Memorial’s Destination Zero Awards (2016-present)




EDUCATION

2006 – Senior Executive Program for State and Local Government – John F. Kennedy School, Harvard
University

2000 - FBI National Executive Institute – FBI Leadership Development Institute

2000 – Senior Executive Institute – University of Virginia

1998 – Police Executive Leadership School – University of Richmond

1989 – FBI National Academy – FBI Leadership Development Institute

1976 - Bachelor of Arts, Criminal Justice, University of Maryland, College Park




NATIONAL AWARDS AND RECOGNITION

 2019 Major Cities Chiefs Association Leadership Award

 U.S. Senate Citation for “Excellence in Leadership and Public Service”. March 28, 2019

 Certificate of Special Congressional Recognition for “Exemplary and Passionate Service to the People of
    Montgomery County”, Cong. Jamie Raskin, March 28, 2019

 U.S. House of Representatives Certificate of Special Recognition, “Exemplary Leadership, and Faithful
    Efforts to Safeguard Property and Persons living in Montgomery County.” Congressman John Sarbanes.

 April 9, 2019 - Advocates for Highway and Auto Safety – Highway Safety Hero Award

 2018 FBI National Executive Institute’s Penrith Leadership Award

 May 7, 2018 - Anti-Defamation League’s Gorowitz Institute Service Award – Recognized nationally for
    building bridges to the Muslim and Immigrant communities and for preserving and defending our
    Nation’s Democratic Values.

 U.S. Congressman Jamie Raskin, Certificate of Special Congressional Recognition for Extraordinary
    Leadership and Commitment to Public Safety

 2017 National Immigration Forum’s “Keeper of the Dream” award

 2015 U.S. Congressional Citation (Sen. Chris Van Hollen) for dedicated service



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 2007 Brady Campaign to Prevent Gun Violence – James S. Brady Law Enforcement Award

 2007 Hero of Freedom Award, for Combating Child Trafficking, Charity Network Inc. (CNI)




LOCAL AWARDS AND RECOGNITION (SELECTED)

June 12, 2019 – Olney Chamber of Commerce, Bienvenue Award, “Dedication to Serve and Protect”

June 4, 2019 – Boy Scouts of America, 2019 Distinguished Citizen Award

March 29, 2019 - County Executive resolution to rename the County public safety headquarters to the
    Chief J. Thomas Manger Public Safety Headquarters

March 28, 2019 – Citation from Maryland State Senator Cheryl Kagan, “under your leadership, our
    community has seen increased transparency, accountability, and safety.”

2018 – Selected as a “Washingtonian of the Year” by Washingtonian Magazine

2018 – Montgomery County Coalition for the Homeless, Distinguished Service Award

2017- Montgomery County Hispanic Gala, Public Service Award

March 1, 2017 – Addiction Policy Forum’s award for STEER program, “Ability to integrate treatment with
    law enforcement response.”

February 16, 2017 – Presenter, Leadership Greater Washington, “Policing in a Post-Ferguson Environment”

February 14, 2017 – Presenter, Montgomery County Council, on Preventing Hate Crimes

2017 – Instituted all Spanish-speaking Community Police Academy

Jan. 29, 2017 – Briefing on Domestic Violence to Montgomery County Commission for Women

2017 – Instituted quarterly community outreach meetings with the LGBTQ community

Jan. 4, 2017 – Presenter, Jewish Community Relations Center, Combatting anti-Semitism, Racism and
    Bigotry

2016 – First large police agency in Washington D.C. region to institute a body-worn camera program.

2016 – Montgomery County Family Justice Center, Inspiring Leader Award

Oct. 12, 2015 – Conflict Resolution Center of Montgomery County award for “Peacemaker of the Year”

2014 – Sentinel Newspaper, 2014 Excellence in Government Award

Jan. 2014 – Montgomery County Victim Rights Foundation, Public Safety Award

May 6, 2013 – Youth Leadership Foundation, Community Champion Award

Oct. 28, 2012 – Inducted into the Montgomery County Human Rights Hall of Fame




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2002-2013 – In-person interviews on CBS, local Ch.9 News over 130 times discussing police, crime and
    safety issues

2012 – Started an annual event put on by the Mont. Co. Police Dept. – Autism Night Out

2009 – Bethesda-Chevy Chase Chamber of Commerce, Public Safety Award

April 30, 2006 – Maryland Muslim Council, 2006 Public Safety Award

2004 – Established racial and ethnic outreach meetings (monthly). Attended over 400 of these meetings
    between 2004-2019.

2004 – Fairfax County NAACP Branch, Community Service Award

2001 – Fairfax County Human Rights Commission’s Award for “Work in preventing hate crimes”

April 22, 1993 – Silver Medal of Valor, Fairfax County Chamber of Commerce, Public Safety Awards




NATIONAL MEDIA INTERVIEWS, WHITE HOUSE, DEPT. OF JUSTICE, AND
CONGRESSIONAL APPEARANCES

Inside Washington – Interview on Police Reform (July 2020)

Speaker, U.S. Senate Democratic Steering Committee, Gun Violence Prevention (March 27, 2019)

Meeting with DHS Secretary Neilsen in Immigration issues (Feb. 14, 2019)

Meeting with Congressman David Trone on Opioid Addiction Crisis (Feb. 11, 2019)

Testified before the Senate Judiciary Committee on Gun Violence (Dec. 6, 2017)

Speaker at U.S. Attorney General’s Advisory Committee, on crime and prosecution issues (Sept. 26, 2018)

Heavy.com News, “Tom Manger: 5 Fast Facts You Need to Know” Sept. 22, 2018

National Press Briefing on Autonomous (Driverless) Vehicles (July 23, 2018)

Mother Jones magazine interview on Gun Violence and Arming School Teachers (March 8, 2018)

Speaker, U.S. Congressional Hearing on Immigration Issues for Local Police (July 24, 2017)

Testified before Senate Committee on Homeland Security, Gangs and Transnational Criminal Organizations
(May 25, 2017)

Panelist, Senate Democratic Caucus on Law Enforcement Issues (May 17, 2017)

BBC interview on Gangs (May 8, 2017)

Presenter, U.S. Dept. of Justice, Hate Crime Prevention Forum (May 1, 2017)



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Law Enforcement presenter for the U.S. Conference of Mayors at meeting with the U.S. Attorney General
(April 25, 2017)

Law Enforcement presenter for the U.S. Conference of Mayors at meeting with DHS Secretary (April 24,
2017)

Briefing to U.S. Senate Staff, on behalf of Tahirih Justice Center on Human Trafficking (April 5, 2017)

Speaker, on behalf of the U.S. Conference of Mayors, in meeting with DHS Secretary (March 29, 2017)

Speaker, House Congressional Hearing in support of domestic violence victims, sex assault victims and
victims of human trafficking. (March 17, 2017)

Meeting with Senator Jeff Sessions regarding nomination as Attorney General (Dec. 20, 2016)

Meeting with Vice President Joe Biden on Policing Issues (Aug. 3, 2016)

Keynote Speaker at Bureau of Justice Assistance (DOJ) conference on body-worn cameras (May 14, 2016)

Law Enforcement Leaders breakfast meeting, Naval Observatory, with Vice Pres. Biden (May 13, 2016)

Testimony before Senate Judiciary Committee on the Impacts of U.S. Immigration Policy on local Police
(July 21, 2015)

Presenter, House Judiciary Committee, Senate President and House Speaker, Public Safety Workgroup
(June 8, 2015)

Guest on CNN’s “State of the Union” program, on effects of Ferguson on policing (Nov. 30, 2014)

CNN interview on National Policing issues, (Aug. 6, 2011)

Testified before Senate Judiciary Subcommittee on Immigration Reform (April 30, 2009)

Testified before Senate Judiciary Committee on “Protecting National Security and Civil Liberties” (April 21,
2009)

Participant in Attorney General Eric Holder’s Law Enforcement Summit (April 20, 2009)




SELECTED PRESENTATIONS AND COMMISSION WORK

Jan. 2020 - Responsible Hospitality Institute – Instructor for Bar and Restaurant Owners on alcohol
enforcement and regulatory compliance

Jan. 2020 – Member, National Police Foundation’s workgroup on Body-worn cameras

2004-2019 – Instructor at more that 60 Citizen Academy classes on crime and safety in Montgomery
County

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March 14, 2019 – Guest Lecturer, on police/media issues, Georgetown University

2015-2019 – Guest Lecturer at American University, current policing issues

Jan. 25, 2019 – Speaker at U.S. Conference of Mayors meeting on Hate Crime investigations

Jan. 17, 2019 – Keynote speaker at Montgomery Co. Chapter of Md. Municipal League on crime and
policing

2018-2019 – Member of Dept. of Justice’s (COPS) National School Safety Consortium

May 31, 2018 – Participant, DOJ/ Major Cities Chiefs Assoc., Executive Workshop to create a Violent Crime
Operations Guide (Published by Bureau of Justice Assistance)

May 8, 2018 – Speaker, Migration Policy Institute, “Changing Landscape of Immigration”

2013-2018 – Selected as a Mentor for (5) newly appointed Police Chiefs, Major Cities Chiefs Association’s
Police Executive Leadership Institute

Nov. 13, 2017 – Presentation at 50-State summit on Public Safety in Wash. D.C. on policing

Oct. 18, 2017 – Panelist at CATO Institute – Project on Criminal Justice

Sept. 25, 2017 – Speaker, Georgetown Law Center’s 14th Annual Immigration Law and Police Conference

April 21-23, 2017 – Panelist, Harvard University, Public Safety Summit

April 12, 2017 – Lecturer at America Trauma Society Conference (PA)

March 9, 2017 – Featured guest/ speaker at Montgomery College President’s series “Civility in Action,
Dialogues Across Differences”

Dec. 12, 2016 – Host with NAACP and Human Rights Commission at Town Hall Meeting on police and race
issues

June 14, 2016 – Speaker at World Elder Abuse Awareness event, on Crimes against Seniors

May 14, 2016 – Keynote Speaker at National Law Enforcement Memorial’s Wreath Laying Ceremony

Nov. 10-14, 2015 – Executive Session on Innovative Approaches to Minimizing Use of Force – Police
Scotland

2004-2019 - Introductory speaker at more than 75 sessions of Montgomery County Crisis Intervention
Training. Dealing with people experiencing mental health issues.

July 20, 2015 – Panelist, National Black Prosecutors Association Conference

July 14, 2015 – Panelist, Maryland Commission on Civil Rights, Baltimore

June 18, 2015 – Major Cities Chiefs Roundtable on Emerging Police Issues


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March 12, 2015 – Interview with Washington Post Editorial Staff on Police issues


PUBLICATIONS

Contributing Author, Maryland Innovations to Address Opioid Epidemic, (Feb. 2019)

Author of Major Cities Chiefs Association position paper on Immigration Policy

Author of Major Cities Chiefs Association position paper on Marijuana

“New Strategies for Countering Homegrown Violent Extremism: Preventive Community Policing” Nov. 13,
2013. Washington Institute for Near East Policy




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                           APPENDIX B




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                      Appendix B - Documents Considered for this Report

   •    Export report of Michael E. Graham in this matter (August 28, 2020)

   •    Documents, correspondence, and deposition testimony cited by Mr. Graham in his Report
        dated August 28, 2020

   •    Pleadings and other case filings, including the Plaintiffs’ First Amended Complaint (ECF
        54) and Defendants’ Answer (ECF 142)

   •    Written discovery responses from both Plaintiffs and Defendants

   •    Maryland State Constitution, Maryland Annotated Code, and Prince George’s County
        Maryland Code of Ordinances

   •    The Department’s General Order Manual (“GOM”)

   •    IAD Standard Operating Procedures

   •    Prince George’s County Police Department equal employment opportunity and diversity
        training materials

   •    Equal employment opportunity and diversity training materials from other local and/or
        major jurisdictions

   •    Prince George’s Police Department Rosters, Promotion Lists, and Transfer Lists

   •    Selected deposition testimony in this matter and related exhibits, including:

           o Adrian Crudup                                      o   Kathleen Mills
           o Art’z Watkins                                      o   Linda Washington
           o Carlos Acosta                                      o   Mark Magaw
           o Christopher Murtha                                 o   Melvin Powell
           o Christopher Smith                                  o   Michael Anis
           o Hector Velez                                       o   Michael Brown
           o Henry Stawinski                                    o   Paul Mack
           o Jacqueline Rafterry                                o   Raphael Grant
           o James McCreary                                     o   Richard Torres
           o Jennifer Flaig (ESCI/Fields                        o   Robert Harvin, Jr.
             Consulting)                                        o   Sharon Chambers
           o Jewell Graves                                      o   Sonya Zollicoffer
           o Joseph Ghattas                                     o   Tasha Oatis
           o Joseph Perez                                       o   Thomas Boone




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   •    Interviews I conducted with the following individuals: IAD Commander Major James
        McCreary, 1 Sgt. William Gleason, former Deputy Chief Murtha, and Inspector General
        Donnell Turner, Kathleen Mills, Henry Stawinski

   •    Correspondence between Defendants and the Department of Justice dated December 20,
        2019; January 23, 2020; February 6, 2020; and February 14, 2020

   •    IAD Complaint Process PowerPoint by IAD Commander James McCreary

   •    Early Warning System (EWS) reports and EWS memoranda

   •    Selected Prince George’s County Police Department arrest, crime, and traffic stop data

   •    Selected articles, websites, and press conferences, as cited in the report

   •    Video Recording: Panel for Equality Meeting (April 17, 2017)

   •    Video Recording: Panel for Equality Meeting (July 13, 2017)

   •    Prince George’s County Police Department Select Leadership Assignments Roster

   •    Citizen Complaint Oversight Panel, Prince George’s County 2019 Annual Report

   •    Declaration of Dr. Kris Marsh

   •    DISCIPLINARY ACTION – Captain                  #1396 (CORRECTION) (December 5, 2019)

   •    DISCPLINARY ACTION – Major                      #2083 (CORRECTION) (December 5,
        2019)

   •    Email from Adam Popielarcheck to John Teletchea (October 9, 2018) at 4:46 p.m.

   •    Email from Adam Popielarcheck to Kevin McSwain (June 29, 2018) at 10:35 a.m.

   •    Email from Kevin McSwain to Rayshawn Ray (June 10, 2018) at 3:47 p.m.

   •    Email from Marcus Jenkins to Kevin McSwain (June 6, 2018) at 4:22 p.m.

   •    Emails from Adam Popielarcheck to 37 Implicit Bias Training class attendees (October 9,
        2018)

   •    Excel Workbook, “2016-2019 Countywide Arrests and Traffic Stops.”

   •    Excel Workbook, “Data regarding Crime Statistics”




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   •    Excel Workbook, “              Suspension Without Pay”

   •    Excel Workbook, “Retirements and Separations Roster” (2016-2020).

   •    Excel Workbook, “               Suspension Without Pay”

   •    IA2015-006

   •    In-Service Implicit Bias Training Classroom Participation Sign-In Sheets (2018)

   •    Transcript of July 31, 2020 Motions Hearing, Joseph Perez v. Prince George’s County
        Police Department, Civil Action 19-36458, (Circuit Court for Prince George’s County,
        Maryland)

   •    Transfer to Personnel (August 11, 2019)

   •    Use of Force Training Guide 2015 (updated)

   •    Documents produced in discovery in this matter, including:

ESCI000856-000860                                     PG0000012153-0000012155
PG0000000344                                          PG0000012157-0000012163
PG0000000370                                          PG0000012402-0000012404
PG0000000397                                          PG0000012429
PG0000000399-403                                      PG0000012933
PG0000000406                                          PG0000012939-0000129340
PG0000000409                                          PG0000013412-0000013423
PG0000000410                                          PG0000013427-0000013432
PG0000000433                                          PG0000013433-0000013434
PG0000000442-000000496                                PG0000013436-0000013443
PG0000000497-000000530                                PG0000016500-0000162502
PG0000000531                                          PG0000020415
PG0000000580-000000581                                PG0000020426
PG0000002232-0000002269                               PG0000020472
PG0000006277                                          PG0000020504
PG0000006862-0000006863                               PG0000020526-0000020554
PG0000006866-0000006870                               PG0000020674
PG0000006912                                          PG0000020698-0000020994
PG0000012123                                          PG0000020707
PG0000012134                                          PG0000020738-0000020739
PG0000012141-0000012142                               PG0000020745-0000020748
PG0000012147-0000012158                               PG0000020753-0000020754



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PG0000020754-0000020755                  PG0000070008-0000070009
PG0000020767-0000020772                  PG0000070021-0000070033
PG0000020776                             PG0000070039
PG0000020782                             PG0000070049-0000070050
PG00000209599                            PG0000070346-0000070350
PG0000020993-0000020994                  PG0000070894
PG0000023828                             PG0000070896-0000070902
PG0000023833-2000003835                  PG0000070916-0000070926
PG0000023840                             PG0000071313-0000071484
PG0000023844-0000023846                  PG0000071525-0000071562
PG0000023858-0000023879                  PG0000071563-0000071610
PG0000023867                             PG0000071611-0000071663
PG0000024330-0000024331                  PG0000071664-0000071751
PG0000024869                             PG00000787026
PG0000024873                             PG00000787059
PG0000024874-0000024877                  PG00000787069
PG0000024878-0000024879                  PG0000080041
PG0000024879-0000024880                  PG0000080463
PG0000024882                             PG0000080474-0000080476
PG0000024886-0000024887                  PG0000080480-0000080481
PG0000024905-0000024909                  PG0000080533
PG0000024911-0000025086                  PG0000080760
PG0000025020                             PG0000080771
PG0000025023                             PG0000080777-0000080778
PG0000025080                             PG0000080783
PG0000025094                             PG0000080790
PG0000025095                             PG0000080790
PG0000025286-0000025415                  PG0000080911
PG0000025297-0000025299                  PG0000087035-0000087039
PG0000025303-0000025308                  PG0000090287-0000090291
PG000002764                              PG0000090339
PG0000027646-0000027647                  PG0000090938-0000090942
PG00000335688                            PG0000091148-0000091153
PG0000034963-0000034966                  PG0000095157-0000095159
PG0000034965                             PG0000095172
PG0000043394-0000043396                  PG0000095198-0000095202
PG0000045100                             PG0000095217
PG0000045105                             PG0000095242
PG0000045108                             PG0000095245
PG0000069307                             PG0000095250-0000095251
PG0000070001                             PG0000095254-0000095256



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PG0000095270-0000095278                  PG0000171546
PG0000095299-0000952301                  PG0000171622
PG0000103651                             PG0000171629-0000171631
PG0000103774-0000103777                  PG0000179481-0000179482
PG0000103846                             PG0000209599
PG0000104622                             PG0000329248-0000329249
PG0000104622-0000104623                  PG0000329749-0000329750
PG0000107666                             PG0000335688
PG0000113816-0000113819                  PG0000425817
PG0000113952-0000113955                  PG0000432807-0000432810
PG0000114435-000011448                   PG0000432824
PG0000114450-000014451                   PG0000447427-0000447430
PG0000114464                             PG0000447445-0000447453
PG0000114469-0000114473                  PG0000588980
PG0000121755                             PG0000606204
PG0000127808                             PG0000606204
PG0000127831                             PG0000783353
PG0000144779                             PG0000783498
PG0000145106                             PG0000785700-0000785752
PG0000152721                             PG0000785918-0000785919
PG0000153768                             PG0000787026
PG0000153829                             PG0000787038-0000787039
PG0000154090-0000154092                  PG0000787059
PG0000155489                             PG0000787069
PG0000155728                             PG0000852384-0000852394
PG0000155772                             PG0000907898-0000907939
PG0000158525-0000158528                  PG0000908227
PG0000158533-0000158534                  PG0000928316-0000928618
PG0000159211                             PG0000928319-0000928620
PG0000159212                             PG0000928400
PG0000159224                             PG0000938022
PG0000161455-0000161465                  PG0000938025
PG0000161564                             PG0000938031-0000938042
PG0000162691-0000162711                  PG0000939361-0000939362
PG0000162845-0000162846                  PG0000939374-0000939379
PG0000162977                             PG0000939401-0000939402
PG0000163044-0000163047                  PG0000939403-0000939404
PG0000165000-0000016502                  PG0000940132-0000940144
PG0000165875-0000168576                  PG0000940143
PG0000169211-0000169213                  PG0000944536-0000945397
PG0000169924-0000169926                  PG0000944646



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PG0000944649                             PG0000969026-0000969036
PG0000944650                             PG0000969037-0000969042
PG0000944680                             PG0000969043-0000969045
PG0000944716-0000944719                  PG0000969046-0000969090
PG0000944847                             PG0000969091-0000969100
PG0000944868                             PG0000969101-0000969118
PG0000944871                             PG0000969101-0000969118
PG0000944877                             PG0000969119-0000969164
PG0000944882                             PG0000969137
PG0000945310                             PG0000969158-0000969164
PG0000945352                             PG0000969165-0000969175
PG0000950937                             PG0000969221-0000969223
PG0000956324-0000956325                  PG0000969224-0000969225
PG0000956406-0000956407                  PG0000969226-0000969230
PG0000958841                             PG0000969229-0000969231
PG0000958909-0000958910                  PG0000969232-0000969252
PG0000959013                             PG0000969238-0000969239
PG0000959648                             PG0000969249-0000969252
PG0000960546                             PG0000969743-0000969750
PG0000960546                             PG0000969751-0000969761
PG0000960608                             PG0000969762-0000969777
PG0000963932                             PG0000970292-0000970356
PG0000966028-0000966030                  PG0000971480-0000971484
PG0000966820-0000966830                  PG0000971542
PG0000967037                             PG0000971924
PG0000967249-0000967290                  PG0000971926-0000971948
PG0000967291                             PG0000971948
PG0000968054                             PG0000971992
PG0000968412-0000968413                  PG0000972018
PG0000968590                             PG0000974179
PG0000968861-0000968863                  PG0000975424-0000975466
PG0000968868-0000968869                  PG0000977423-0000977433
PG0000968875-0000968887                  PG0000978140
PG0000968885-0000968886                  PG0000978816
PG0000968893-0000968894                  PG0000980240
PG0000968914-0000968916                  PG0000980259
PG0000968917-0000968933                  PG0000980271
PG0000968934-0000968964                  PG0000980336-0000980358
PG0000968947-0000968962                  PG0000980426-0000980432
PG0000968965-0000968979                  PG0000982883-0000982898
PG0000968980-0000969025                  PG0000984011-0000980414



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PG0000984414-0000984956                  PGDOJ_NO9_00000000064
PG0000984668-0000984669                  PGDOJ_NO9_00000000065
PG0000984909                             PGDOJ_NO9_00000000066
PG0000984910                             PGPD-PER-0146458-0146459
PG0000985307                             PGIAD000002956
PG0000985666-0000985669                  PGIAD0000032967-32968
PG0000985668-0000985669                  PGIAD0000032972-32974
PG0000986142                             PGIAD0000032990
PG0000986195-0000986196                  PGIAD0000072294-72303
PG0000987395                             PGIAD0000072311
PG0000988460-0000988670                  PGIAD0000099627-99643
PG0000988686                             PGIAD0000103604-103612
PG0000988687-0000988983                  PGIAD0000127801-127802
PG0000988984-0000989152                  PGIAD0000127806
PG0000989153-0000989213                  PGIAD0000127812
PG0000989214-0000989349                  PGIAD0000127816-127817
PG0000989350-0000989623                  PGIAD0000127820-127822
PG0000989624-0000989877                  PGIAD0000127822
PG0000989878-0000989980                  PGIAD0000127824
PG0000990232                             PGIAD0000135380
PG0000990240-0000990241                  PGPD-CHA-0000384-385
PG0000990252                             PGPD-CHA-0000389
PG0000990255-0000990534                  PGPD-CHA-0000396
PG0000990535-0000990562                  PGPD-CHA-0000944
PG0000990563-0000990839                  PGPD-OAT-0000021-0000027
PG0000990840-00009990907                 PGPD-PER-0067452
PG0000990987                             PGPD-PER-0069140
PG0000991930                             PGPD-PER-0069986
PG0002020767-0002020768                  PGPD-PER-0069987
PGDOJ_NO9_00000000056                    PGPD-PER-0098783
PGDOJ_NO9_00000000057                    PGPD-PER-0122769-122770
PGDOJ_NO9_00000000058                    PGPD-PER-0146458-0146459
PGDOJ_NO9_00000000059                    PGPD-SMI-0000003-0000004
PGDOJ_NO9_00000000060                    PGPD-SMI-0003951-0003952
PGDOJ_NO9_00000000061                    PGPD-ZOL-0005594-95
PGDOJ_NO9_00000000062




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